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                ORAL ARGUMENT NOT YET SCHEDULED
                               Case No. 24-1171
                (Consolidated with Nos. 24-1170 (lead), 24-1177)



           United States Court of Appeals
          For the District of Columbia Circuit

                     UNITED STATES STEEL CORPORATION.
                                                 Petitioner,
                                       v.
       ENVIRONMENTAL PROTECTION AGENCY AND MICHAEL S. REGAN,
                     ADMINISTRATOR, U.S. EPA,
                                                 Respondents.


     On Petition for Judicial Review of a Final Rule of the Environmental
            Protection Agency, 89 Fed. Reg. 23,294 (April 3, 2024)

                            MOTION FOR STAY

 July 3, 2024                           John D. Lazzaretti
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                                        Steel Corporation
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  CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES,
          AND CORPORATE DISCLSOURE STATEMENT

       Pursuant to D.C. Circuit Rules 18(a)(4), 27, and 28(a)(1)(A), Petitioner

United States Steel Corporation certifies as follows:

       Parties and Amici

       There was no action in the district court, thus there were no parties in the

district court.

       The parties before this Court in this proceeding, Case No. 24-1171, are

Petitioner United States Steel Corporation and Respondents United States

Environmental Protection Agency and Michael S. Regan and Administrator, United

States Environmental Protection Agency.

       Clean Air Council, Gary Advocates for Responsible Development, Hoosier

Environmental Council, Just Transition Northwest Indiana, and Sierra Club have

filed a motion to intervene.

       American Iron and Steel Institute and United States Steel Corporation have

filed motions to intervene in consolidated case 24-1176.

       No amicus curiae is currently participating.

       Rulings under Review

       The ruling at issue is Respondents’ final action entitled National Emission

Standards for Hazardous Air Pollutants: Integrated Iron and Steel Manufacturing

Facilities Technology Review, 89 Fed. Reg. 23,294 (April 3, 2024) (Exhibit A).
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      Related Cases

      This proceeding is related to and consolidated with the following, which are

petitions for review of the same Rule:

      Cleveland-Cliffs, Inc. v. EPA, Case No. 24-1170 (D.C. Cir.)

      Sierra Club, et al. EPA, Case No. 24-1177 (D.C. Cir.)

      The following cases are pending, and while challenging a different rule,

involve National Emission Standards for Hazardous Air Pollutants (“NESHAP”)

requirements for integrated iron and steel making facilities and so may involve some

similar issues:

      American Iron and Steel Institute, et al. v. EPA, Case No. 20-1354 (D.C. Cir.)

      Clean Air Council, et al. v. EPA, 20-1355 (D.C. Cir.)

      Hoosier Environmental Council, et al. v. EPA, 19-1211 (D.C. Cir.)

                   RULE 26.1 DISCLOSURE STATEMENT

      Pursuant to Fed. R. App. P. 26.1 and D.C. Circuit Rule 26.1, Petitioner

United States Steel Corporation states:

      United States Steel Corporation is organized under the laws of Delaware and

its corporate headquarters are located at 600 Grant Street, Pittsburgh, PA 15219.

      United States Steel Corporation produces iron and steel products for the

automotive, construction, appliance, energy, containers, and packaging industries.
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      United States Steel Corporation is a publicly held company. United States

Steel Corporation has no parent company and no publicly held company has a 10%

or greater ownership interest in it.

 Dated: July 3, 2024                     Respectfully submitted,

                                         /s/ John D. Lazzaretti
                                         John D. Lazzaretti

                                         Counsel for Petitioner United States
                                         Steel Corporation
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CERTIFICATE OF COMPLIANCE WITH CIRCUIT RULES 18(A)(1) AND
                        (A)(2)

      The undersigned certifies that this motion for stay complies with Circuit

Rule 18(a)(1). On June 3, 2024, Petitioner submitted to EPA a Petition for

Reconsideration and Stay that requested an administrative stay pending judicial

review of the National Emission Standards for Hazardous Air Pollutants:

Integrated Iron and Steel Manufacturing Facilities Technology Review, 89 Fed.

Reg. 23,294 (April 3, 2024). EPA acknowledged receipt on June 20, 2024 but has

taken no further action.

      In accordance with Circuit Rule 18(a)(2), undersigned counsel notified

EPA’s counsel on June 27, 2024 that Petitioner planned to file this motion for stay.

EPA opposes this motion and plans to file a response. Petitioner Cleveland-Cliffs,

Inc. supports the motion for stay and Petitioners Clean Air Council, Gary

Advocates for Responsible Development, Hoosier Environmental Council, and

Sierra Club oppose the motion.

 Dated: July 3, 2024                       Respectfully submitted,

                                           /s/ John D. Lazzaretti
                                           John D. Lazzaretti

                                           Counsel for Petitioner United States
                                           Steel Corporation
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                                 GLOSSARY

 Terms

 AISI            American Iron and Steel Institute

 APA             Administrative Procedure Act

 CAA             Clean Air Act

 EPA             Environmental Protection Agency

 HAP             Hazardous Air Pollutant

 II&S            Integrated Iron & Steel Manufacturing

 MACT            Maximum Achievable Control Technology

 NESHAP          National Emission Standards for Hazardous Air Pollutants

 RtC             Response to Comments

 RTR             Residual Risk and Technology Review




                                      v
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                                 INTRODUCTION

       Pursuant to Federal Rule of Appellate Procedure (“FRAP”) 18, Petitioner

 Untied States Steel Corporation (“U. S. Steel”) respectfully requests a stay of EPA’s

 National Emission Standards for Hazardous Air Pollutants: Integrated Iron and Steel

 Manufacturing Facilities Technology Review, 89 Fed. Reg. 23,294 (April 3, 2024)

 (“Rule”). The Rule exceeds EPA’s statutory authority and imposes unprecedented,

 unsafe, and unduly burdensome requirements on the Nation’s integrated iron and

 steel mills. The Rule requires immediate action to begin implementing these

 requirements, pitting environmental compliance against safe operation and

 compelling the waste of millions of dollars in efforts to implement process and

 operating changes that will have almost no impact on emissions and in some

 instances may even increase emissions. At the same time, by EPA’s own estimates,

 the Rule will only result in an average reduction of 64 tons of regulated pollutants

 per year industry wide, and even then, that reduction would only start when fully

 implemented years from now. In addition, EPA agrees that these reductions are

 unnecessary to address public health or welfare risk.

       Due to the high likelihood of success on the merits, the unsafe and unsound

 practices required by the Rule, the substantial and irrecoverable costs U. S. Steel

 must incur while judicial review is pending, and the lack of any countervailing public

 benefit from the Rule, a stay pending judicial review is warranted.


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       U. S. Steel petitioned EPA for a stay of the Rule on June 3, 2024. EPA

 acknowledged receipt of U. S. Steel’s petition on June 20, 2024 but has taken no

 action on it. U. S. Steel therefore respectfully requests that this Court stay the Rule

 pending judicial review.

                                  BACKGROUND

 I.    The Clean Air Act Requires EPA to Impose Technology-Based Standards
       Rooted in What Industry Has Achieved.

       The Clean Air Act’s (“CAA’s”) hazardous air pollutants (“HAP”) program

 requires EPA to identify the categories of sources that emit HAP above certain

 thresholds. 42 U.S.C. §7412(c)(1). EPA is then to establish “technology-based

 standards” for each HAP. Clean Air Act Handbook §6:1 (2023). For so-called

 “major sources,” like those subject to the Rule, EPA’s emission standards are to

 reflect the “maximum achievable control technology” (“MACT”) for both new and

 existing sources, meaning they are to be “based on the degree of emission control

 achievable through the application of technologies that are used by the best

 performing sources in a given source category.…”            Id.; see also 42 U.S.C.

 §7412(d)(2) and (3).

       The CAA sets out factors EPA must consider in setting MACT standards.

 EPA is to take “into consideration the cost of achieving such emission reduction,

 and any non-air quality health and environmental impacts and energy

 requirements, [it] determines is achievable for new or existing sources….” Id. at

                                            2
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 §7412(d)(2). What EPA finds “achievable,” for new sources, “shall not be less

 stringent than the emission control that is achieved in practice by the best

 controlled similar source,” and for existing sources, shall not be less stringent than

 “the average emission limitation achieved by the best performing 12 percent” of

 sources or, if there are fewer than 30 sources in the source category, “the average

 emission limitation achieved by the best performing 5 sources (for which the

 Administrator has or could reasonably obtain emissions information).” Id. at

 §7412(d)(3).

       An “emission limitation,” in turn, is defined as “a requirement established

 by the State or the Administrator which limits the quantity, rate, or concentration

 of emissions of air pollutants on a continuous basis, including any requirement

 relating to the operation or maintenance of a source to assure continuous emission

 reduction, and any design, equipment, work practice or operational standard

 promulgated under this chapter.” Id. at §7602(k). EPA is to consider the cost and

 health and environmental impacts in deciding what emission limitations have been

 achieved. See S. Rep. No. 228, 101st Cong., 1st Sess. 168-69 (1989) (“Cost

 considerations are reflected in the selection of emissions limitations which have

 been achieved in practice (rather than those which are merely theoretical) by

 sources of a similar type or character.”). Further, these analyses are not the final

 limits. Rather, they aid in determining what emission limitations are “achievable


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 through the application of technologies that are used by the best performing

 sources.” 42 U.S.C. §7412(d)(2).

 II.   EPA Promulgated MACT Standards to the Extent Technically Feasible
       in 2003 and Affirmed its Decision in 2020.

       EPA promulgated MACT standards for the integrated iron and steel

 manufacturing source category in 2003. 68 Fed. Reg. 27,646 (May 20, 2003).

 There, EPA found that the II&S source category emits certain metals and trace

 organic HAPs. Id. EPA imposed emission standards on a number of “emission

 points” and fugitive1 sources. Id. at 27646-48.

       EPA then reviewed its regulations in 2020, both to determine whether any

 residual risk remained after implementing the 2003 MACT standards under 42

 U.S.C. §7412(f)(2) (“residual risk review”) and to determine whether revisions were

 “necessary” to take into account “developments in practices, processes, and control

 technologies” since 2003 under 42 U.S.C. §7412(d)(6) (“technology review”). 85

 Fed. Reg. 42,074 (July 13, 2020). EPA “found that risks due to emissions of air

 toxics from this course category are acceptable and that the current NESHAP

 provides an ample margin of safety to protect public health.” Id. Further, EPA

 “found no developments in practices, processes, or control technologies that



 1
   Fugitive emissions are emissions not vented through a stack. In the case of a
 casthouse, fugitives are vented almost entirely through a series of vents in the roof,
 referred to as a “roof monitor.”
                                           4
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 necessitate revision of the standards.” Id. At the same time, in response to a petition

 for reconsideration of the 2003 rule, EPA added mercury emission standards and

 removed certain startup shutdown and malfunction exemptions. Id.

 III.   EPA Proposes a Raft of New Requirements Under the Guise of a
        Technology Update.

        In 2023, EPA proposed amendments to the II&S MACT. 88 Fed. Reg. 49,402

 (July 31, 2023). EPA did not propose any change to its residual risk finding;

 emissions from II&S remained below risk thresholds. But EPA proposed dozens of

 changes to the Rule based on either EPA’s assertion that it failed to previously

 regulate HAPs at the source category or had found “new information regarding

 developments in practices, processes and control technologies” under 42 U.S.C.

 §7412(d)(6). 88 Fed. Reg. at 49,404. EPA identified two acid gases that had not

 previously been regulated. Id. Despite there already being regulations for mercury

 and organic HAP, EPA declared mercury and several organic HAP to be

 “unregulated” and proposed standards for these as well. Id. Further, citing no new

 developments in practices, processes, or control technologies, EPA proposed a raft

 of new requirements for fugitive emissions. Id. at 49,404-05.

        EPA held a public hearing on the rule on August 15, 2023 and allowed for

 public comment until July 7, 2023. American Iron and Steel Institute and U. S. Steel

 submitted voluminous joint comments on the proposal. See, e.g. EPA-HQ-OAR-

 2002-0083-1631 (July 7, 2023) (collectively “Joint Comments”). These comments

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 raised numerous legal, technical, and practical problems with the proposal, ranging

 from EPA’s interpretation of its statutory authority, to material omissions and

 miscalculations in EPA’s data, and basic misunderstandings of the iron and

 steelmaking process that resulted in requirements that would be unsafe, ineffective,

 and unduly burdensome to implement. These included, for example, a limit, without

 exception, on the number of times a “bleeder valve” can open on a blast furnace. A

 bleeder valve is a safety device designed to relieve excess pressure from the furnace,

 preventing significant damage or explosion. It imposed monitoring requirements

 that would put employees in harm’s way. It mandated equipment changes, material

 handling practices, and monitoring that would have no impact on emissions and

 would instead only undermine the ability of facilities to make iron and steel

 efficiently while minimizing emissions. And it imposed a legally questionable but

 complex fenceline monitoring program that with no demonstrated need and with no

 actual way to comply with it.

       The final Rule promulgated in 2024 made some changes from the proposal,

 but largely side-stepped or ignored these numerous fundamental problems. It

 continues to impose unsafe operating requirements; it continues to attempt to control

 (inappropriate) the manufacturing of iron and steel rather than emissions; and it

 continues to impose requirements that are impossible, impractical, to achieve.




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                                 STAY STANDARD

       Courts consider four factors in determining whether to grant a stay: (1)

 whether the stay applicant has made a strong showing that he is likely to succeed on

 the merits; (2) the prospect of irreparable injury; (3) the possibility of harm to other

 parties; and (4) the public interest. Nken v. Holder, 556 U.S. 418, 434 (2009)

 (citation omitted); Clean Air Council v. Pruitt, 862 F.3d 1, 8 (D.C. Cir. 2017).

       These “four considerations are factors to be balanced and not prerequisites to

 be met.” State of Ohio ex rel. Celebrezze v. Nuclear Regul. Comm’n, 812 F.2d 288,

 290 (6th Cir. 1987). Courts have identified “likelihood of success on the merits” as

 “[t]he most important factor.” Aamer v. Obama, 742 F.3d 1023, 1038 (D.C. Cir.

 2014); see also Labrador v. Poe, 601 U.S. 929, Slip Op. at 3 (2024) (Kavanaugh, J.,

 concurring) (“if the harms and equities are sufficiently weighty on both sides, the

 best and fairest way to decide whether to temporarily enjoin a law pending the final

 decision is to evaluate which party is most likely to prevail in the end”). But, as

 explained below, each factor favors a stay here.

                                     ARGUMENT

 I.    Petitioner Is Likely to Succeed on The Merits.

       Both the CAA and APA prohibit EPA from taking action that is “arbitrary,

 capricious, an abuse of discretion, or otherwise not in accordance with law.” 42

 U.S.C. §7607(d)(9); 5 U.S.C. §706(2)(A). EPA’s action must “be reasonable and


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 reasonably explained.” FCC v. Prometheus Radio Project, 592 U.S. 414, 423

 (2021). EPA must consider “the relevant factors” and cannot “entirely fail[] to

 consider an important aspect of the problem.” Motor Vehicle Mfrs. Assn. of United

 States, Inc. v. State Farm Mut. Automobile Ins. Co., 463 U.S. 29, 43 (1983). Further,

 an agency may not adopt an interpretation “manifestly contrary to the statute.” U.S.

 v. Mead Corp., 533 U.S. 219, 227 (2001). And this Court does not defer to EPA’s

 interpretation of the CAA. Loper Bright Enterprises v. Raimondo, Slip. Op. at 35,

 603 U.S. __ (2024) (“Courts must exercise their independent judgment in deciding

 whether an agency has acted within its statutory authority.”).

       A.     The Rule Imposes Unachievable Requirements in Violation of the
              CAA.

       MACT standards are, first and foremost, to be “achievable” technology-based

 standards. 42 U.S.C. §7412(d)(2). This means that the standards must be safe. See

 House Rep. 101-490, Part 1 (328) (“MACT is not intended to require unsafe control

 measures, or to drive sources to the brink of shutdown”). They must be cost

 effective. Id.; 42 U.S.C. §7412(d)(2). And must reflect consideration of non-air

 health and environmental consequences. Id.

       The Rule turns a blind eye to these requirements. Instead, EPA adopted a

 mechanistic approach to setting limits, where it effectively cut and pasted results

 from a small data set and claimed that these are appropriate standards for the entire



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 industry. The result is a Rule that is not only illegal, but unsafe, impractical, and in

 some instances, impossible.

       For example, the Rule limits the number of “unplanned”2 bleeder valve

 openings in a given year. See 89 Fed. Reg. at 23,333. This was based on nothing

 more than the average number of openings facilities reported in a survey that EPA

 had requested. 89 Fed. Reg. at 23,299. Since one facility happened to have zero

 openings in the time period covered by the survey, EPA determined that a “best

 performing” source never has an unplanned bleeder opening and new blast furnaces

 are therefore prohibited from ever having an unplanned bleeder opening. Id. at

 23,333. Existing sources fared little better, being allowed between 4 and 15 per year,

 again based on the happenstance of what occurred in a single survey period. Id.

 Further, many of the monitoring requirements in the Rule place employees or

 contractors in dangerous conditions, such as near train tracks. Piscitelli Declaration

 at ¶¶13, 17, and 21 (Exhibit B); Mangahas Declaration at ¶¶4, 7-8, 13, and 16

 (Exhibit C). Nothing in the CAA authorizes EPA to prohibit safe operation, or to

 pit environmental compliance against safety.

       Many requirements are also impossible or impractical, directly contrary to the

 statutory mandate to impose achievable standards. 42 U.S.C. §7412(d). The Rule,


 2
  Bleeder valves open automatically when pressure hits a predetermined set-point
 but can also be opened proactive by the operator. EPA treats these so-called
 “planned” bleeder openings differently in the Rule.
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 for example, imposes a complex fenceline monitoring program for which EPA

 acknowledges no sampling methodology currently exists.          RtC at 169 (“The

 commenters search for the actual fenceline method was unsuccessful because, as

 noted in the preamble and 40 CFR 63.7792(a), the fenceline monitoring method for

 metals has not yet been proposed or promulgated.”).           EPA cannot impose

 “achievable” requirements that EPA itself does not yet know how to meet.

       B.    The Rule Imposes Requirements Without a Record Basis for Doing
             So.

       EPA’s approach untethers the Rule from the regulation of HAP, which is the

 only action authorized by 42 U.S.C. §7412(d)(2) and (3). While the Rule regulates

 numerous aspects of iron and steelmaking, from bleeder openings to raw material

 handling, evidence of actual reductions in HAP emissions are conspicuously absent

 for most of them. There is, for example, no information in the record showing an

 actual relationship between the many work practices EPA requires as purported

 fugitive controls in the Rule and HAP reductions. The Rule also imposes a complex

 and expensive fenceline monitoring program on the purported basis that it will

 “improve management of fugitive emissions of metal HAPs.” 89 Fed. Reg. at

 23,307. But there is no evidence that current management practices are insufficient,

 that fenceline monitoring will in any way “improve” them, or that doing so will

 actually reduce HAP emissions. Similarly, the Rule imposes a metal throughput

 limit purportedly to reduce HAP emissions from small bell leaks. But there is

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 nothing in the record even attempting to correlate any particular metal throughput

 limit to small bell leaks, let alone HAP emissions. Instead, the Rule assumes there

 is a relationship, then orders the regulated community to “prove[]” that it has

 implemented metal throughput limits that will prevent all small bell leaks. 89 Fed.

 Reg. at 23,323. This outsourcing of EPA’s responsibility to identify a record basis

 for its requirements is expressly prohibited by the CAA and violates basic principles

 of administrative law. 42 U.S.C. §7607(d); State Farm, 463 U.S. at 43. EPA must

 have a record basis for imposing requirements. It cannot impose them and then force

 the regulated community to justify them after the fact.

       C.     The Rule Ignores, Omits, and Misuses the Data in the Record.

       The CAA imposes minimum data requirements in the development of

 emission standards. See 42 U.S.C. §7412(d)(3). Further, to avoid arbitrary and

 capricious rulemaking, EPA must base its actions on the best available data and on

 sufficient data to render its decisions reasonable in light of the record. State Farm,

 463 U.S. 43 (agencies must examine the “relevant data”); Dist. Hosp. Partners, L.P.

 v. Burwell, 786 F.3d 46, 56-57 (D.C. Cir. 2015) (“agencies do not have free rein to

 use inaccurate data” and “cannot ignore new and better data”).

       EPA admits it did “not have sufficient time to fully analyze the data

 submitted” by commenters. RtC at 109 and 117. Yet while in some instances EPA

 agrees this bars it from promulgating standards, elsewhere it proceeds without


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 addressing the data it lacked time to consider. This is arbitrary and capricious; EPA

 cannot pick and choose when it will consider the data in the record. 42 U.S.C.

 §7607(d)(6) (requiring EPA to respond to the data submitted in comments); State

 Farm, 463 U.S. at 43.

       Even for data EPA attempted to incorporate in the Rule, EPA made numerous

 errors. First, EPA used the wrong data. For example, for existing sources the CAA

 requires EPA to set certain standards using “the average emission limitation”

 achieved by best performing sources. 42 U.S.C. §7412(d)(3)(B). And “emission

 limitation” is a defined term in the Act (42 U.S.C. §7602(k)), meaning “a

 requirement established by the State or the Administrator.” In other words, it is

 synonymous with a promulgated “emission standard.” 42 U.S.C. §7602(k). EPA

 disregarded this statutory definition, rejecting the Act’s express language on the

 spurious ground that emission limitations are somehow too “abstract” and that

 Congress must therefore have meant to refer to some arbitrary snapshot of emissions

 data. RtC at 15. EPA, however, cannot “replace the actual text with speculation as

 to Congress’ intent.” Corner Post, Inc. v. Bd. of Governors of the Fed. Reserve Sys.,

 Slip Op. at 12, 603 U.S. __ (2024) (quotations omitted). Compounding its error,

 EPA then cherry-picked very limited actual emissions data, resulting in limits that

 do not even meet EPA’s impermissibly redefined statutory authority. Furthermore,

 EPA has not shown how these data correlate to any type of “control” of emissions.


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       Second, even with respect to the wrong data, EPA did not use it correctly. For

 example, in determining what the “average emission limitation achieved by the best

 performing” sources is, EPA must use either “12 percent of the existing sources” if

 there are 30 or more, or “five sources (for which the Administrator has or could

 reasonably obtain emissions information)” if there are fewer.                42 U.S.C.

 §7412(d)(3). In many cases, EPA used as few as two sources. See EPA-HQ-OAR-

 2002-0083-1975, at 9-13. EPA asserts it “had sufficient data.” RtC at 21. But this

 is neither supported by the record, which shows that EPA failed to capture even the

 performance of those units on which it had data, it is legally insufficient. Niz-Chavez

 v. Garland, 593 U.S. 155, 169 (2021) (“pleas of administrative inconvenience never

 justify departing from the statute’s clear text.”) (quotations omitted).

       EPA also used the data it had incorrectly, using, for example, the number of

 dirty gas bleeder openings at a facility as the number of all bleeder openings at the

 facility,3 or readings from certain slag handling operations as if they were readings

 of other operations. Compare, e.g, EPA-HQ-OAR-2002-0083-1337-attachment 3,

 at Table 2 (collecting data only on some slag handling activities) with 89 Fed. Reg.

 at 23,324-25 (regulating a different set of operations based on the same data).




 3
  Blast furnaces can have several different types of bleeders, including clean, dirty,
 and semi-clean bleeders.
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       One of the reasons for the data requirements in the statute is to ensure that

 EPA’s standards reflect what is actually being achieved by the “best performing

 sources” under “the worst reasonably foreseeable circumstances.” Sierra Club v.

 EPA, 167 F.3d 658, 665 (D.C. Cir. 1999). EPA did not even attempt to justify its

 standards as achievable under the worst reasonably foreseeable circumstances, and

 having failed to even collect the necessary data, cannot do so on the current record.

 EPA acknowledges that it has limited data, but nonetheless promulgated the Rule,

 asserting that it “must set limits.” RtC at 185. This is the essence of arbitrary and

 capricious rulemaking. See State Farm, 463 U.S. at 43.

       Finally, EPA is authorized to promulgate emission standards only for

 pollutants actually emitted by the source. 42 U.S.C. §7412(d)(1). The Rule contains

 several limits for pollutants that a source does not emit. See Joint Comments at VII-

 13 and VII-20 (explaining there is no data showing that “non-dioxin/furan organics”

 are emitted from the source category or that dioxin/furan is emitted from blast

 furnace stoves). EPA not only completely failed to address these comments,

 violating 42 U.S.C. §7607(d)(6)(B), it arbitrarily and capriciously finalized

 standards for these pollutants without any record basis for them.

       D.     EPA Incorrectly and Inconsistently Addressed the Cost of the Rule.

       For many requirements in the Rule, EPA improperly refused to consider their

 cost. Congress identified factors EPA “shall” consider in setting MACT emission


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 standards under 42 U.S.C. §7412(d)(2). These include “the cost of achieving such

 emission reduction, and any non-air quality health and environmental impacts and

 energy requirements.” Id. Yet EPA improperly avoided compliance with this

 requirement by asserting it can avoid considering cost as long as it promulgates

 standards under 42 U.S.C. §7412(d)(3) and not (d)(2). See RtC at 13-15. This

 interpretation is flawed. Section 7412(d)(3) provides metrics to help determine the

 “best performing” sources, but there is only one “emission limitation” and it is

 promulgated under §74121(d)(2). Thus, while §7412(d)(3) provides factors EPA

 must consider in setting numeric emission standards under MACT, this provision

 neither expressly nor logically bars EPA from considering the cost and

 environmental impacts of the “MACT floors” it imposes. There is no objective way

 to select “best performing” sources, or even to determine whether an emission

 limitation has been “achieved,” without subjectively considering what each source

 is in fact doing, and how. See S. Rep. No. 228 at 168-69 (“Cost considerations are

 reflected in the selection of emissions limitations which have been achieved in

 practice….”). Rather, by requiring EPA to determine what performance is “best”

 and to determine what is being “achieved,” the Act requires EPA to consider such

 factors.




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          Even under the now-overruled Chevron standard,4 judges had already

 recognized that EPA’s interpretation could run counter to common sense. See Sierra

 Cub v. EPA, 479 F.3d 875, 885 (D.C. Cir. 2007) (Williams, J. concurring). Here,

 EPA ignored those warnings and insisted on imposing unreasonable costs and safety

 and environmental risks because it insisted, contrary to the statute, that it may not

 consider costs or other impacts in determining a MACT floor. RtC at 13-14. This

 interpretation and its result are “manifestly contrary to the statute” and arbitrary and

 capricious, Mead 533 U.S. at 227, and clearly not the “best reading of the statute.”

 Loper Bright, Slip. Op. at 23.

          Notably, while EPA argues that it can exclude costs because of a long-held

 belief, for those provisions that EPA agrees it must consider cost, the Rule

 inexplicably abandons EPA’s long-standing approach to how costs are to be

 considered. Thus, while EPA has long required emission standards to be “cost

 effective” before they are adopted as so-called “beyond the floor” standards, the

 Rule acknowledges that several standards are, on their own, not cost effective, but

 then adopts them anyway. 89 Fed. Reg. at 23,312. EPA attempts to justify this by

 several accounting tricks. First, EPA groups several standards, hiding highly cost

 ineffective requirements behind less costly ones. See id (acknowledging that,

 looking at each HAP individually, it “might have reached a different conclusion


 4
     See Loper Bright, Slip. Op. at 35.
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 (e.g., maybe not promulgated one or more of the individual final limits due to costs

 and cost effectiveness” but asserting that the numbers look better if you combine

 three different HAPs). This sleight-of-hand is an impermissible—and in any event

 not the best—interpretation of §7412(d)(2). Even then, the results are still higher

 than what EPA has previously found cost effective. 89 Fed. Reg. at 23,312. EPA

 therefore abandons its long-held use of cost-effectiveness altogether and attempts to

 justify its standards as costing “less than 1 percent of revenues for the parent

 companies.” Id. This is also impermissible. EPA cannot turn a single statutory

 requirement to consider cost into a “chameleon, taking on different meanings in

 different contexts.” Corner Post, Slip Op. at 18. Nor does EPA every explain this

 radical departure from its long-standing approach to considering costs under

 §7412(d)(2). State Farm, 463 U.S. at 56 (an agency is “obligated to explain its

 reasons for” departing from past interpretations). And it provides no basis for

 imposing on industry standards that, by EPA’s own established metrics, are not cost

 effective.

 II.   The Rule Imposes Irreparable Harm Without a Stay.

        “In order to demonstrate irreparable harm, a party must show that the harm

 is certain and great and of such imminence that there is a clear and present need for

 equitable relief.” Iowa Utils. v. FCC, 109 F.3d 418, 425 (8th Cir. 1996). Needing

 to comply with an invalid regulation is itself an irreparable harm. Id at 426; Thunder


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 Basin Coal Co. v. Reich, 510 U.S. 200, 220-21 (1994) (“complying with a regulation

 later held invalid almost always produces the irreparable harm of nonrecoverable

 compliance costs.”) (Scalia, J., concurring in part and in the judgment); Texas v.

 EPA, 829 F.3d 405, 433 (5th Cir. 2016) (“[C]omplying with a regulation later held

 invalid almost always produces the irreparable harm of nonrecoverable compliance

 costs.”) (citation omitted). Further, as Justice Kavanaugh recently explained, the

 need for businesses to “restructure their operations or build new facilities to comply”

 with new environmental regulations “during the multiyear period while the legality

 of the regulations is being challenge in court” presents such a need. Labrador, 601

 U.S. 929, Slip Op. at 3 (Kavanaugh, J., concurring).            Further, a regulated

 community’s need to incur hundreds of millions of dollars in unrecoverable costs

 during the pendency of the litigation is a “strong argument[] about the harms they

 face.” Ohio v. EPA, Slip. Op. at 11, 603 U.S. __ (2024).

       As addressed above and in the attached declaration, the Rule imposes

 requirements that are unsafe for U. S. Steel’s employees and the public. See Piscitelli

 Declaration at ¶¶5-7. Bleeder valves are a necessary safety device, and their proper

 operation should not be prohibited.        Id.   Further, many of the monitoring

 requirements place employees or contractors in dangerous conditions. Piscitelli

 Declaration at ¶¶13, 17, and 21; Mangahas Declaration at ¶¶4, 7-8, 13, and 16.




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 U. S. Steel should not be placed in the position of choosing between environmental

 compliance and the safety of its employees and contractors.

       These considerations alone justify immediate stay of the Rule, but they are

 not the only harm to U. S. Steel. The regulatory burdens and costs of the Rule are

 also significant and unjustified.     Best estimates are that the Rule will cost

 approximately $3.2 billion in capital investment and almost $750 million annually.

 Piscitelli at ¶34. The Rule will cost U. S. Steel alone hundreds of millions of dollars.

 Piscitelli Declaration at ¶3. In many cases, this money will be spent attempting to

 achieve limits that will not be achievable. Piscitelli at ¶¶9, 12, 14, and 30-31, 35.

       Monitoring costs alone will be extreme. The Method 9 testing requirements

 are overly burdensome and technically flawed. While called “planned” bleeder

 openings, EPA has defined this term to include any opening that is performed by an

 operator. 89 Fed. Reg. at 23,298. A planned bleeder opening can therefore occur at

 any time and on short notice. Mangahas Declaration at ¶14; Piscitelli Declaration at

 ¶25. As a result, reading each planned bleeder opening requires having a reader

 onsite and available at any time. Id. This results in an extreme cost for very little

 practical information. Mangahas Declaration at ¶14. EPA has provided no basis for

 imposing such a wasteful requirement, let alone shown that it is a requirement

 necessary to control HAP emissions.




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       In addition to the high cost of the Rule, many of the requirements are

 impossible or impractical to implement and will result in significant interference

 with normal operations at U. S. Steel’s facilities. The Rule requires compliance with

 methods that do not exist, including instantaneous visible emissions readings for

 which EPA has not specified a method of compliance. Piscitelli at ¶¶9, 12, 14, and

 30-31. It requires Method 9 readings of opacity at “each opening” of a casthouse,

 which is impossible to do consistent with Method 9. Id. at ¶¶ 13 and 21. It requires

 facilities to “prove” that small bells will have no visible emissions, when small but

 visible emissions are part of normal operation. Id. at ¶14. And the Rule requires

 changes to raw material screening that will have no environmental improvement but

 will require potentially significant changes in material management practices. Id. at

 ¶¶8 and 24.

       Even where requirements can physically and technically be performed, they

 will often result in waste or harm that outweighs the purported environmental

 benefit. The Rule requires a significant increase in repairs and replacements of small

 bells when there will be no demonstrated need. Id. at ¶15. It requires a significant

 increase in Method 9 readings, which EPA assumes will not be burdensome but in

 reality pose a significant disruption to plant operations. Mangahas Declaration at

 ¶¶9-12. The costs of this increased monitoring are also much higher than EPA

 assumes. Id. at ¶¶14-15. As one example, the requirement to read all planned


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 bleeder openings will require one or more permanent on-site Method 9 readers to be

 available at all hours of daylight operations. Id. at ¶14. There is no justification for

 such a burdensome monitoring requirement.

        U. S. Steel also cannot defer incurring these costs until after judicial review is

 complete. The compliance deadlines are already too short to allow for compliance.

 Piscitelli at ¶¶3 and 51. For example, the Rule provides only 2 years to implement

 material screening. This requires new permitting and purchasing of equipment that

 alone cannot be guaranteed to be completed within 2 years. Id. at ¶39. In some

 cases, a new screening area may need to be designed into the existing footprint. This

 may not be technically feasible, but if required, the work will easily exceed two years

 and so it must be started immediately to attempt to comply with the Rule despite the

 pending litigation. See id. at ¶51.

 III.   A Stay Will Not Significantly Injure Other Parties.

        While U. S. Steel must incur costs now, the emission reductions in the Rule

 are not scheduled to occur until a year or more after publication. Even then, the

 results will not have a significant impact on public health and welfare. As EPA

 has already found, emissions from integrated iron and steel sources already do not

 pose a risk to public health and welfare with an ample margin of safety. 85 Fed.

 Reg. at 42,074. U. S. Steel has identified numerous flaws in the emission

 reductions EPA projects from the Rule, but given the lack of risk from current


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 emissions and the lack of immediate emission reductions in the Rule, a stay has no

 reasonable likelihood of affecting emissions at all, let alone to the detriment of

 third parties.

 IV.    The Public Interest Lies in Granting a Stay.

        The interest of third parties and the public interest generally merge “when the

 Government is the opposing party.” Nken, 446 U.S. at 435. Thus, as with the interest

 of third parties, the public interest here supports a stay.

        Further, a stay will minimize costs to the public pending judicial review. As

 courts have held, there is a public interest in enjoining inequitable conduct and in

 minimizing unnecessary costs to be met from public coffers. See, e.g. B & D Land

 & Livestock Co. v. Conner, 534 F. Supp. 2d 891, 910 (N.D. Iowa 2008). Here, the

 public interest supports a stay. As discussed above, the Rule contains provisions

 that are unsafe. It was not based on the best available data and does not reflect

 consideration of all relevant factors. The result will be costly and in many cases will

 impose requirements without a clear nexus to actual emission reductions.

        Under these circumstances, a stay of the Rule is in the public interest.

                                    CONCLUSION

        For these reasons, Petitioner respectfully requests that this Court stay the Rule

 pending judicial review.

  Dated: July 3, 2024                         Respectfully Submitted,


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                                     /s/John D. Lazzaretti
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                       CERTIFICATE OF COMPLIANCE

       I certify that Petitioners’ Motion to Stay complies with the type-volume

 limitation of Fed. R. App. P. 27(d)(2) because it contains 5,199 words, excluding

 cover page, table of contents, table of authorities, signature block, Certificate of

 Service and Certificate of Compliance.

       I also certify that Petitioners’ Motion to Stay complies with the requirements

 of Fed. R. App. P. 27(d)(1)(E) because it has been prepared in 14-point Times New

 Roman font, using Microsoft Word in accordance with the typeface requirements of

 Rule 32(a)(5) and the type-style requirements of Rule 32(a)(6).

       I further certify that this PDF file was scanned for viruses, and no viruses were

 found on the file.

       Dated: July 3, 2024              /s/John D. Lazzaretti

                                        John D. Lazzaretti




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                          CERTIFICATE OF SERVICE

       I certify that on July 3, 2024, I electronically filed the foregoing with the

 Clerk of Court using the CM/ECF system, which will send notification of the filing

 to any CM/ECF participants.

                                         /s/John D. Lazzaretti
                                         John D. Lazzaretti




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                                   Exhibit A

  National Emission Standards for Hazardous Air Pollutants: Integrated Iron and
 Steel Manufacturing Facilities Technology Review, 89 Fed. Reg. 23,294 (April 3,
                                      2024)
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                                            ENVIRONMENTAL PROTECTION                                Avenue NW, Washington, DC. The                        UMRA Unfunded Mandates Reform Act
                                            AGENCY                                                  Public Reading Room is open from 8:30                 UPL upper prediction limit
                                                                                                    a.m. to 4:30 p.m., Monday through                     VCS voluntary consensus standards
                                            40 CFR Part 63                                                                                                VE visible emissions
                                                                                                    Friday, excluding legal holidays. The                 VOC volatile organic compound
                                            [EPA–HQ–OAR–2002–0083; FRL–5919.1–                      telephone number for the Public                       WP work practice
                                            02–OAR]                                                 Reading Room is (202) 566–1744, and
                                                                                                    the telephone number for the EPA                        Organization of this document. The
                                            RIN 2060–AV82                                           Docket Center is (202) 566–1742.                      information in this preamble is
                                                                                                                                                          organized as follows:
                                            National Emission Standards for                         FOR FURTHER INFORMATION CONTACT: For
                                                                                                    questions about this final action, contact            I. General Information
                                            Hazardous Air Pollutants: Integrated                                                                             A. Executive Summary
                                            Iron and Steel Manufacturing Facilities                 Katie Boaggio, Sector Policies and
                                                                                                                                                             B. Does this action apply to me?
                                            Technology Review                                       Programs Division (D243–02), Office of                   C. Where can I get a copy of this document
                                                                                                    Air Quality Planning and Standards,                        and other related information?
                                            AGENCY: Environmental Protection                        U.S. Environmental Protection Agency,                    D. Judicial Review and Administrative
                                            Agency (EPA).                                           109 T.W. Alexander Drive, P.O. Box                         Reconsideration
                                            ACTION: Final rule.                                     12055, Research Triangle Park, North                  II. Background
                                                                                                    Carolina 27711; telephone number:                        A. What is the statutory authority for this
                                            SUMMARY: The U.S. Environmental                         (919) 541–2223; email address:                             action?
                                            Protection Agency (EPA or the Agency)                                                                            B. What is the source category and how
                                                                                                    boaggio.katie@epa.gov.
                                            is finalizing amendments to the                                                                                    does the current NESHAP regulate its
                                                                                                    SUPPLEMENTARY INFORMATION:                                 HAP emissions?
                                            National Emission Standards for                            Preamble acronyms and                                 C. What changes did we propose for the
                                            Hazardous Air Pollutants (NESHAP) for                   abbreviations. Throughout this                             Integrated Iron and Steel Manufacturing
                                            Integrated Iron and Steel Manufacturing                 document the use of ‘‘we,’’ ‘‘us,’’ or                     Facilities source category?
                                            Facilities to regulate hazardous air                    ‘‘our’’ is intended to refer to the EPA.              III. What is the rationale for our final
                                            pollutant (HAP) emissions. The                          We use multiple acronyms and terms in                      decisions and amendments for the
                                            amendments include: HAP from                                                                                       Integrated Iron and Steel Manufacturing
                                                                                                    this preamble. While this list may not be
                                            unmeasured fugitive and intermittent                                                                               Facilities source category?
                                                                                                    exhaustive, to ease the reading of this                  A. Standards To Address Five Unregulated
                                            particulate (UFIP) sources previously                   preamble and for reference purposes,                       UFIP Sources for Both New and Existing
                                            not regulated by the NESHAP;                            the EPA defines the following terms and                    Sources
                                            previously unregulated HAP for sinter                   acronyms here:                                           B. Reconsideration of BF Casthouse and
                                            plants:; previously unregulated                                                                                    BOPF Shop Standards for Currently
                                                                                                    ACI activated carbon injection
                                            pollutants for blast furnace (BF) stoves                                                                           Regulated Fugitive Sources Under CAA
                                                                                                    BF blast furnace
                                            and basic oxygen process furnaces                                                                                  Section 112(d)(6) Technology Review
                                                                                                    BOPF basic oxygen process furnace
                                            (BOPFs) primary control devices; and                                                                             C. What are the decisions for fenceline
                                                                                                    BTF Beyond-the-Floor
                                            previously unregulated pollutants for                                                                              monitoring?
                                                                                                    CAA Clean Air Act
                                                                                                                                                             D. Standards To Address Unregulated
                                            BF primary control devices. We are also                 CBI Confidential Business Information
                                                                                                                                                               Point Sources for Both New and Existing
                                            finalizing an update to the technology                  COS Carbonyl Sulfide                                       Sources
                                            review for this source category.                        CFR Code of Federal Regulations                          E. Reconsideration of Standards for D/F
                                                                                                    D/F dioxins and furans                                     and PAH for Sinter Plants Under CAA
                                            DATES: This final rule is effective June
                                                                                                    EAV equivalent annualized value                            Section 112(d)(6) Technology Review,
                                            3, 2024. The incorporation by reference                 EJ environmental justice
                                            (IBR) of material publications listed in                                                                           and Beyond-the-Floor Limit for Mercury
                                                                                                    EPA Environmental Protection Agency                      F. Other Major Comments and Issues
                                            the rule is approved by the Director of                 HAP hazardous air pollutant(s)                           G. Severability of Standards
                                            the Federal Register (FR) beginning June                HCl hydrochloric acid                                    H. What are the effective and compliance
                                            3, 2024. The incorporation by reference                 HF hydrogen fluoride                                       dates?
                                            (IBR) of certain other material listed in               HMTDS hot metal transfer, desulfurization,            IV. Summary of Cost, Environmental, and
                                            the rule was approved by the Director of                   and skimming                                            Economic Impacts
                                                                                                    ICR Information Collection Request                       A. What are the affected sources?
                                            the Federal Register (FR) as of July 13,
                                                                                                    II&S Integrated Iron and Steel                           B. What are the air quality impacts?
                                            2020.                                                   km kilometer                                             C. What are the cost impacts?
                                            ADDRESSES: The EPA established a                        MACT maximum achievable control                          D. What are the economic impacts?
                                            docket for this action under Docket ID                     technology                                            E. What are the benefits?
                                            No. EPA–HQ–OAR–2002–0083. All                           NESHAP national emission standards for                   F. What analysis of environmental justice
                                            documents in the docket are listed on                      hazardous air pollutants                                did we conduct?
                                            the https://www.regulations.gov/                        NTTAA National Technology Transfer and                V. Statutory and Executive Order Reviews
                                                                                                       Advancement Act                                       A. Executive Order 12866: Regulatory
                                            website. Although listed, some
                                                                                                    OAQPS Office of Air Quality Planning and                   Planning and Review and Executive
                                            information is not publicly available,                     Standards                                               Order 13563: Improving Regulation and
                                            e.g., Confidential Business Information                 OMB Office of Management and Budget                        Regulatory Review
                                            (CBI) or other information whose                        PAH polycyclic aromatic hydrocarbons                     B. Paperwork Reduction Act (PRA)
                                            disclosure is restricted by statute.                    PM particulate matter                                    C. Regulatory Flexibility Act (RFA)
                                            Certain other material, such as                         PBT persistent, bioaccumulative, and toxic               D. Unfunded Mandates Reform Act
                                            copyrighted material, is not placed on                  PRA Paperwork Reduction Act                                (UMRA)
                                            the internet and is publicly available                  PV present value                                         E. Executive Order 13132: Federalism
                                            only in hard copy. With the exception                   RFA Regulatory Flexibility Act                           F. Executive Order 13175: Consultation
lotter on DSK11XQN23PROD with RULES3




                                                                                                    RTR residual risk and technology review                    and Coordination With Indian Tribal
                                            of such materials, publicly available
                                                                                                    SSM startup, shutdown, and malfunction                     Governments
                                            docket materials are available                          THC total hydrocarbons                                   G. National Technology Transfer and
                                            electronically in https://                              TEQ toxic equivalency                                      Advancement Act (NTTAA) and 1 CFR
                                            www.regulations.gov/ or in hard copy at                 tpy tons per year                                          Part 51
                                            the EPA Docket Center, Room 3334,                       UFIP unmeasured fugitive and intermittent                H. Executive Order 12898: Federal Actions
                                            WJC West Building, 1301 Constitution                       particulate                                             To Address Environmental Justice in



                                       VerDate Sep<11>2014   20:05 Apr 02, 2024   Jkt 262001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4700   E:\FR\FM\03APR3.SGM   03APR3
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                                                              Federal Register / Vol. 89, No. 65 / Wednesday, April 3, 2024 / Rules and Regulations                                           23295

                                                  Minority Populations and Low-Income               months. More details regarding the EPA                action, focuses on the elements of the
                                                  Populations and Executive Order 14096:            approved method for opacity readings                  final rule that are likely to result in
                                                  Revitalizing Our Nation’s Commitment              by a trained observer are available at the            quantifiable cost or emissions changes
                                                  to Environmental Justice for All
                                                                                                    following website: https://www.epa.gov/               compared to a baseline without these
                                               I. Executive Order 13045: Protection of
                                                  Children From Environmental Health                emc/method-9-visual-opacity.                          regulatory requirements. We estimated
                                                  Risks and Safety Risks                            Alternatively, opacity can be observed                the cost, emissions, and benefit impacts
                                               J. Executive Order 13211: Actions                    with special cameras following a                      for the 2026 to 2035 period, discounted
                                                  Concerning Regulations That                       specific method (known as the digital                 to 2024. We show the present value (PV)
                                                  Significantly Affect Energy Supply,               camera opacity technique (DCOT), 40                   and equivalent annualized value (EAV)
                                                  Distribution, or Use                              CFR 63.7823), and those images                        of costs, benefits, and net benefits of this
                                               K. Congressional Review Act (CRA)                    interpreted by trained individuals. For               action in 2022 dollars. The EAV
                                            I. General Information                                  the Integrated Iron and Steel                         represents a flow of constant annual
                                                                                                    Manufacturing sector (and a number of                 values that would yield a sum
                                            A. Executive Summary                                    other metals processing and production                equivalent to the PV. The EAV
                                            1. Purpose of the Regulatory Action                     sectors), a significant portion of the                represents the value of a typical cost or
                                                                                                    emitted PM is composed of HAP metals                  benefit for each year of the analysis,
                                               The EPA set maximum achievable                       (such as arsenic, lead, manganese, and
                                            control technology (MACT) standards                                                                           consistent with the estimate of the PV,
                                                                                                    chromium) that are primarily emitted in               in contrast to year-specific estimates.
                                            for the Integrated Iron and Steel                       particulate form as demonstrated in the
                                            Manufacturing Facilities major source                                                                            The initial analysis year in the RIA is
                                                                                                    emissions tests available in the docket               2026 because we assume that will be the
                                            category in 2003 (68 FR 27645) under 40                 for this action. Therefore, for the
                                            CFR part 63, subpart FFFFF and                                                                                first year of full implementation of the
                                                                                                    Integrated Iron and Steel Manufacturing               rule. We are finalizing that facilities will
                                            completed a residual risk and                           sector, as well as several other industry
                                            technology review final rule in July                                                                          have 1 year to demonstrate compliance
                                                                                                    sectors, PM and opacity serve as                      with the relevant standards following
                                            2020 (85 FR 42074). The purpose of this                 surrogates for particulate HAP metals.
                                            rule is to (1) fulfill the EPA’s statutory                                                                    promulgation. This analysis assumes
                                                                                                       We are also finalizing new emissions               that full compliance with the standards
                                            obligations pursuant to CAA section                     limits for three unregulated pollutants
                                            112(d)(6); see Louisiana Environmental                                                                        will occur in early 2025. Therefore, the
                                                                                                    for BF stoves and BOPFs: THC (as a                    first full year of impacts will occur in
                                            Action Network v. EPA, 955 F.3d 1088                    surrogate for non-dioxin and non-furan
                                            (D.C. Cir. 2020) (‘‘LEAN’’), and (2)                                                                          2026. The final analysis year is 2035,
                                                                                                    organic HAP), HCl, and D/F; and for two               which allows us to provide ten years of
                                            improve the emissions standards for this                unregulated pollutants for BFs: THC (as
                                            source category based on new                                                                                  projected impacts after the rule takes
                                                                                                    a surrogate for non-dioxin and non-                   effect.
                                            information regarding developments in                   furan organic HAP) and HCl. In this
                                            practices, processes, and control                                                                                The cost analysis presented in the RIA
                                                                                                    action, pursuant to CAA section
                                            technologies.                                                                                                 reflects a nationwide engineering
                                                                                                    112(d)(6), we are also finalizing: (1)
                                                                                                                                                          analysis of compliance cost and
                                            2. Summary of the Major Provisions of                   work practice standards for the basic
                                                                                                                                                          emissions reductions. Impacts are
                                            the Regulatory Action                                   oxygen process furnace (BOPF) shops;
                                                                                                                                                          calculated by setting parameters on how
                                                                                                    (2) a requirement that facilities conduct
                                               To comply with CAA section 112, we                                                                         and when affected facilities are assumed
                                                                                                    Method 9 readings two times per month
                                            are finalizing: (1) new emissions limits                at the BOPF Shop and BF casthouse; (3)                to respond to a particular regulatory
                                            based on MACT for five currently                        a fenceline monitoring requirement for                regime, calculating estimated cost and
                                            unregulated HAP (COS, CS2, Hg, HCl,                     chromium to help ensure the work                      emissions impact estimates for each
                                            and HF) from the sinter plants located                  practices and opacity limits are                      facility, differencing from the baseline
                                            at integrated iron and steel                            achieving the anticipated reductions;                 scenario, and then summing to the
                                            manufacturing facilities; and (2) new                   and (4) revised standards for D/F and                 desired level of aggregation.
                                            MACT standards, in the form of opacity                  PAHs from sinter plants to reflect the                   The EPA expects health benefits due
                                            limits and work practice (WP)                           installation and operation of activated               to the emissions reductions projected
                                            standards, for five unregulated sources                 carbon injection (ACI) technology. At                 from the rule. We expect that HAP
                                            of UFIP emissions: Unplanned Bleeder                    this time, we are not finalizing the                  emission reductions will improve health
                                            Valve Openings, Planned Bleeder Valve                   proposed revised opacity limits for the               and welfare associated with reduced
                                            Openings, Slag Pits, Beaching, and Bell                 BOPF or the BF casthouse, as explained                exposure for those affected by these
                                            Leaks. In this context, opacity is a                    later in this preamble.                               emissions. In addition, the EPA expects
                                            measure of the amount of light that is                                                                        that PM2.5 emission reductions that will
                                            blocked or absorbed by an air pollution                 3. Costs and Benefits                                 occur concurrent with the reductions in
                                            plume. The components of air pollution                     To meet the requirements of E.O.                   HAP emissions will improve air quality
                                            that block or absorb light are primarily                12866, the EPA projected the emissions                and are likely to improve health and
                                            particulate matter (PM). An opacity                     reductions, costs, and benefits that may              welfare associated with exposure to
                                            level of 0 percent means that plumes of                 result from the final rule. These results             PM2.5 and HAP. For the RIA, the EPA
                                            air pollution do not block or absorb light              are presented in detail in the regulatory             monetized benefits associated with
                                            and are fully transparent (i.e., no visible             impact analysis (RIA) accompanying                    premature mortality and morbidity from
                                            emissions), while an opacity of 100                     this final rule developed in response to              reduced exposure to PM2.5. Discussion
                                            percent means that plumes are dense                     E.O. 12866. The final rule is significant             of both the monetized and non-
                                            and block all light (i.e., the trained                  under E.O. 12866 Section 3(f)(1), as                  monetized benefits can be found in
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                                            observer or special camera cannot see                   amended by E.O. 14094, due to the                     Chapter 4 of the RIA.
                                            any background behind the plume).                       monetized benefits of fine particulate                   Table 1 presents the emission changes
                                            Observers are trained and certified using               matter (PM2.5) reductions likely to result            and the PV and EAV of the projected
                                            smoke generators which produce known                    from the UFIP emissions standards                     monetized benefits, compliance costs,
                                            opacity levels, and periodic                            included in the final rule. The RIA,                  and net benefits over the 2026 to 2035
                                            recertification is required every six                   which is available in the docket for this             period under the rule. All discounting


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                                            of impacts presented uses social
                                            discount rates of 3 and 7 percent.

                                             TABLE 1—MONETIZED BENEFITS, COSTS, NET BENEFITS, AND EMISSIONS REDUCTIONS OF THE FINAL NESHAP SUBPART
                                                                            FFFFF AMENDMENTS, 2026 THROUGH 2035 a
                                                                                                        [Dollar estimates in millions of 2022 dollars, discounted to 2024]

                                                                                                                                         3 Percent discount rate                                               7 Percent discount rate

                                                                                                                                     PV                                   EAV                                    PV                          EAV

                                            Benefits b ............................................................   $1,800 and $3,700 ......              $200 and $420 ............            $1,200 and $2,600 ......              $170 and $340.
                                            Compliance Costs ..............................................           $45 ...............................   $5.3 ..............................   $36 ...............................   $5.1.
                                            Net Benefits ........................................................     $1,800 and $3,700 ......              $190 and $410 ............            $1,200 and $2,600 ......              $160 and $330.

                                            Emissions Reductions (short tons) ....................                                                                             2026–2035 Total
                                                HAP .............................................................                                                                    640
                                                PM ...............................................................                                                                 18,000
                                                PM2.5 ...........................................................                                                                   4,700

                                            Non-monetized Benefits in this Table ................                     HAP benefits from reducing 640 short tons of HAP from 2026–2035.
                                                                                                                      Non-health benefits from reducing 18,000 tons of PM, of which 4,700 tons is PM2.5, from
                                                                                                                      2026–2035.
                                                                                                                      Benefits from reducing HCl, HF, Hg, D/F TEQ, COS, and CS2.
                                                                                                                      Visibility benefits.
                                                                                                                      Reduced vegetation effects.
                                               a Totals may not sum due to independent rounding. Numbers rounded to two significant digits unless otherwise noted.
                                               b Monetized benefits include health benefits associated with reductions in PM
                                                                                                                            2.5 emissions. The monetized health benefits are quantified using
                                            two alternative concentration-response relationships from the Di et al. (2016) and Turner et al. (2017) studies and presented at real discount
                                            rates of 3 and 7 percent. The two benefits estimates are separated by the word ‘‘and’’ to signify that they are two separate estimates. Benefits
                                            from HAP reductions remain unmonetized and are thus not reflected in the table.


                                            B. Does this action apply to me?                                          Initial List of Categories of Sources                                 iron production, iron preparation (hot
                                              Table 2 of this preamble lists the                                      Under Section 112(c)(1) of the Clean Air                              metal desulfurization), and steel
                                            NESHAP and associated regulated                                           Act Amendments of 1990 (see 57 FR                                     production. The iron production
                                            industrial source category that is the                                    31576; July 16, 1992) and                                             process includes the production of iron
                                            subject of this final rule. Table 2 is not                                Documentation for Developing the                                      in BFs by the reduction of iron-bearing
                                            intended to be exhaustive, but rather                                     Initial Source Category List, Final                                   materials with a hot gas. The steel
                                            provides a guide for readers regarding                                    Report (see EPA–450/3–91–030; July                                    production process occurs in the BOPFs
                                            the entities that this final action is likely                             1992), the Integrated Iron and Steel                                  where hot liquid iron from the BF is
                                            to affect. The final standards are directly                               Manufacturing Facilities source category                              loaded (i.e., charged) into the BOPF
                                            applicable to the affected sources.                                       is any facility engaged in producing                                  along with coke, lime, alloys, and steel
                                            Federal, state, local, and Tribal                                         steel from iron ore. Integrated iron and                              scrap, and includes blowing oxygen into
                                            government entities are not affected by                                   steel manufacturing includes the                                      the furnace through a lance resulting in
                                            this final action. As defined in the                                      following processes: sinter production,                               oxidation reactions to produce steel.

                                                                     TABLE 2—NESHAP AND INDUSTRIAL SOURCE CATEGORIES AFFECTED BY THIS FINAL ACTION
                                                                              Source category                                                                                     NESHAP                                                 NAICS code 1

                                            Integrated Iron and Steel Manufacturing Facilities ....................                        40 CFR part 63, subpart FFFFF ...............................................                        331110
                                               1 North American Industry Classification System.




                                            C. Where can I get a copy of this                                         technical documents at this same                                      proceedings brought by the EPA to
                                            document and other related                                                website.                                                              enforce the requirements.
                                            information?                                                                                                                                      Section 307(d)(7)(B) of the CAA
                                                                                                                      D. Judicial Review and Administrative                                 further provides that only an objection
                                               In addition to being available in the                                  Reconsideration                                                       to a rule or procedure which was raised
                                            docket, an electronic copy of this action                                                                                                       with reasonable specificity during the
                                                                                                                         Under Clean Air Act (CAA) section
                                            is available on the internet. Following                                                                                                         period for public comment (including
                                                                                                                      307(b)(1), judicial review of this final
                                            signature by the EPA Administrator, the                                                                                                         any public hearing) may be raised
                                            EPA will post a copy of this final action                                 action is available only by filing a
                                                                                                                                                                                            during judicial review. This section also
                                            at https://www.epa.gov/stationary-                                        petition for review in the United States
                                                                                                                                                                                            provides a mechanism for the EPA to
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                                            sources-air-pollution/integrated-iron-                                    Court of Appeals for the District of
                                                                                                                                                                                            reconsider the rule if the person raising
                                            and-steel-manufacturing-national-                                         Columbia Circuit (D.C. Circuit) by June
                                                                                                                                                                                            an objection can demonstrate to the
                                            emission-standards. Following                                             3, 2024. Under CAA section 307(b)(2),                                 Administrator that it was impracticable
                                            publication in the Federal Register, the                                  the requirements established by this                                  to raise such objection within the period
                                            EPA will post the Federal Register                                        final rule may not be challenged                                      for public comment or if the grounds for
                                            version of the final rule and key                                         separately in any civil or criminal                                   such objection arose after the period for


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                                            public comment (but within the time                     than the floor, commonly referred to as               RTR conducted for the Integrated Iron
                                            specified for judicial review) and if such              ‘‘beyond-the-floor’’ (BTF) standards.                 and Steel Manufacturing Facilities
                                            objection is of central relevance to the                   CAA section 112(d)(6) requires the                 NESHAP was signed on May 4, 2020. 85
                                            outcome of the rule. Any person seeking                 EPA to review standards promulgated                   FR 42074 (July 13, 2020).
                                            to make such a demonstration should                     under CAA section 112 and revise them
                                                                                                    ‘‘as necessary (taking into account                      In an April 2020 decision by the U.S.
                                            submit a Petition for Reconsideration to
                                                                                                    developments in practices, processes,                 Court of Appeals for the District of
                                            the Office of the Administrator, U.S.
                                                                                                    and control technologies)’’ no less often             Columbia Circuit, on a petition for
                                            EPA, Room 3000, WJC South Building,
                                            1200 Pennsylvania Ave. NW,                              than every eight years. While                         review of the EPA’s NESHAP
                                            Washington, DC 20460, with a copy to                    conducting this review, which we call                 rulemaking for a different source
                                            both the person(s) listed in the                        the ‘‘technology review,’’ the EPA is not             category (pulp mill combustion
                                            preceding FOR FURTHER INFORMATION                       required to recalculate the MACT floors               sources), the court held that the EPA has
                                            CONTACT section, and the Associate                      that were established during earlier                  an obligation to address all unregulated
                                            General Counsel for the Air and                         rulemakings. Nat. Resources Def.                      HAP emissions from a source category
                                            Radiation Law Office, Office of General                 Council, et al. v. EPA, 529 F.3d 1077,                when the Agency conducts the eight-
                                            Counsel (Mail Code 2344A), U.S. EPA,                    1084 (D.C. Cir. 2008); Ass’n of Battery               year technology review required by
                                            1200 Pennsylvania Ave. NW,                              Recyclers, Inc. v. EPA, 716 F.3d 667                  CAA section 112(d)(6). Louisiana
                                            Washington, DC 20460.                                   (D.C. Cir. 2013). The EPA may consider                Environmental Action Network v. EPA,
                                                                                                    cost in deciding whether to revise the                955 F.3d 1088, 1098–99 (‘‘LEAN’’). The
                                            II. Background                                          standards pursuant to CAA section                     parties in California Communities
                                            A. What is the statutory authority for                  112(d)(6). However, costs may not be                  Against Toxics thereafter filed a joint
                                            this action?                                            considered when setting the MACT                      motion to extend those deadlines to
                                                                                                    floor and may only be considered when                 allow the EPA to revise the rules in
                                              This action finalizes amendments to                   determining whether beyond-the-floor
                                                                                                                                                          accordance with the LEAN opinion. The
                                            the National Emission Standards for                     standards are appropriate. See CAA
                                                                                                                                                          court granted the motion, setting a new
                                            Hazardous Air Pollutants (NESHAP) for                   section 112(d)(3).
                                                                                                       CAA section 112(f) requires the EPA                deadline for this rule of October 26,
                                            the Integrated Iron and Steel                                                                                 2023. Order, California Communities
                                            Manufacturing Facilities source                         to determine whether promulgation of
                                                                                                    additional standards is needed to                     Against Toxics, No. 15–512 (D.D.C.
                                            category. The statutory authority for this
                                                                                                    provide an ample margin of safety to                  April 14, 2021). Based on further
                                            action is provided by section 112 of the
                                                                                                    protect public health or to prevent an                negotiation between the parties, the
                                            CAA, as amended (42 U.S.C. 7401, et
                                            seq.). In the first stage of the CAA                    adverse environmental effect. This                    deadline for this final rule was changed
                                            section 112 standard-setting process, the               review is known as the ‘‘residual risk                to March 11, 2024. Minute Order,
                                            EPA promulgates technology-based                        review,’’ and it must occur within eight              California Communities Against Toxics,
                                            standards under CAA section 112(d) for                  years after promulgation of the                       No. 15–512 (D.D.C. Sept. 20, 2023).
                                            categories of sources identified as                     standards. When the EPA conducts the                     In September 2021, industry and
                                            emitting one or more of the HAP listed                  ‘‘technology review’’ together with the               environmental advocacy groups filed
                                            in CAA section 112(b). Sources of HAP                   ‘‘residual risk review,’’ the combined
                                                                                                                                                          petitions for review of the 2020
                                            emissions are either major sources or                   review is known as a ‘‘risk and
                                                                                                                                                          Integrated Iron and Steel Manufacturing
                                            area sources, and CAA section 112                       technology review’’ or ‘‘RTR.’’
                                                                                                       The EPA initially promulgated the                  Facilities final rule, and these petitions
                                            establishes different requirements for                                                                        have been consolidated. American Iron
                                                                                                    Integrated Iron and Steel Manufacturing
                                            major source standards and area source                                                                        and Steel Inst., et al. v. EPA, No. 20–
                                                                                                    Facilities NESHAP on May 20, 2003 (68
                                            standards. ‘‘Major sources’’ are those                                                                        1354 (D.C. Cir.); Clean Air Council, et al.
                                                                                                    FR 27645), codified at title 40, part 63,
                                            that emit or have the potential to emit                                                                       v. EPA, No. 20–1355 (D.C. Cir.). The
                                                                                                    subpart FFFFF (the NESHAP). The rule
                                            10 tons per year (tpy) or more of a single                                                                    consolidated case is being held in
                                                                                                    was amended on July 13, 2006 (71 FR
                                            HAP or 25 tpy or more of any                            39579). The amendments added a new                    abeyance pending the promulgation of
                                            combination of HAP. All other sources                   compliance option, revised emission                   this final rule. See EPA’s Unopposed
                                            are ‘‘area sources.’’                                   limitations, reduced the frequency of                 Mot. to Hold Cases in Abeyance, No.
                                              For major sources, CAA section                        repeat performance tests for certain                  20–1354 (consol.) (D.C. Cir.), Dkt. No.
                                            112(d)(2) provides that the technology-                 emission units, added corrective action               2028131 (reporting to the D.C. Circuit
                                            based NESHAP must reflect the                           requirements, and clarified monitoring,               the March 11, 2024 final rule deadline);
                                            maximum degree of emission reductions                   recordkeeping, and reporting                          Order, American Iron and Steel Inst.,
                                            of HAP achievable after considering                     requirements.                                         No. 20–1354 (consol.) (D.C. Cir. Dec. 7,
                                            cost, energy requirements, and non-air                     In 2015, a coalition of environmental              2022).
                                            quality health and environmental                        advocacy groups filed a lawsuit to
                                            impacts. These standards are commonly                   compel the EPA to fulfill its statutory                  In light of this litigation history, this
                                            referred to as MACT standards. CAA                      duty to conduct the CAA sections                      final rule addresses multiple issues,
                                            section 112(d)(3) also establishes a                    112(d) and 112(f)(2) reviews of 21                    including: (1) new standards to address
                                            minimum control level for MACT                          NESHAPs, including Integrated Iron and                previously unregulated emissions of
                                            standards, known as the MACT ‘‘floor.’’                 Steel Manufacturing Facilities. As a                  HAP from the Integrated Iron and Steel
                                            In certain instances, as provided in CAA                result of that litigation, the EPA was                Manufacturing Facilities source category
                                            section 112(h), if it is the judgment of                required by court order to complete the               pursuant to the LEAN decision and CAA
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                                            the Administrator that it is not feasible               RTR for the Integrated Iron and Steel                 sections 112(d)(2) and (3) and 112(h)
                                            to prescribe or enforce an emission                     Manufacturing Facilities source category              and, (2) revised standards for a few
                                            standard, the EPA may set work practice                 by May 5, 2020. California Communities                currently regulated HAP, as well as
                                            standards in lieu of numerical emission                 Against Toxics v. Wheeler, No. 1:15–                  fenceline monitoring requirements,
                                            standards. The EPA must also consider                   00512, Order (D.D.C. March 13, 2017, as               pursuant to the CAA section 112(d)(6)
                                            control options that are more stringent                 modified Feb. 20, 2020). The resulting                technology review.


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                                            B. What is the source category and how                     In addition to point sources, the EPA               actuating safety device to relieve excess
                                            does the current NESHAP regulate its                    identified seven UFIP emission sources                 pressure and as an operator-initiated
                                            HAP emissions?                                          for this source category, including BF                 instrument for process control. A
                                               As described above, the Integrated                   bleeder valve unplanned openings, BF                   bleeder valve opening means any
                                            Iron and Steel Manufacturing Facilities                 bleeder valve planned openings, BF bell                opening of the BF bleeder valve, which
                                            source category includes any facility                   leaks, BF casthouse fugitives, BF iron                 allows gas and/or PM to flow past the
                                            engaged in producing steel from refined                 beaching, BF and BOPF slag handling                    sealing seat. Multiple openings and
                                            iron ore (also known as taconite pellets).              and storage operations, and BOPF shop                  closings of a bleeder valve that occur
                                            These facilities first produce iron from                fugitives. These UFIP emission sources                 within a 30-minute period could be
                                                                                                    were identified by observation of visible              considered a single bleeder valve
                                            iron ore taconite pellets, sinter, coke,
                                                                                                    plumes by EPA regional staff during                    opening. There are two types of
                                            and other raw materials using blast
                                                                                                    onsite source inspections and were                     openings, planned and unplanned.
                                            furnaces (BFs), then produce steel from                                                                           • A planned bleeder valve opening
                                            the hot liquid iron produced from the                   subsequently investigated to determine
                                                                                                    the causes and any possible methods for                means an opening that is initiated by an
                                            blast furnaces, along with coke, lime,                                                                         operator as part of a furnace startup,
                                            alloys, steel scrap, and other raw                      reductions. These inspections are
                                                                                                    documented in numerous reports and                     shutdown, or temporary idling for
                                            materials using basic oxygen process                                                                           maintenance action. Operators can
                                            furnaces (BOPFs). Integrated iron and                   photographs between 2008 and the
                                                                                                    present.1 The NESHAP regulates two of                  prepare the furnace for planned
                                            steel manufacturing includes the                                                                               openings to minimize or eliminate
                                            following processes: sinter production,                 these sources—BF casthouse fugitives
                                                                                                    and BOPF shop fugitives—with opacity                   emissions from the bleeder valves.
                                            iron production, iron preparation (hot                                                                            • An unplanned bleeder valve
                                            metal desulfurization), and steel                       limits.
                                                                                                       The following are descriptions of the               opening means an opening that is not
                                            production. The iron production                                                                                planned and is caused by excess
                                            process includes the production of iron                 main process units and the seven UFIP
                                                                                                    sources:                                               pressure within the furnace. The
                                            in BFs by the reduction of iron-bearing
                                                                                                       • The BF is a key integrated iron and               pressure buildup can occur when raw
                                            materials with a very hot gas. The steel                                                                       materials do not descend smoothly after
                                                                                                    steel process unit where molten iron is
                                            production process includes BOPFs and                                                                          being charged at the top of the BF and
                                                                                                    produced from raw materials such as
                                            ladle metallurgy operations. Currently                                                                         accumulate in large masses within the
                                                                                                    iron ore, lime, sinter, coal and coke.
                                            there are eight operating facilities in this               • The BOPF is a key integrated iron                 furnace. When the large masses finally
                                            source category.                                        and steel process unit where steel is                  dislodge (slip) due to their weight, a
                                               The main sources of HAP emissions                    made from molten iron, scrap steel,                    pressure surge results.
                                            from integrated iron and steel                          lime, dolomite, coal, coke, and alloys.                   • Slag is a by-product containing
                                            manufacturing are the BF; BF stove;                        • Sinter is derived from material                   impurities that is released from the BF
                                            BOPF; hot metal transfer,                               formed in the bottom of the blast                      or BOPF along with molten iron when
                                            desulfurization, and skimming                           furnace, composed of oily scale, blast                 the BF or BOPF is tapped from the
                                            (HMTDS) operations; ladle metallurgy                    furnace sludge, and coke breeze, along                 bottom of the furnace. The slag is less
                                            operations; sinter plant windbox; sinter                with tarry material and oil absorbed                   dense than iron and, therefore, floats on
                                            plant discharge end; and sinter cooler.                 from the sump in which the sinter is                   top of the iron. Slag is removed by
                                            All eight facilities have BFs, BF stoves,               recovered. The sinter plant processes                  skimmers and then transported to open
                                            BOPFs, HMTDS operations, and ladle                      the waste that would otherwise be                      pits to cool to enable later removal.
                                            metallurgy operations. However, only                    landfilled so that iron and other                      Usually there is one slag pit for every BF
                                            three facilities have sinter plants and                 valuable materials can be re-used in the               or BOPF.
                                            only two facilities with currently                      blast furnace. Only three sources                         • Iron beaching occurs when iron
                                            operating sinter plants.                                covered by the Integrated Iron and Steel               from a BF cannot be charged to the
                                               The following are descriptions of the                Manufacturing Facility category have                   BOPF because of problems in
                                            BF, BOPF, and sinter plants:                            sinter plants, down from nine facilities               steelmaking units; the hot molten iron
                                               • The BF is a key integrated iron and                with sinter plants in 2003.                            from the BF is placed onto the ground,
                                            steel process unit where molten iron is                    • The BOPF shop is the structure that               in some cases within a three-sided
                                            produced from raw materials such as                     houses the entire BOPF and auxiliary                   structure.
                                            iron ore, lime, sinter, coal and coke.                  activities, such as hot iron transfer,                    • The BF bells are part of the charging
                                               • The BOPF is a key integrated iron                  skimming, and desulfurization of the                   system on top of the furnace that allows
                                            and steel process unit where steel is                   iron and ladle metallurgy operations,                  for materials to be loaded into the
                                            made from molten iron, scrap steel,                     which generate fugitive emissions.                     furnace or next bell (as in the case of
                                            lime, dolomite, coal, coke, and alloys.                    • The BF casthouse is the structure                 small bells) without letting BF gas
                                               • Sinter is derived from material                    that houses the lower portion of the BF                escape. It is a two-bell system, where a
                                            formed in the bottom of the blast                       and encloses the tapping operation and                 smaller bell is above a larger bell. These
                                            furnace, composed of oily scale, blast                  the iron and slag transport operations,                bells must be tightly sealed to the blast
                                            furnace sludge, and coke breeze, along                  which generate fugitive emissions.                     furnace when not in use for charging, so
                                            with tarry material and oil absorbed                       • The bleeder valve is a device at the              that BF gas and uncontrolled emissions
                                            from the sump in which the sinter is                    top of the BF that, when open, relieves                do not escape to the atmosphere. Over
                                            recovered. The sinter plant processes                   BF internal pressure to the ambient air.               time, the surfaces that seal the bells
                                            the waste that would otherwise be                       The valve can operate as both a self-                  wear down and need to be repaired or
                                            landfilled so that iron and other                                                                              replaced. If these seals are not repaired
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                                            valuable materials can be re-used in the                  1 See, e.g., communications between B. Dickens       or replaced in a timely manner,
                                            blast furnace. Only three sources                       and P. Miller, U.S. EPA Region V, Chicago, IL, with    emissions of HAP and PM can increase
                                            covered by the Integrated Iron and Steel                D.L. Jones, U.S. EPA, Office of Air Quality Planning   significantly.
                                                                                                    and Standards, Office of Air and Radiation, 2015–
                                            Manufacturing Facility category have                    2018. See also Ample Margin of Safety for Nonpoint
                                                                                                                                                              In the 2020 final rule, the Agency
                                            sinter plants, down from nine facilities                Sources in the II&S Industry. Both documents are       found that risks due to emissions of air
                                            with sinter plants in 2003.                             available in the docket to this rule.                  toxics from this source category were


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                                            acceptable and concluded that the                       a surrogate for non-mercury metal HAP                    As an update to the technology
                                            NESHAP provided an ample margin of                      was reasonable. The court found that                  review, we proposed to revise the
                                            safety to protect public health. Although               PM is a reasonable surrogate for HAP if:              previous BOPF shop fugitive 20 percent
                                            the 2020 NESHAP found the risks                         (1) ‘‘HAP metals are invariably present’’             opacity limit to a 5 percent opacity limit
                                            acceptable and no new requirements                      in the source’s PM,’’ id.; (2) the                    and require specific work practices;
                                            should be imposed, new data was                         ‘‘source’s PM control technology                      revise the current BF casthouse fugitive
                                            collected via a CAA section 114 request                 indiscriminately captures HAP metals                  20 percent opacity limit to a 5 percent
                                            to industry after re-opening the rule,                  along with other particulates,’’ id. at               opacity limit; and revise the current
                                            due to the LEAN court decision. These                   639; and (3) ‘‘PM control is the only                 standards for D/F and PAH for sinter
                                            new data necessitated technology                        means by which facilities ‘achieve’                   plants to reflect current control
                                            review updates, in addition to                          reductions in HAP metal emissions,’’ id.              performance of sinter plants for these
                                            establishing new MACT standards for                     If these criteria are satisfied and the PM            HAP. We also proposed a fenceline
                                            unregulated HAPs pursuant to the LEAN                   emission standards reflect what the best              monitoring requirement for Cr,
                                            court decision. Under the technology                    sources achieve in compliance with                    including a requirement that if a
                                            review in the 2020 RTR, the EPA found                   CAA section 112(d)(3), then ‘‘EPA is                  monitor exceeds the proposed Cr action
                                            no developments in practices,                           under no obligation to achieve a                      level, the facility would need to conduct
                                            processes, or control technologies that                 particular numerical reduction in HAP                 a root cause analysis and take corrective
                                            necessitated revision of the standards at               metal emissions.’’ Id. The EPA has                    action to lower emissions.
                                            that time. However, in response to a                    established and promulgated PM limits
                                                                                                                                                          III. What is the rationale for our final
                                            2004 administrative petition for                        as a surrogate for particulate HAP
                                                                                                                                                          decisions and amendments for the
                                            reconsideration of the 2003 NESHAP,                     metals successfully in several NESHAP
                                                                                                                                                          Integrated Iron and Steel
                                            the 2020 final rule promulgated a new                   regulations, including Ferroalloys
                                                                                                                                                          Manufacturing Facilities source
                                            MACT emissions limit for mercury                        Production (80 FR 37366, June 30,
                                                                                                                                                          category?
                                            (0.00026 lbs mercury/ton scrap metal)                   2015), Taconite Iron Ore Processing (68
                                            with two compliance options: (1)                        FR 61868), and Primary Copper                           For each issue, this section provides
                                            conduct annual compliance tests (to                     Smelting (67 FR 40478, June 12, 2002).                a description of what we proposed and
                                            demonstrate compliance with the                            The NESHAP also includes an                        what we are finalizing, a summary of
                                            MACT limit); or (2) confirm that the                    operating limit for the oil content of the            key comments and responses, and the
                                            facility obtains their auto scrap from                  sinter plant feedstock or, as an                      EPA’s rationale for the final decisions
                                            suppliers that participate in the                       alternative, an emissions limit for                   and amendments. For all comments not
                                            National Vehicle Mercury Switch                         volatile organic compounds (VOC) for                  discussed in this preamble, comment
                                            Recovery Program (NVMRP) or another                     the sinter plant windbox exhaust                      summaries and the EPA’s responses can
                                            approved mercury switch removal                         stream. The oil limit, and the alternative            be found in the document, Summary of
                                            program or that the facility only uses                  VOC limit, serve as surrogates for all                Public Comments and Responses for
                                            scrap that does not contain mercury                     organic HAP. Moreover, the NESHAP                     Proposed Amendments to the National
                                            switches. We also removed exemptions                    includes an emissions limit for mercury               Emission Standards for Hazardous Air
                                            for periods of startup, shutdown, and                   emissions from the BOPF Group, which                  Pollutants for Integrated Iron and Steel
                                            malfunction (SSM) consistent with                       is the collection of BOPF shop                        Manufacturing Facilities, which is
                                            Sierra Club v. EPA, 551 F.3d 1019 (D.C.                 steelmaking operating units and their                 available in the docket for this action.
                                            Cir. 2008); clarified that the emissions                control devices including the BOPF                    This document is also referred to as the
                                            standards apply at all times; added                     primary emission control system, BOPF                 Response to Comments (RTC) in
                                            electronic reporting of performance test                secondary control system, ladle                       subsequent sections of this preamble.
                                            results and compliance reports; and                     metallurgy units, and hot metal transfer,
                                            made minor corrections and                                                                                    A. Standards To Address Five
                                                                                                    desulfurization and slag skimming
                                            clarifications for a few other rule                                                                           Unregulated UFIP Sources for Both New
                                                                                                    units.
                                            provisions. All documents used to                                                                             and Existing Sources
                                            develop the previous 2003, 2006, and                    C. What changes did we propose for the
                                                                                                                                                          1. What did we propose for the five
                                            2020 final rules can be found in either                 Integrated Iron and Steel Manufacturing
                                                                                                                                                          previously unregulated UFIP sources?
                                            the legacy docket, A–2000–44, or the                    Facilities source category?
                                            electronic docket, EPA–HQ–OAR–2002–                                                                           a. BF Unplanned Bleeder Valve
                                                                                                       On July 31, 2023, the EPA published                Openings
                                            0083.                                                   a proposal in the Federal Register to set
                                              The NESHAP includes emissions                         standards to regulate HAP emissions                      Based on the data we received
                                            limits for PM and opacity standards—                    from five UFIP sources that were not                  through the CAA section 114 requests,
                                            both of which are surrogates for non-                   previously regulated by the NESHAP:                   the average number of unplanned
                                            mercury PM HAP metals—for furnaces                      Bell Leaks, Unplanned Bleeder Valve                   openings of the best performing five
                                            and sinter plants. To support the                       Openings, Planned Bleeder Valve                       furnaces in the source category is 5
                                            continued use of PM as a surrogate for                  Openings, Slag Pits, and Beaching. For                unplanned openings per year.
                                            certain non-mercury HAP metals, we                      sinter plants, we proposed standards for              Therefore, we proposed an operational
                                            considered the holding in National Lime                 five previously unregulated HAP: COS,                 limit of five unplanned openings per
                                            Ass’n v. EPA, 233 F.3d 625 (D.C. Cir.                   CS2, Hg, HCl, and HF. For BF stoves and               year per furnace for existing sources,
                                            2000). In considering whether the EPA                   BOPFs, we proposed standards for three                which was an estimate of the MACT
                                            may use PM, a criteria pollutant, as a                  previously unregulated pollutants: THC                floor level of performance for existing
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                                            surrogate for metal HAP, the D.C.                       (as a surrogate for non-dioxin and non-               sources. For new sources, we proposed
                                            Circuit stated that the EPA ‘‘may use a                 furan organic HAP), HCl, and D/F. And                 an operational limit of zero unplanned
                                            surrogate to regulate hazardous                         for BFs, we proposed standards for two                openings per year because the best
                                            pollutants if it is ‘reasonable’ to do so,’’            previously unregulated pollutants: THC                performing single source in our database
                                            id. at 637, establishing criteria for                   (as a surrogate for non-dioxin and non-               reported zero unplanned openings for
                                            determining whether the use of PM as                    furan organic HAP) and HCl.                           the most recent representative year.


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                                               Additionally, we proposed work                       c. BF and BOPF Slag Processing,                       alike by placing them in a single
                                            practice standards that would require                   Handling, and Storage                                 category. Commenters stated that
                                            facilities to do the following: (1) install                Based on our analyses and pursuant                 because larger BFs are able to
                                            and operate devices (e.g., stockline                    to CAA section 112(d)(2) and (3), for                 accommodate higher internal pressures
                                            monitors) to continuously measure/                      existing sources we proposed a BTF                    before the need for an unplanned
                                            monitor material levels in the furnace,                 opacity limit of 5 percent based on 6-                opening, the EPA should create two
                                            at a minimum of three locations, using                  minute averages for visible emissions                 separate subcategories of blast furnaces.
                                            alarms to inform operators of static                    from slag pits and during slag handling,              Commenters stated that in reviewing
                                            conditions that indicate a slip may                     storage, and processing. Regarding new                data for unplanned PRD openings, they
                                                                                                    sources, we proposed a MACT floor                     believed that subcategorization is
                                            occur and alert them that there is a need
                                                                                                    opacity limit of 2.5 percent based on 6-              appropriate and necessary if an action
                                            to take action to prevent the slips and
                                                                                                                                                          level or limit of any type is to be
                                            unplanned openings from occurring; (2)                  minute averages for visible emissions
                                                                                                                                                          established for the number of events. In
                                            install and operate instruments such as                 from slag pits and during slag handling,
                                                                                                                                                          particular, commenters noted that large
                                            a thermocouple and transducer on the                    storage, and processing.
                                                                                                                                                          BFs have significantly fewer unplanned
                                            furnace to monitor temperature and                      d. BF Bell Leaks                                      openings, where ‘‘Large BF’’ is defined
                                            pressure to help determine when a slip                                                                        as a BF with a working volume greater
                                                                                                       Based on our evaluation and pursuant
                                            may occur; (3) install a screen to remove                                                                     than 2,500 cubic meters (m3).
                                                                                                    to CAA section 112(d)(2) and (3), we
                                            fine particulates from raw materials to                                                                       Commenters also stated that the EPA
                                                                                                    proposed 10 percent opacity as an
                                            ensure only properly-sized raw                          action level, as described below in this              did not account for variability across
                                            materials are charged into the BF; and                  paragraph, for large bell leaks (not a                sources and asked EPA to apply an
                                            (4) develop, and submit to the EPA for                  MACT emissions limit). Along with this                upper prediction limit (UPL) if it were
                                            approval, a plan that explains how the                  action level, we also proposed that the               to finalize a limit on unplanned
                                            facility will implement these                           BF top will need to be observed                       openings. Commenters stated that a 99
                                            requirements. Additionally, we                          monthly for visible emissions (VE) with               percent UPL analysis of the data
                                            proposed that facilities would need to                  EPA Method 22, 40 CFR part 60,                        supports limits of 52 unplanned
                                            report the unplanned openings                           appendix A–7, which determines the                    openings for large BFs and 112
                                            (including the date, time, duration, and                presence or absence of a visible plume,               unplanned openings for small BFs.
                                            any corrective actions taken) in their                                                                           Response: We agree with the
                                                                                                    to identify leaks, and if VE are detected
                                                                                                                                                          commenter that larger BFs are able to
                                            semiannual compliance reports.                          out of the interbell relief valve
                                                                                                                                                          accommodate higher internal pressure
                                                                                                    (indicating leaks from the large bell), we
                                            b. BF Planned Bleeder Valve Openings                                                                          and that subcategorization based on BF
                                                                                                    proposed that the facility would then                 size is appropriate. In this final rule, we
                                              Based on our evaluation of available                  need to perform EPA Method 9, 40 CFR                  define ‘‘large BF’’ as a BF with a
                                            information and pursuant to CAA                         part 60, appendix A–4, tests which                    working volume greater than 2,500 m3
                                            section 112(d)(2) and (3), for existing                 determines the opacity (i.e., degree to               and are establishing separate limits on
                                            sources we proposed a MACT floor limit                  which a plume obscures the                            unplanned openings for large and small
                                            of 8 percent opacity for any 6-minute                   background), monthly and if opacity is                BF.
                                                                                                    greater than 10 percent (based on a 3-                   EPA also agrees with commenters that
                                            averaging period for the BF planned
                                                                                                    minute average), the large bell seals will            it is important to account for variability
                                            bleeder valve openings. We did not
                                                                                                    need to be repaired or replaced within                in the incidence of unplanned openings.
                                            propose the BTF option of 5 percent                     4 months. For the small bell, we
                                            opacity for existing sources because we                                                                       Accordingly, in the final rule the EPA
                                                                                                    proposed that facilities will need to                 has decided to base the limit on the
                                            determined that 5 percent opacity may                   replace or repair seals prior to a metal
                                            not be feasible for some sources on a                                                                         highest number of unplanned openings
                                                                                                    throughput limit, specified by the                    reported within the top five sources to
                                            consistent basis. For new sources, we                   facility, that has been proven and                    ensure that we adequately account for
                                            proposed an opacity of 0 percent                        documented to produce no opacity from                 variability, rather than the proposed
                                            because based on the available data, the                the small bells.                                      approach of basing the limit on the
                                            best performing single source had                                                                             average number of unplanned openings
                                            opacity of 0 percent during the planned                 e. Beaching of Iron From BFs
                                                                                                                                                          within the top five sources.
                                            opening. We expect that new sources                        Pursuant to CAA section 112(d)(2)                     EPA disagrees with commenters’
                                            will be able to configure their furnace                 and (3) and CAA section 112(h), we                    suggestion that it should apply a 99
                                            design and operations similarly to the                  proposed a MACT standard that would                   percent UPL to determine the limit on
                                            best performing single source which, in                 require facilities to: (1) have full or               unplanned openings. The EPA
                                            combination with utilizing the                          partial enclosures for the beaching                   commonly uses the 99 percent UPL to
                                            suggested work practices described in                   process or use CO2 to suppress fumes;                 calculate numerical emissions limits
                                            the document Unmeasurable Fugitive                      and (2) minimize the height, slope, and               based on stack test data (e.g., grams of
                                            and Intermittent Particulate Emissions                  speed of beaching.                                    HAP per cubic meter of stack exhaust
                                            and Cost Impacts for Integrated Iron                    2. What comments did we receive on                    gases). The UPL method is not
                                            and Steel Facilities under 40 CFR part                  the proposed standards and, what are                  appropriate to evaluate a count of
                                            63, subpart FFFFF, should allow them                    our responses?                                        unplanned openings because these are
                                            to achieve an opacity of 0 percent. We                                                                        discrete events and are therefore not
                                                                                                    a. BF Unplanned Bleeder Valve                         analogous to emissions data or test runs.
                                            did not propose any work practices
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                                                                                                    Openings                                              In the context of this final rule,
                                            under CAA section 112(h) for the BF
                                            planned bleeder valve openings;                            Comment: Commenters stated that in                 application of the UPL would therefore
                                                                                                    developing the proposed limit on the                  not appropriately reflect variability and
                                            facilities will have the flexibility to
                                                                                                    number of unplanned pressure release                  would lead to an exceedingly high limit
                                            choose an appropriate approach to meet
                                                                                                    device (PRD) openings that could occur                on unplanned openings that does not
                                            the opacity limit.                                      within a year, the EPA treated all BFs                reflect the performance achieved at top-


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                                            performing sources. As noted above, the                 propose any specific work practices for               might not be sufficient to consistently
                                            EPA has instead accounted for                           the BF planned bleeder valve openings                 maintain opacity below 5 percent.
                                            variability in this final rule by basing                and we are maintaining the decision to                  In the proposed rule FR notice, we
                                            the limit on the highest number of                      not require any specific work practices               also described a potential MACT floor
                                            unplanned openings observed among                       for the final rule. Facilities will have the          opacity limit of 9 percent for existing
                                            the five top-performing sources.                        flexibility to choose an appropriate                  sources which was based on the straight
                                                                                                    approach to meet the opacity limit.                   average of the top five performing
                                            b. BF Planned Bleeder Valve Openings                       We estimate that this standard will                facilities. Based on the comments
                                               Comment: Commenters agreed that                      result in about 0.41 tpy reduction in                 submitted, the EPA is finalizing an
                                            these opacity limits will result in HAP                 HAP metal emissions. The estimated                    opacity limit of 10 percent based on a
                                            reductions. Accordingly, commenters                     cost is $54,600/yr for the entire category            MACT floor analysis for existing
                                            supported these revisions and additions                 and $6,800/yr per facility. The                       sources. This final limit is based on the
                                            and encouraged the EPA to not weaken                    estimated cost effectiveness is $134,000              average opacity of 9 percent reported by
                                            any of the proposed limits.                             per ton of HAP metals.                                the five top performing facilities, but
                                               Response: EPA appreciates the                                                                              rounding up slightly to 10 percent to
                                            support and agrees that these opacity                   c. BF and BOPF Slag Processing,
                                                                                                                                                          account for variability. The EPA has
                                            limits for planned bleeder valve                        Handling, and Storage
                                                                                                                                                          historically used the UPL approach to
                                            openings will result in HAP reductions.                    Comment: Commenters stated that the                develop MACT limits for stack
                                               Comment: EPA should not adopt the                    proposed 5 percent opacity limit for slag             emissions of individual pollutants, but
                                            proposed 8% opacity limit and weekly                    handling operations should not be                     has not historically determined opacity
                                            Method 9 testing for planned openings                   adopted. They contend that it is                      limits using a UPL approach. The UPL
                                            in addition to the new work practice                    virtually impossible to enclose the                   calculation introduces a predictive
                                            standards. PRD openings by operators                    extremely hot slag material or to                     element to the statistics in order to
                                            are routinely necessary and appropriate                 universally apply water at all times to               account for variability. However, unlike
                                            for proper BF operation. Emissions from                 help suppress emissions because of the                typical emissions testing, EPA Method 9
                                            planned openings are exceedingly low,                   volatile nature of the material and the               tests frequently result in values of zero,
                                            ranging from 1.6 tpy to 0.3 tpy, with                   potential for a life-threatening                      which cannot be used in the UPL
                                            reductions projected between 0.4 and                    hazardous explosion when the water                    calculation so this approach for
                                            0.08 tpy across the entire industry. The                violently expands in the form of steam.               accounting for variability was not used.
                                            work practice standards are expensive,                  Commenters stated that the EPA had                    The EPA determined that rounding the
                                            with estimated cost-effectiveness based                 ignored these important safety concerns               opacity from 9 percent to 10 percent
                                            upon the proposed rule having rates                     in proposing the 5 percent opacity limit,             sufficiently accounts for variability in
                                            ranging from $134,000/ton to $672,000/                  and that the control measures the EPA                 this process. Therefore, in this final rule
                                            ton. No regulation of these small                       had identified to meet this limit could               we are promulgating a 10 percent
                                            contributors should occur. If EPA                       not be reasonably utilized. Commenters                opacity limit (based on six-minute
                                            nonetheless moves forward, there                        also argued that even if EPA’s suggested              averages) for slag processing, handling,
                                            should be an action level at 15% (based                 control measures were applied, a UPL                  and storage. Because this 10 percent
                                            on a more robust UPL analysis).                         analysis would result in an opacity limit             opacity limit has been achieved in
                                               Response: Based on our evaluation of                 of 20 percent, far exceeding the                      practice by top performing facilities, we
                                            public comments and available                           proposed 5 percent level. Commenters                  expect that all facilities will be able to
                                            information, pursuant to CAA section                    noted that the EPA had improperly                     achieve this 10 percent opacity limit by
                                            112(d)(2) and (3) and the LEAN court                    failed to account for variability in the              application of some or all of the work
                                            decision, for existing sources we are                   performance of sources by declining to                practices described above and in the
                                            promulgating a MACT Floor limit of 8                    apply a UPL or other statistical analysis.            proposed rule Federal Register notice
                                            percent opacity for any 6-minute                           Response: After considering these                  (88 FR 49402). Other comments and
                                            averaging period for the BF planned                     comments, we agree that a limit of 5                  responses on this issue are provided in
                                            bleeder valve openings. The MACT floor                  percent opacity could result in higher                the RTC.
                                            is the least stringent standard allowed                 cost impacts than we estimated at
                                            by section 112 of the Clean Air Act. For                proposal for some facilities. As                      d. BF Bell Leaks
                                            new sources, we are promulgating an                     described in the proposed rule Federal                  Comment: Commenters expressed
                                            opacity of 0 percent because based on                   Register notice published on July 31,                 concerns that the proposed triggers for
                                            the available data, the best performing                 2023 (88 FR 49402), the proposed 5                    action for large bells are too low and
                                            single source had opacity of 0 percent                  percent opacity limit was a beyond-the-               that the repair and replacement time
                                            during the planned opening, which we                    floor limit based on the EPA’s                        should consider lead time and
                                            consider the MACT Floor level for new                   understanding at that time that                       operational concerns. Commenters
                                            sources pursuant to CAA section 112.                    emissions could be cost effectively                   suggested that with this in mind, the
                                            As we explained in the proposed rule,                   minimized from slag pits with the                     EPA could establish a 20 percent
                                            we determined based on evaluation of                    application of water spray or fogging                 opacity action level (6-minute average)
                                            available information that emissions can                and/or other work practices such as                   with quarterly EPA Method 9
                                            be minimized from bleeder valve                         installing wind screens, dust                         observation requirements. Under this
                                            planned openings cost effectively by                    suppression misters, and maintaining a                approach, if a facility observes opacity
                                            implementing various actions before the                 high moisture content of the slag during              in excess of 20 percent, the facility
                                            valves are opened such as: (1) tapping                  handling, storage, and processing.                    should be required to investigate, make
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                                            as much liquid (iron and slag) out of the               However, at proposal we did not                       operational changes, and conduct a
                                            furnace as possible; (2) removing fuel                  account for variability and certain other             repair, followed by repeat testing using
                                            and/or stopping fuel injection into the                 factors such as weather conditions and                EPA Method 9 to confirm the efficacy of
                                            furnace; and (3) lowering bottom                        possible safety issues. Although we still             the repair. If repairs are not successful,
                                            pressure. However, as explained in the                  conclude that these measures can help                 only then would replacement
                                            proposed rule preamble, we did not                      minimize emissions, these measures                    obligations be triggered. Other


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                                            commenters stated that if the EPA                       enclosures to allow for additional                    under 40 CFR part 63, subpart FFFFF,
                                            moves forward with work practice                        information and accountability for these              which is available in the docket for this
                                            standards, the EPA should consider an                   sources.                                              action.
                                            alternative under which a facility would                   Response: EPA appreciates the                        After considering public comments
                                            need to initiate operational or other                   support for the beaching requirements                 and available information, pursuant to
                                            corrective actions within five business                 in the proposed rule.                                 CAA sections 112(d)(2) and (3) and
                                            days if an EPA Method 9 test identifies                    Comment: Industry commenters                       112(h) and the LEAN court decision, we
                                            opacity of 20 percent or more. If the                   stated that the proposed work practice                are promulgating the same MACT Floor
                                            facility does not reduce opacity to less                standards to address already low                      standard as proposed.
                                            than 20 percent with those actions, the                 emissions from beaching events, which
                                            facility would have another five                        the industry consistently works to                    3. What are the final MACT standards
                                            business days to initiate further                       minimize, would not provide                           and how will compliance be
                                            operational or other corrective actions to              meaningful reductions and would be                    demonstrated?
                                            reduce opacity to less than 20 percent.                 extremely costly. Industry commenters                 a. BF Unplanned Bleeder Valve
                                            Only if the second attempt does not                     estimated about 4 pounds per year of                  Openings
                                            result in opacity of 20 percent or less                 reduction from these proposed
                                                                                                                                                             In certain instances, as provided in
                                            would the test result be deemed a                       measures, lower than the estimates EPA
                                                                                                                                                          CAA section 112(h), if it is the judgment
                                            deviation requiring reporting and                       provided in the final rule. Commenters
                                                                                                                                                          of the Administrator that it is not
                                            corrective actions, such as moving to the               also pointed out that EPA’s estimated
                                                                                                    cost per ton of removal would be $15.8                feasible to prescribe or enforce an
                                            repair step or, if necessary, replacement                                                                     emission standard under CAA section
                                            of the large bell.                                      million/ton and argued that this amount
                                                                                                    is unreasonable notwithstanding EPA’s                 112(d)(2) and (3), the EPA may set work
                                               Response: We agree with the
                                                                                                    explanation that it must adhere to the                practice standards under CAA section
                                            commenter who suggested the two-step
                                                                                                    floor provisions of the statute.                      112(h) in lieu of numerical emission
                                            approach for large bells is appropriate as
                                                                                                    Commenters stated that if EPA were to                 standards. For BF unplanned bleeder
                                            well as the suggestion of 20% opacity
                                                                                                    use the more accurate emissions and                   valve openings, the Administrator has
                                            instead of 10% opacity as a trigger. As
                                            discussed by the commenter, the                         cost information provided by industry,                determined that since there is no direct
                                            replacement of bells is costly and there                the cost-effectiveness rate estimate                  measurement of emissions, we are
                                            are numerous more cost-effective repair                 based upon the proposed rule would be                 finalizing a work practice standard. We
                                            options available that can be achieved                  multiple times higher at $311 million/                are finalizing an operational limit for
                                            in a shorter time period to avoid full                  ton. Commenters also argued that EPA                  two subcategories of blast furnaces:
                                            repair and replacement. This would                      could reasonably interpret Section                    large furnaces with a working volume of
                                            help keep the bell repairs on a more                    112(d) to avoid this result.                          equal to or greater than 2,500 m3; and
                                            organized schedule. Therefore, we                          Response: As EPA explained in the                  small furnaces with a working volume
                                            decided to finalize a 20 percent opacity                proposal preamble, as mandated by the                 of less than 2,500 m3. This is to account
                                            action level (instead of the proposed 10                LEAN court decision and CAA sections                  for variability in unplanned opening
                                            percent opacity action level) and                       112(d)(2), 112(d)(3), and 112(h), we                  occurrences between furnace size due to
                                            provide two five-business day periods to                proposed a MACT floor standard (which                 design elements that allow higher
                                            investigate the opacity trigger, as                     is the least stringent standard allowed               operating pressure near the valve
                                            suggested by the commenter.                             by section 112 of the Clean Air Act) that             openings, which leads to less openings
                                            Specifically, we changed the                            would require facilities to: (1) have full            per year for large furnaces. For the large
                                            requirement to the following: if EPA                    or partial enclosures for the beaching                blast furnaces, we are finalizing an
                                            Method 9 identifies opacity greater than                process or use CO2 to suppress fumes;                 operational limit of four unplanned
                                            20 percent, the facility shall initiate                 and (2) minimize the height, slope, and               openings per rolling year per furnace.
                                            corrective actions within five business                 speed of beaching. We expect this will                For small blast furnaces, we are
                                            days. If the first attempt to correct fails             result in a small amount of unquantified              finalizing an operational limit of 15
                                            and EPA Method 9 again identifies that                  emission reductions since baseline                    unplanned openings per rolling year per
                                            opacity is not reduced to 20 percent or                 emissions are already low (less than 1                furnace. Both are based on a qualitative
                                            lower, the facility would have another                  tpy of HAP) and because most facilities               approach of using the highest number of
                                            five business days to initiate further                  are already following some or all of                  unplanned openings from the top five
                                            corrective actions to reduce opacity to                 these work practices. Regarding costs,                performing furnaces (top four for large
                                            20 percent or lower. Only if the second                 when EPA determines the MACT floor                    furnaces as there are only four operating
                                            attempt does not result in an opacity of                level of control, per the section 112 of              large furnaces). For most MACT floor
                                            20 percent or less would it become a                    the CAA, the EPA is obligated to                      standards in NESHAP rules, we
                                            deviation, requiring reporting and                      determine the MACT floor level                        typically have actual emissions test data
                                            corrective actions that we included in                  regardless of costs. It is only the                   for each of the top five sources. To
                                            the proposed rule, such as moving to the                potential beyond-the-floor standards for              calculate the MACT floor limit we use
                                            repair step or, if unsuccessful,                        which costs become an important                       all the data (all the runs) from all 5
                                            replacement of the large bell.                          consideration. Nevertheless, as we                    sources to calculate the 99th UPL to
                                                                                                    mentioned in the proposal preamble,                   account for variability. And, we
                                            e. Beaching of Iron From BF’s                           the estimated costs are only $55,000 per              conclude that this 99th value (which is
                                               Comment: Commenters supported the                    year for the entire category and an                   higher than the true average) represents
                                            proposal to require facilities to: (1) have             average annual cost of $6,800 per                     the average performance of the top 5
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                                            full or partial enclosures for the                      facility. More information regarding the              sources with an adjustment to account
                                            beaching process or use CO2 to suppress                 standards for unregulated UFIP sources                for variability.
                                            fumes; and (2) minimize the height,                     is available in the following document:                  With unplanned openings, we do not
                                            slope, and speed of beaching.                           Unmeasurable Fugitive and Intermittent                have a UPL type tool. So, as an
                                            Commenters supported the addition of                    Particulate Emissions and Cost Impacts                alternative to a UPL, we considered all
                                            monitoring of vents from the partial                    for Integrated Iron and Steel Facilities              the data from the top five performers,


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                                            and to ensure we account for variability                processing, handling, and storage, and                e. Beaching of Iron From BFs
                                            among those top five performers, in this                slag pits. Regarding new sources, we are                 As provided in CAA section 112(h), it
                                            particular situation, we conclude that                  finalizing an opacity limit of 3 percent              is the judgment of the Administrator
                                            using the highest value (i.e., highest                  based on 6-minute averages for visible                that it is not feasible to prescribe or
                                            number of unplanned openings) from                      emissions from slag pits, and during                  enforce an emission standard for
                                            any one source within the top five                      slag handling, storage, and processing.               emissions from the beaching process,
                                            reflects our best estimate of an                                                                              therefore the EPA is finalizing the
                                            appropriate limit that would reflect                    d. BF Bell Leaks
                                                                                                                                                          proposed work practice standards in
                                            performance of the top five sources with                                                                      lieu of numerical emission standards.
                                            an adjustment to ensure we adequately                      For bell leaks, we are finalizing a 20
                                                                                                    percent opacity action level for large                This work practice standard requires
                                            account for the variability among those                                                                       facilities to: (1) have full or partial
                                            top five sources.                                       bell leaks as described below for new
                                                                                                    and existing large bells. This is not a               enclosures for the beaching process or
                                               This approach is appropriate because                                                                       use CO2 to suppress fumes; and (2)
                                            it accounts for variability among the top               numerical MACT emissions standard;
                                                                                                    because the Administrator has                         minimize the height, slope, and speed of
                                            five blast furnaces. For new sources, we                                                                      beaching. This standard applies to both
                                            are finalizing our proposed operational                 determined that it is not feasible to
                                                                                                                                                          existing and new sources.
                                            limit of zero unplanned openings per                    prescribe or enforce an emission
                                            rolling year for both large and small                   standard in this instance, pursuant to                B. Reconsideration of BF Casthouse and
                                            furnaces because the best performing                    CAA section 112(h), the EPA is setting                BOPF Shop Standards for Currently
                                            single source large and small blast                     work practice standards in lieu of                    Regulated Fugitive Sources Under CAA
                                            furnace in our database reported zero                   numerical emission standards. We are                  Section 112(d)(6) Technology Review
                                            unplanned openings for the most recent                  also finalizing that the BF top must be               1. What did we propose for the BF
                                            typical year.                                           observed monthly for visible emissions                casthouse and BOPF shop?
                                               Additionally, we are finalizing the                  (VE) with EPA Method 22, 40 CFR part
                                            work practice standards proposed for                                                                          a. BF Casthouse
                                                                                                    60, appendix A–7, which determines
                                            both furnace subcategories that require                 the presence or absence of a visible                     We proposed a 5 percent opacity limit
                                            facilities to do the following: (1) install             plume, to identify leaks from the                     based on 6-minute averages as an
                                            and operate devices (e.g., stockline                    interbell relief valve (indicating leaks              update to the CAA section 112(d)(6)
                                            monitors) to continuously measure/                      from the large bell). If VE are detected              technology review and proposed that
                                            monitor material levels in the furnace,                                                                       facilities will need to measure opacity
                                                                                                    out of the interbell relief valve
                                            at a minimum of three locations, using                                                                        during the tapping operations (at least
                                                                                                    (indicating leaks from the large bell), the
                                            alarms to inform operators of static                                                                          two times per month). We did not
                                                                                                    facility must perform EPA Method 9, 40
                                            conditions that indicate a slip may                                                                           propose specific work practices for the
                                            occur, and alert them that there is a                   CFR part 60, appendix A–4, tests which
                                                                                                                                                          BF casthouse, except that we proposed
                                            need to take action to prevent the slips                determines the opacity (i.e., degree to
                                                                                                                                                          that the facilities will need to keep all
                                            and unplanned openings from                             which a plume obscures the
                                                                                                                                                          openings, except roof monitors, closed
                                            occurring; (2) install and operate                      background) monthly, and if opacity is                during tapping and material transfer
                                            instruments such as a thermocouple and                  greater than 20 percent based on an                   events (the only openings allowed
                                            transducer on the furnace to monitor                    average of three instantaneous and                    during these events are those that were
                                            temperature and pressure to help                        consecutive interbell relief valve                    present in the original design of the
                                            determine when a slip may occur; (3)                    openings, the facility must initiate                  casthouse).
                                            install a screen to remove fine                         operational or other corrective actions
                                                                                                    within five business days. After those                b. BOPF Shop
                                            particulates from raw materials to
                                            ensure only properly-sized raw                          five business days, the facility must                    Based on our review and analyses of
                                            materials are charged into the BF; and                  perform EPA Method 9 tests again and,                 the CAA section 114 information
                                            (4) develop, and submit to the EPA for                  if opacity is greater than 20 percent, the            request responses we received in 2022
                                            approval, a plan that explains how the                  facility will have another five business              and 2023, and further review of the data
                                            facility will implement these                           days to initiate further operational or               the EPA assembled to support the 2020
                                            requirements. Additionally, facilities                  corrective actions to reduce opacity to               RTR, we proposed that a standard
                                            shall report the unplanned openings                     20 percent or lower. After five                       composed of a 5 percent opacity limit
                                            (including the date, time, duration, and                additional business days (10 business                 with several specific work practices
                                            any corrective actions taken) in their                  days in total), the facility must perform             would be feasible and cost-effective for
                                            semiannual compliance reports.                          EPA Method 9 tests again and, if opacity              the BOPF shop. For example, based on
                                                                                                    is still greater than 20 percent, the large           the data we received, in the proposal we
                                            b. BF Planned Bleeder Valve Openings                                                                          found that the maximum 3-minute
                                                                                                    bell seals must be repaired or replaced
                                               We are finalizing what we proposed                                                                         opacity readings for the BOPF shops at
                                                                                                    within four months. For the new and
                                            for planned bleeder valve openings: a                                                                         four facilities were less than 5 percent.
                                                                                                    existing small bells, we are finalizing
                                            MACT floor limit of 8 percent opacity                                                                         Furthermore, the use of work practices
                                                                                                    what we proposed, a requirement that                  (described below) by the best
                                            based on 6-minute averages. For new
                                                                                                    facilities shall replace or repair seals              performing facilities in the industry led
                                            sources, we are finalizing an opacity of
                                                                                                    prior to a metal throughput limit,                    us to conclude for the proposal that
                                            0 percent. Facilities will have the
                                            flexibility to choose an appropriate                    specified by the facility, that has been              these work practices were feasible and,
                                            approach to meet these opacity limits.                  proven and documented to produce no                   accordingly, we proposed a 5 percent
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                                                                                                    opacity from the small bells.                         opacity limit based on 3-minute average
                                            c. BF and BOPF Slag Processing,                         Additionally, the facility must conduct               and work practices.
                                            Handling, and Storage                                   monthly visible emissions testing for 15                 Specifically, we proposed that
                                               As discussed above, we are finalizing                minutes and amend the metal                           facilities will need to do the following:
                                            an opacity limit of 10 percent based on                 throughput limit in their operation and               (1) keep all openings, except roof
                                            6-minute averages for BF and BOPF slag                  maintenance (O&M) plan as needed.                     monitors (vents) and other openings that


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                                            are part of the designed ventilation of                 technical basis for suggesting that some              above 20 percent. The EPA has
                                            the facility, closed during tapping and                 statistical methods should not be                     additionally continued to receive
                                            material transfer events (the only                      applied to this data set. When the EPA                opacity data and analyses since the
                                            openings that would be allowed during                   set the 20 percent opacity limits in                  close of the public comment period on
                                            these events are the roof vents and other               2003, the preamble included the EPA’s                 this rulemaking.
                                            openings or vents that are part of the                  statistical basis supporting that the                    The EPA was not able to adequately
                                            designed ventilation of the facility) to                limits were achievable. Commenters                    analyze all the available data before the
                                            allow for more representative opacity                   also stated the EPA should also include               deadline for this final rule ordered by
                                            observations from a single opening; (2)                 a one-time alternative limit per furnace              the court in California Communities
                                            have operators conduct regular                          cycle similar to the new source                       Against Toxics. Also, for most of the
                                            inspections of BOPF shop structure for                  standards in the 2003 NESHAP.                         opacity tests that had maximum opacity
                                            unintended openings and leaks; (3)                         Response: The EPA disagrees with the               readings above 5 and 10 percent, the
                                            optimize positioning of hot metal ladles                specific approach of using UPL                        EPA does not have any information that
                                            with respect to hood face and furnace                   calculations to develop opacity limits in             explains why the opacity readings were
                                            mouth; (4) monitor opacity twice per                    the same manner that the UPL is used                  higher than 5 percent on those
                                            month from all openings, or from the                    to calculate emissions limits. The EPA                particular days. In most cases, the EPA
                                            one opening known to have the highest                   has historically used the UPL approach                is unable to determine the cause of the
                                            opacity, for a full steel cycle, which                  to develop MACT limits for stack                      higher values based on the data and
                                            must include a tapping event; and (5)                   emissions of individual pollutants but                information currently available. Until
                                            develop and operate according to an                     has not historically determined opacity               further revision, the opacity limits in
                                            Operating Plan to minimize fugitives                    limits using a UPL approach. The UPL                  the NESHAP for existing BOPF Shops
                                            and detect openings and leaks. We                       calculation introduces a predictive                   and existing BF casthouses will remain
                                            proposed that the BOPF Shop Operating                   element to the statistics in order to                 at 20 percent based on 3-minute
                                            Plan shall include:                                     account for variability. However, as                  averages for the BOPF Shop and 6-
                                               • An explanation regarding how the                   noted by the commenter, unlike typical                minute averages for the BF casthouse.
                                            facility will address and implement the                 emissions testing, EPA Method 9 may                      The opacity data and further
                                            four specific work practices listed                     result in values of zero, which cannot be             explanation of the opacity data and
                                            above;                                                  used in the UPL calculation. While the                related information can be found in the
                                               • A maximum hot iron pour/charge                     EPA has used the UPL approach for                     technical memo titled: Unmeasured
                                            rate (pounds/second) for the first 20                   floor determinations when setting                     Fugitive and Intermittent Particulate
                                            seconds of hot metal charge (i.e., the                  MACT emissions limits, the proposed                   Emissions and Cost Impacts for
                                            process of adding hot iron from the BF                  changes to the BOPF Shop and BF                       Integrated Iron and Steel Facilities
                                            into the basic oxygen process furnace);                 casthouse opacity standards were based                under 40 CFR part 63, subpart FFFFF,
                                               • A description of operational                       on a proposed updating of the CAA                     which is in docket for this final rule.
                                            conditions of the furnace and secondary                 section 112(d)(6) technology review.                  b. BOPF Shop
                                            emission capture system that must be                    Additionally, in the case of opacity
                                                                                                    measured according to EPA Method 9,                      Comment: Some commenters
                                            met prior to hot metal charge, including:                                                                     conducted their own assessment of what
                                               • A minimum flowrate of the                          the data EPA reviewed to develop the
                                                                                                    proposed standards were the maximum                   measures would be needed to comply
                                            secondary emission capture system                                                                             with the proposed opacity limit and
                                            during hot metal charge;                                6-minute (or 3-minute as applicable)
                                                                                                    averages evaluated over the entire test               work practice standards, which is of
                                               • A minimum number of times, but at                                                                        course facility-specific, because every
                                            least once, the furnace should be rocked                period. Likewise, compliance
                                                                                                    determinations are also based on the                  BOPF shop is unique. Based on their
                                            between scrap charge and hot metal                                                                            assessments, these commenters asserted
                                            charge;                                                 same approach. Utilizing the maximum
                                                                                                    short-term average during each test                   that each BOPF shop—after applying all
                                               • A maximum furnace tilt angle                                                                             ‘‘required’’ work practice standards and
                                            during hot metal charging: and;                         period to determine an appropriate
                                                                                                    standard, and to determine compliance,                even other work practices that the EPA
                                               • An outline of procedures to attempt                                                                      suggested—would likely need to install
                                                                                                    inherently accounts for some variation
                                            to reduce slopping.                                                                                           full-shop controls to meet a 5 percent
                                                                                                    in the data used to set the standard.
                                            2. What comments did we receive on                         However, with regard to the                        opacity limit at all times. The
                                            the proposed revised BF casthouse and                   comments on variability, we                           commenters represented that the cost to
                                            BOPF shop standards, and what are our                   acknowledge that there are many                       apply this type of control would be high
                                            responses?                                              opacity readings that occurred over the               and would involve the addition of at
                                                                                                    past 2 to 6 years at the Integrated Iron              least one large fabric filter device to
                                            a. BF Casthouse                                                                                               properly capture fugitive emissions and
                                                                                                    and Steel (II&S) manufacturing facilities
                                              Comment: Commenters noted that the                    that show that there is a substantial                 allow for proper ventilation for the
                                            EPA did not apply UPL calculations to                   amount of variability in opacity                      building. The commenters asked EPA to
                                            the opacity data, even though the EPA’s                 measurements across time and across                   take into account the significant changes
                                            practice has been to do so for other                    furnaces. For example, many opacity                   BOPF shops would have to make to
                                            numerical standards established on                      tests for BOPF and BF furnace cycles                  meet a 5 percent opacity standard that
                                            limited data sets. Commenters claim                     that were completed over these 2–6                    even the best performers cannot
                                            that the EPA’s proposed opacity limit of                years reported maximum 3-minute and                   currently achieve on a regular basis.
                                            5 percent, without any adjustment for                   6-minute opacity readings below 5                     They suggested that because of the
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                                            variability, lacked justification or                    percent for a substantial amount of the               exorbitantly and unreasonably
                                            explanation and is therefore arbitrary                  cycles. In fact, for many furnace cycles              expensive measures that would need to
                                            and capricious. These commenters                        the maximum opacity was 0 percent. On                 be undertaken by this industry sector,
                                            argued that, when utilizing limited                     the other hand, the data show that                    and the significant possibility that even
                                            datasets, it is appropriate for the EPA to              during some BOPF or BF cycles, opacity                facilities installing such measures
                                            account for variability, and there is no                is above 5 percent and sometimes well                 would not be able to consistently meet


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                                            the 5 percent opacity standard, the EPA                 This accounts for 39% of the estimated                normal operation. Specifically, the EPA
                                            should not move forward with the                        emission reductions from UFIP sources                 should follow the form of the current
                                            proposed opacity limit, at least until the              with this promulgation.                               ‘‘new source’’ BOPF shop MACT
                                            Agency undertakes a robust engineering                     Comment: One commenter stated that                 opacity standard: maintain the opacity
                                            analysis to determine the technical and                 the EPA’s reliance on the limited 2022                (for any set of 6-minute averages) of
                                            economic feasibility of controls that                   CAA section 114 testing results to                    secondary emissions that exit any
                                            would be needed for BOPF shops to                       determine that a 5 percent opacity                    opening in the BOPF shop or other
                                            meet this lower standard.                               standard would be achievable by BOPF                  building housing a BOPF or shop
                                               Response: After considering public                   shops for relatively modest capital and               operation at or below 15 percent, except
                                            comments, the EPA now recognizes                        annual operating costs was                            that 6-minute averages greater than 15
                                            some operations may need to make                        inappropriate and has led the EPA to                  percent but no more than 20 percent
                                            more significant changes than we                        propose a standard that is technically                may occur twice per steel production
                                            anticipated at proposal to meet the 5                   and economically infeasible to meet. In               cycle. A steel production cycle is
                                            percent opacity standard at all times.                  an appendix to their comments, the                    defined in 40 CFR 63.7822.
                                            We acknowledge that there are many                      commenters put forward alternative                       Response: As stated in previous
                                            opacity readings that occurred over the                 emission factors and cost estimates that,             responses to comments in this
                                            past 2 to 6 years that indicate that there              in their view, indicate the proposed                  preamble, the EPA is not finalizing any
                                            is a substantial amount of variability                  standards would cost $88 million per                  changes to the opacity limits for the
                                            across time and across furnaces. For                    ton to reduce just 2.6 tpy of HAP                     BOPF Shop in this final action. The
                                            example, many opacity tests for BOPF                    emissions industrywide. This                          opacity limit for existing BOPF Shops
                                            cycles (i.e., steel cycles) that were                   conclusion is very different from the                 will remain at 20 percent based on 3-
                                            completed over these 2–6 years reported                 EPA’s own analysis of its proposed rule,              minute averages. See previous responses
                                            maximum 3-minute opacity readings                       which was based on an assumption that                 to comments in this preamble for further
                                            below 5 percent for a substantial                       no capital expenditures would be                      explanation.
                                            amount of the cycles. On the other                      needed, and that for less than $500,000
                                            hand, the data show that during some                    per year industry-wide, all 11 existing               3. What are the revised standards for the
                                            BOPF cycles, opacity is above 5 percent                 BOPF shops should be able to meet a 5                 BF casthouse and BOPF shop standards
                                            and sometimes above 20 percent.                         percent opacity standard and comply                   and how will compliance be
                                               The EPA was not able to adequately                   with the numerous proposed work                       demonstrated?
                                            analyze all the available data before the               practice standards. Commenters also                   a. BF Casthouse
                                            court-ordered deadline for this final                   said that BOPF shops would not be able
                                            rule. Also, for those tests that had                    to meet a 5 percent opacity standard                    As stated in previous responses to
                                            maximum opacity readings above 10 or                    based on 3-minute averages from every                 comments in this preamble, the EPA is
                                            20 percent, in most cases, the EPA does                 opening at all times without significant              not finalizing any changes to the opacity
                                            not have any information that explains                  capital expenditures, and remain                      limits for the BF casthouse in this final
                                            why the opacity readings were high on                   concerned that even with this level of                action. Facilities will need to comply
                                            those particular days. In most cases, the               spending, there may be times when the                 with the 20 percent opacity limits that
                                            EPA is unable to determine the cause of                 shops would not be able to meet that                  are already in the NESHAP. However,
                                            the higher values based on the data and                 standard. Commenters stated that until                the EPA is requiring more frequent
                                            information we have. Therefore, the                     the EPA can demonstrate through a                     Method 9 tests as explained elsewhere
                                            EPA is not finalizing any changes to the                robust engineering study that the                     in this preamble. See previous
                                            opacity limits for the BOPF Shop in this                proposed opacity limit would be                       responses to comments in this preamble
                                            final action. Instead, the EPA intends to               achievable at a certain spending level                for further explanation.
                                            continue reviewing and analyzing the                    and with certain technology in place                  b. BOPF Shop
                                            opacity data from both the BF casthouse                 that is reasonable and cost-effective, the
                                            and the BOPF shop that we have and                      EPA should not move forward to                           For the reasons discussed in the
                                            also collect additional data in the near                finalize the proposed standards.                      responses to comments above, we are
                                            future so that the EPA can gain a better                   Response: As stated in previous                    finalizing work practice standards for
                                            understanding of the achievability of                   responses to comments in this                         the BOPF. Specifically, in this final rule,
                                            various opacity levels and the reasons                  preamble, the EPA is not finalizing any               we are requiring facilities to do the
                                            why opacity levels are sometimes                        changes to the opacity limits for the                 following: (1) keep all openings, except
                                            elevated. After EPA completes this                      BOPF Shop in this final action. See                   roof monitors (vents) and other
                                            additional data gathering and analyses,                 previous responses to comments in this                openings that are part of the designed
                                            the EPA intends to consider potential                   preamble for further explanation.                     ventilation of the facility, closed during
                                            revisions to the opacity limits in a                       Comment: Commenters stated that                    tapping and material transfer events (the
                                            separate future action. Until further                   because the proposal establishing an                  only openings allowed during these
                                            revision, the opacity limit in the                      absolute 5 percent limit did not take                 events are the roof vents and other
                                            NESHAP for BOPF Shops will remain at                    into account the range of operations or               openings or vents that are part of the
                                            20 percent based on 3-minute averages,                  impacts resulting in variability, it is               designed ventilation of the facility) to
                                            and the opacity limit in the NESHAP for                 clear that some periods of operation                  allow for more representative opacity
                                            BF casthouses will remain at 20 percent                 above 5 percent opacity will occur even               observations from a single opening; (2)
                                            based on 6-minute averages, consistent                  with proper operation. They believe that              have operators conduct regular
                                            with the current regulation.                            any proposal that includes an opacity                 inspections of BOPF shop structure for
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                                               The EPA is still finalizing opacity                  standard lower than 20 percent must                   unintended openings and leaks; (3)
                                            testing requirements for BF casthouse                   provide that compliance is achieved                   optimize positioning of hot metal ladles
                                            and BOPF shop fugitives as well as the                  provided there are no more than a set                 with respect to hood face and furnace
                                            proposed work practice standards for                    number of excursions above the revised                mouth; (4) monitor opacity twice per
                                            BOPF shop fugitives which are expected                  limit in order to capture normal                      month from all openings, or from the
                                            to reduce HAP emissions by 25 tpy.                      fluctuation events that occur during                  one opening known to have the highest


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                                            opacity, for a full steel cycle, which                  emissions via dispersion modeling can                 monitoring of metals, we proposed that
                                            must include a tapping event; and (5)                   be used to ground-truth emission                      fenceline monitoring would begin no
                                            develop and operate according to an                     estimates from a facility’s emissions                 later than one year after the EPA’s
                                            Operating Plan to minimize fugitives                    inventory. If concentrations at the                   promulgation of a fenceline test method,
                                            and detect openings and leaks.                          fenceline are greater than expected, the              or two years after the promulgation of
                                               The purpose of the Operating Plan is                 likely cause is that there are                        the final rule, whichever is later. The
                                            to address variability in unit design and               underreported or unknown emission                     EPA is working as expeditiously as
                                            operations by creating an individualized                sources affecting the monitors. In                    possible to propose a new metals
                                            strategy for implementing work practice                 addition to the direct indication that                fenceline method. As part of the prior
                                            standards at each source. Owners and                    emissions may be higher than                          CAA section 114 information collection
                                            operators can develop specific work                     inventories would suggest, fenceline                  effort, we relied on a common ambient
                                            practices that make sense for each unit                 monitoring provides information on the                monitoring method 2 for the collection
                                            and that maximize emission reduction                    location of potential emissions sources.              of the metals samples and associated
                                            efficiency for each unit. We require that               Further, when used with a mitigation                  analytical method 3 for multi-metals for
                                            the BOPF Shop Operating Plan include:                   strategy, such as root cause analysis and             the analysis. While these methods are
                                               • An explanation regarding how the                   corrective action upon exceedance of an               robust and appropriate for ambient
                                            facility will address and implement the                 action level, fenceline monitoring can                trends applications, EPA needs to
                                            four specific work practices listed                     be effective in reducing emissions and                further investigate and revise these
                                            above;                                                  reducing the uncertainty associated                   approaches for a stationary source
                                               • A maximum hot iron pour/charge                     with emissions estimation and                         regulatory program to ensure improved
                                            rate (pounds/second) for the first 20                   characterization. Finally, public                     precision and accuracy in the method,
                                            seconds of hot metal charge (i.e., the                  reporting of fenceline monitoring data                in the same manner EPA developed
                                            process of adding hot iron from the BF                  provides public transparency and                      Method 327 4 from TO–15 in the recent
                                            into the basic oxygen process furnace);                 greater visibility, leading to more focus             Synthetic Organic Chemical
                                               • A description of operational                       and effort in reducing emissions.                     Manufacturing Industry: Organic
                                            conditions of the furnace and secondary                    Specifically, we proposed that                     National Emission Standards for
                                            emission capture system that must be                    facilities must install four ambient air              Hazardous Air Pollutants (NESHAP)—
                                            met prior to hot metal charge, including:               monitors at or near the fenceline at                  40 CFR 63 Subparts F,G,H,I proposed
                                               • A minimum flowrate of the                          appropriate locations around the                      rule, published on April 25, 2023 (88 FR
                                            secondary emission capture system                       perimeter of the facility, regardless of              25080). The required determinations of
                                            during hot metal charge;                                facility size, based on a site-specific               whether the action level has been
                                               • A minimum number of times, but at                  plan approved by the EPA to collect and               exceeded and any subsequent root cause
                                            least once, the furnace should be rocked                analyze samples for total chromium                    investigation will begin once the first
                                            between scrap charge and hot metal                      every sixth day. In addition, we                      annual rolling average is acquired.
                                            charge;                                                 proposed that facilities must implement
                                                                                                    the following work practice                           2. What comments did we receive on
                                               • A maximum furnace tilt angle                                                                             the monitoring requirements, and what
                                            during hot metal charging: and;                         requirement: if an installed fenceline
                                                                                                    monitor has a 12-month rolling average                are our responses?
                                               • An outline of procedures to attempt
                                            to reduce slopping.                                     delta c concentration—calculated as the                  Comment: Commenters stated that the
                                               The BOPF shop work practice                          annual average of the highest sample                  proposed focus on chromium as a
                                            standards and Operating Plan are                        value for a given sample period minus                 ‘‘surrogate’’ and the proposal to set an
                                            expected to result in the same HAP                      the lowest sample value measured                      action level for only chromium is
                                            emission reductions as the Proposed                     during that sample period—above the                   demonstrably inadequate. Emission
                                            Rule at 25 tpy. This accounts for 39%                   proposed action level of 0.1 mg/m3 for                standards under CAA section 112(d)
                                            of the estimated emission reductions                    total chromium, the facility must                     must be ‘‘comprehensive controls for
                                            from UFIP sources with this                             conduct a root cause analysis and take                each source category that must include
                                            promulgation.                                           corrective action to prevent additional               limits on each hazardous air pollutant
                                                                                                    exceedances. Data would be reported                   the category emits.’’ (LEAN, 955 F.3d at
                                            C. What are the decisions for fenceline                 electronically to the EPA’s Compliance                1095–96.) As identified in several
                                            monitoring?                                             and Emissions Data Reporting Interface                background documents for this
                                            1. What did we propose for fenceline                    (CEDRI) on a quarterly basis and                      proposed rule, air pollutants from
                                            monitoring?                                             subsequently available to the public via              various facility processes include
                                                                                                    the Web Factor Information Retrieval                  multiple toxic metals in addition to
                                              Pursuant to CAA section 112(d)(6), we                 system (WebFIRE) website.                             chromium including arsenic, mercury,
                                            proposed adding fenceline monitoring                    Furthermore, we proposed a sunset                     and lead; toxic halogenated compounds
                                            for chromium. Fenceline monitoring                      provision whereby if the annual average               including carbonyl sulfide, carbon
                                            refers to the placement of monitors                     delta c remain 50-percent or more below               disulfide, hydrogen chloride, hydrogen
                                            along the perimeter of a facility to                    the action level (i.e., 0.05 mg/m3 or                 fluoride, D/F; and other toxic pollutants
                                            measure pollutant concentrations.                       lower) for a 24-month period, then the                such as hydrocarbons and PM. The CAA
                                            Coupled with requirements for root                      facility can request to terminate the                 requires ‘‘as many limits as needed to
                                            cause analysis and corrective action                    fenceline monitoring. Termination of                  control all the emitted air toxics of a
                                            upon triggering an actionable level, this               the fenceline monitoring in no way
                                            work practice standard is a development                 impacts the requirement for facilities to               2 Reference Method for the Determination of
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                                            in practices considered under CAA                       meet all other obligations under this                 Suspended Particulates in the Atmosphere (High
                                            section 112(d)(6) for the purposes of                   subpart including the general duty to                 Volume Method), 40 CFR 50, Appendix B.
                                                                                                                                                            3 Method IO–3, Determination of Metals in
                                            managing fugitive emissions. The                        minimize emissions of 40 CFR                          Ambient Particulate Matter Using Inductively
                                            measurement of these pollutant                          63.7810(d).                                           Coupled Plasma (ICP) Spectroscopy.
                                            concentrations and comparison to                           Because a method has not yet been                    4 Federal Register Notice published on April 25,

                                            concentrations estimated from mass                      proposed or promulgated for fenceline                 2023 (88 FR 25080).



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                                            particular source category.’’ (Id. at                   Integrated Iron and Steel facilities to               risks to public health). Fenceline
                                            1097.) Commenters stated that the 2023                  better characterize fugitive lead                     monitoring is a development in
                                            Proposal is unlawful on its face for only               emissions. Additionally, we intend to                 practices, for the purpose of managing
                                            requiring monitoring and action level                   gather more data regarding HAP metals                 fugitive emissions. In sum, fenceline
                                            standards for chromium.                                 from sinter plant stacks through the use              monitors will be placed at or near the
                                               Response: The EPA disagrees that                     of PM continuous monitoring systems                   perimeter of the applicable facility to
                                            conducting fenceline monitoring for                     (PM CEMs). We intend to collect this                  measure pollutant concentrations; this
                                            only chromium is inadequate or                          data in a separate action under CAA                   measurement is coupled with the
                                            unlawful. The EPA recognizes there are                  section 114 that will follow this final               requirement to conduct applicable root
                                            multiple toxic metals emitted by various                rule.                                                 cause analyses and implement
                                            facility processes from the iron and steel                 Comment: Commenters stated that the                corrective action upon triggering an
                                            facilities. We reiterate that we did not                EPA should require monitoring and set                 actionable level. The utilization of
                                            intend to measure all pollutants,                       action level standards for all HAP                    fenceline monitors will serve to manage
                                            especially pollutants that are emitted                  metals emitted by II&S facilities. These              fugitive emissions with the intent to
                                            from point sources that are directly                    commenters asserted that the                          reduce emissions, as well as to reduce
                                            measurable through source tests and                     incremental cost to monitor for all                   uncertainty associated with initial
                                            continuous monitoring systems. These                    metals is insignificant and would have                emissions estimation. The use of
                                            emissions sources and pollutants are                    outsized benefits to the community by                 fenceline monitors, coupled with action
                                                                                                    establishing multiple triggers for                    levels, represents a development in
                                            subject to other standards under these
                                                                                                    assessment and corrective action. As an               work practices. Therefore, focusing
                                            MACT. We disagree that it is necessary
                                                                                                    alternative to required fenceline                     fenceline monitoring requirements on
                                            to conduct fenceline monitoring for
                                                                                                    monitoring for all HAP metals,                        chromium is appropriate as a
                                            every HAP emitted from fugitive
                                                                                                    commenters stated the EPA should                      development pursuant to CAA section
                                            emission sources at integrated iron and
                                                                                                    consider implementing a fenceline                     112(d)(6). Requiring fenceline
                                            steel facilities. Integrated iron and steel
                                                                                                    standard for lead because most                        monitoring for chromium alone also
                                            emissions can contain many different
                                                                                                    communities surrounding II&S facilities               facilitates establishing an appropriate
                                            HAP and it is very difficult for any
                                                                                                    are EJ communities exposed to lead                    action level, reduces analytical costs,
                                            fenceline method to detect every HAP
                                                                                                    from multiple sources. Commenters also                and simplifies the determination of
                                            potentially emitted from integrated iron                specifically supported a fenceline                    compliance for integrated iron and steel
                                            and steel facilities. The fenceline                     monitoring requirement for arsenic.                   owners and operators.
                                            monitoring standard was proposed as                        Response: The EPA observes that it is                 By contrast, including additional
                                            part of the CAA section 112(d)(6)                       technically feasible to require further               metal HAPs in the fenceline monitoring
                                            technology review to improve                            speciation of metal HAPs collected                    program would require the EPA to
                                            management of fugitive emissions of                     within a single sample. Although                      resolve a number of technical issues,
                                            metal HAPs and not as a risk reduction                  increasing the analyte list does increase             including how an action level for
                                            measure. In order to meet that goal of                  the analytical costs because additional               additional HAPs would be set, and
                                            improved management of fugitive                         calibration standards are required, the               whether each metal HAP would have its
                                            emissions, it is not necessary to obtain                EPA agrees with commenters that the                   own action level or instead a single
                                            an accurate picture of the level of all                 costs to monitor for additional metals                action level for the sum of metal HAP
                                            HAP emitted. We chose to propose                        would be relatively low. However, the                 measured. The EPA was not able to
                                            fenceline measurements only for                         incremental cost of monitoring for                    develop the information needed to
                                            chromium because it was a risk driver                   additional HAPs is not the only                       address these issues within the
                                            in the 2020 RTR analyses and has been                   consideration in determining the scope                timeframe for this rulemaking. Given
                                            determined to be a good surrogate for                   of a fenceline monitoring requirement                 that the available information indicates
                                            other HAP metals, especially arsenic,                   for this source category. The EPA must                that HAP metals emitted from the
                                            which was the other HAP metal driving                   also consider the efficacy of instituting             integrated iron and steel facilities other
                                            the risks in the 2020 RTR risk analyses.                a fenceline monitoring requirement for                than chromium and arsenic do not
                                            Additionally, at the fenceline, based on                additional HAPs, as well as practical                 contribute to significant ambient
                                            fenceline monitoring conducted in                       implementation concerns. At this time,                concentrations at or near the facility
                                            2022–23 at Integrated Iron and Steel                    the EPA believes these factors weigh in               boundaries (e.g., fenceline) at these
                                            facilities in response to the section 114               favor of requiring fenceline monitoring               facilities, we have determined that at
                                            request, the highest monitored lead                     for chromium while continuing to                      present the benefits of including other
                                            levels were found to be 5 times lower                   gather information on other metal HAPs.               metal HAPs in the scope of the fenceline
                                            than the current air quality health                        As discussed above, the EPA                        monitoring requirement are also
                                            NAAQS value (last issued in 2015 to                     previously determined in the 2020 RTR                 unclear.
                                            provide an ‘‘adequate margin of safety to               that chromium is one of the two                          Although we did not propose nor are
                                            protect public health’’). However, based                principal drivers of health risk in this              we prepared to promulgate a fenceline
                                            on a lack of information on fugitive lead               source category and is also an effective              monitoring requirement for any metals
                                            and other metal HAP emissions, the                      surrogate for arsenic, which is the other             other than chromium at this time, the
                                            EPA does agree with this commenter                      most significant contributor to risk.                 EPA recognizes that further information
                                            that there is a need for more data                      Because the principal purpose of                      on fugitive emissions of lead and other
                                            gathering, both at the fenceline and from               fenceline monitoring in this source                   HAP metals would be useful in
                                            other sources on the facilities. EPA did                category is to assure compliance with                 informing whether and how a fenceline
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                                            not propose nor are we prepared to                      the emission standards that address                   monitoring requirement for additional
                                            promulgate a requirement to monitor                     fugitive emissions of particulate HAP                 HAP metals as part of a future
                                            any metals other than chromium as part                  metals, implementing this development                 rulemaking. Accordingly, we intend to
                                            of the fenceline requirement, but we                    will provide ‘‘necessary’’ protection                 gather more data to better characterize
                                            intend to gather more fenceline                         against fugitive emissions of metal                   fugitive lead and other HAP metals
                                            monitoring data for lead in 2024 at                     HAPs (including those that pose greatest              through a separate action that will


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                                            follow this final rule as described in the              place should be used for the action level             further in the response to the previous
                                            previous response in this preamble.                     and further disagrees with their                      comment of this section.
                                               Comment: Commenters stated that the                  definition of precision. Measurement
                                            EPA should not set an action level that                                                                       3. What are the revised standards for the
                                                                                                    precision relates to the degree of
                                            would be triggered if the UFIP sources                                                                        fenceline monitoring requirements and
                                                                                                    variation in repeated measurements,
                                            were meeting all of the proposed                                                                              how will compliance be demonstrated?
                                                                                                    and not what decimal place a reading is.
                                            opacity limits and work practice                        In the example proposed, 0.1 mg/m3 and                   We are finalizing what we proposed:
                                            standards, which is the EPA’s stated                    0.01 mg/m3, these are merely two values               facilities must install four ambient air
                                            purpose for establishing the fenceline                  of differing magnitude, and not two                   monitors at or near the fenceline at
                                            monitoring program. Because the EPA                     values of different precision.                        appropriate locations around the
                                            did not consider or analyze whether                        The EPA also disagrees that the                    perimeter of the facility based on a site-
                                            II&S facilities could maintain UFIP                     detection limit of EPA Compendium                     specific plan that must be submitted to
                                            emissions at rates to ensure that the                   Method IO–3.5 has meaning in this                     and approved by the EPA, regardless of
                                            action level would not be triggered or                  context. The detection limit is the                   facility size. These monitors shall
                                            how much it would cost to maintain                      lowest level at which a valid                         collect and analyze samples for total
                                            emissions below the action level, the                   measurement can be collected, beyond                  chromium every sixth day. The facilities
                                            EPA should not entertain these lower                    indicating that, in this case, the                    must also implement the following work
                                            values of 0.08 and 0.09 mg/m3.                          measured values are within the                        practice requirement: if an installed
                                            Commenters stated that for the EPA to                   measurable range, it has no practical                 fenceline monitor has a 12-month
                                            do so would be arbitrary and capricious                 impact upon the number of significant                 rolling average delta c concentration
                                            per se.                                                 digits appropriate.                                   that is above the action level of 0.1 mg/
                                               Response: The EPA acknowledges the                      While the analytical techniques may                m3 for total chromium, calculated as the
                                            support and is finalizing the action level              be able to determine the concentration                annual average of the delta c determined
                                            at 0.1 mg/m3 as proposed.                               out to more than one significant figure,              during each sample period over the year
                                               Comment: Commenters stated that                      the setting of the action level is based              (highest sample value for a given sample
                                            regardless of the numeric value selected                not just upon the measurement itself,                 period minus the lowest sample value
                                            for the action level, the EPA should                    but upon projected gains under the                    measured during that sample period),
                                            express the chromium action level in                    newly required limits on UFIP and the                 the facility must conduct a root cause
                                            mg/m3 to at least two decimal places and                calculation of delta c, further                       analysis and take corrective action to
                                            clarify that rounding occurs to the                     complicating the determination of an                  prevent additional exceedances.
                                            second decimal place (e.g., 0.11 mg/m3                  appropriate action level. The EPA is
                                            would not round down to 0.10 mg/m3                                                                               A facility may request to terminate
                                                                                                    finalizing the action level at one
                                            and would therefore exceed the action                   significant figure as proposed.                       fenceline monitoring after 24 months of
                                            level). The EPA states that ‘‘[b]ecause of                 Comment: Commenters stated that                    consecutive results 50 percent or more
                                            the variability and limitations in the                  even if the EPA can sufficiently explain              below the action level. The EPA
                                            data, to establish the proposed action                  why an action level was set for                       selected the monitoring locations and
                                            level we rounded[. . .]to one significant               chromium for II&S facilities based on                 sampling frequency as specified to
                                            figure (i.e., 0.1 mg/m3).’’ Commenters                  fenceline monitoring, the EPA should                  maintain the same basis of monitoring
                                            stated that there are two issues with this              set the action level below 0.1 mg/m3                  as that used in the derivation of the
                                            statement: (1) significant figures do not               because fenceline data collected as part              action level as discussed in the
                                            completely characterize numerical                       of EPA’s CAA section 114 collection                   preamble to the proposed rule (88 FR
                                            precision, and (2) reporting chromium                   request shows that a lower action level               49414). The use of four monitors was
                                            concentrations in mg/m3 to one decimal                  is achievable. Because the EPA did not                selected and not expanded to the same
                                            place does not reflect the precision of                 request that all eight II&S facilities                number of monitoring sites as EPA
                                            modern sampling and analytical                          perform fenceline monitoring pursuant                 Method 325A because, unlike EPA
                                            techniques. Commenters stated that in                   to the CAA section 114 request, the EPA               Method 325A that uses passive
                                            response to the first point, consider two               did not identify the top five best                    samplers, the methodology used for
                                            hypothetical reported chromium                          performing facilities. However, two of                both the CAA section 114 request and
                                            concentrations: 0.1 mg/m3 and 0.01 mg/                  the four facilities that conducted                    the potential candidate method for this
                                            m3. Both have only one significant digit,               fenceline monitoring (Cleveland Works                 rule requires power at each sampling
                                            but the second concentration is reported                and Burns Harbor) had 6-month                         location, dramatically increasing the
                                            with a greater level of precision. As for               chromium delta c averages below 0.08                  potential cost of each monitoring site.
                                            the second point, Table 1 in EPA                        mg/m3, and a third facility (Granite City)            The sampling frequency of every six
                                            Compendium Method IO–3.5, which                         is projected to be at 0.09 mg/m3 after                days was selected to both mimic that of
                                            was the analytical method used to                       implementing provisions of the                        the CAA section 114 request as well as
                                            determine fenceline chromium                            rulemaking. The EPA has failed to                     to ensure operations on each day of the
                                            concentrations as part of the EPA’s CAA                 explain why they are requiring an action              week would be represented in the
                                            section 114 ICR, lists the estimated                    level that constitutes the lowest number              calculation of the annual average delta
                                            method detection limit for chromium as                  (0.1 mg/m3) instead of the level that                 c. Data will be reported electronically to
                                            0.01 ng/m3 (0.00001 mg/m3). This low                    three of the four facilities that                     CEDRI on a quarterly basis and
                                            method detection limit demonstrates the                 conducted fenceline monitoring are able               subsequently available to the public via
                                            sensitivity and precision of modern                     to meet (0.10 mg/m3). Accordingly, the                the WebFIRE website.
                                            sampling and analytical methods. As                     EPA should set the action level below                    In response to many comments
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                                            such, chromium concentrations                           0.1 mg/m3.                                            regarding fugitive emissions of lead and
                                            measured with these methods should be                      Response: Consistent with refineries               other metals, we recognize the need to
                                            reported to at least two decimal places                 and all other proposed fenceline                      gather more data to characterize these
                                            (assuming units of mg/m3).                              monitoring standards, we are                          fugitive emissions at the fenceline and
                                               Response: The EPA disagrees with the                 implementing the action level as a                    sinter plants. We intend to take a
                                            commenter that more than one decimal                    single significant digit as discussed                 separate action on this data collection


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                                            for lead and potentially other metals                               In addition to the unregulated UFIP                    than D/F)); and two unregulated HAP
                                            action under CAA section 114.                                     sources, we identified five unregulated                  from BF point sources (HCl and THC (as
                                            D. Standards To Address Unregulated                               HAP from sinter plant point sources                      a surrogate for organic HAP other than
                                            Point Sources for Both New and Existing                           (CS2, COS, HCl, HF, and Hg); three                       D/F). The proposed MACT emission
                                            Sources                                                           unregulated HAP from BF stove and                        limits for these unregulated point
                                            1. What standards did we propose to                               BOPF point sources (D/F, HCl and THC                     sources are in Table 3.
                                            address unregulated point sources?                                (as a surrogate for organic HAP other

                                                                   TABLE 3—ESTIMATED HAP EMISSIONS AND PROPOSED MACT LIMITS FOR POINT SOURCES
                                                                                                         Estimated source
                                                    Process                        HAP                                                                               Proposed MACT limit
                                                                                                        category emissions

                                            Sinter Plants ............     CS2 ...................    42 tpy ........................   Existing and new sources: 0.028 lb/ton sinter.
                                            Sinter Plants ............     COS ..................     57 tpy ........................   Existing sources: 0.064 lb/ton sinter. New sources: 0.030 lb/ton sinter.
                                            Sinter Plants ............     HCl ...................    11 tpy ........................   Existing sources: 0.025 lb/ton sinter. New sources: 0.0012 lb/ton sinter.
                                            Sinter Plants ............     HF .....................   1.2 tpy .......................   Existing and new sources: 0.0011 lb/ton sinter.
                                            Sinter Plants ............     Hg .....................   66 pounds/yr .............        Existing sources: 3.5e–5 lb/ton sinter. New sources: 1.2e–5 lb/ton sinter.
                                            BF casthouse control           HCl ....................   1.4 tpy .......................   Existing sources: 0.0013 lb/ton iron. New sources: 5.9e–4 lb/ton iron.
                                              devices.
                                            BF casthouse control           THC ..................     270 tpy ......................    Existing sources: 0.092 lb/ton iron. New sources: 0.035 lb/ton iron.
                                              devices.
                                            BOPF .......................   D/F (TEQ 1) .......        3.6 grams/yr ..............       Existing and new sources: 4.7e–8 lb/ton steel.
                                            BOPF .......................   HCl ....................   200 tpy ......................    Existing sources: 0.078 lb/ton steel. New sources: 1.9e–4 lb/ton steel.
                                            BOPF .......................   THC ..................     13 tpy ........................   Existing sources: 0.04 lb/ton steel. New sources: 0.0017 lb/ton steel.
                                            BF Stove ..................    D/F (TEQ) .........        0.076 grams/year ......           Existing and new sources: 3.8e–10 lb/ton iron.
                                            BF Stove ..................    HCl ....................   4.5 tpy .......................   Existing sources: 5.2e–4 lb/ton iron. New sources: 1.4e–4 lb/ton iron.
                                            BF Stove ..................    THC ..................     200 tpy ......................    Existing sources: 0.1 lb/ton iron. New sources: 0.0011 lb/ton iron.
                                               1 Toxic equivalency.




                                            2. What comments did we receive on                                technologically feasible for pollution                   data. However, pursuant to section 112
                                            the unregulated point sources, and what                           control equipment to guarantee any                       of the CAA and the LEAN court
                                            are our responses?                                                degree of control of such low or dilute                  decision, we must promulgate MACT
                                                                                                              concentrations of D/F, PAHs, COS, CS2,                   emissions limits based on available data
                                               Comment: Commenters state that they                            Hg, THC, HF, and HCl, which fall below                   in order to fulfill our court ordered CAA
                                            submitted additional stack tests in                               the lowest target concentrations and                     section 112(d)(6) obligations.
                                            Appendix L that cover the EPA’s                                   capture limitations of such equipment.                     Comment: Commenters stated that if
                                            proposed MACT standards for BF                                    Further, the sources of raw materials                    EPA nonetheless proceeds with BF
                                            Stoves, BF Casthouses, and BOPF                                   and their impact on emissions                            Stove limits, the form must be revised
                                            Primary Control Devices. These                                    variability cannot be reasonably                         to lb/MMBtu, and that EPA erroneously
                                            commenters do not represent that the                              predicted.                                               used iron, rather than steel, production
                                            additional data submitted in Appendix                                Response: The EPA has considered                      rates. The commenter said the agency
                                            L alone or in combination with data                               these additional data and, where                         should use contemporaneous iron
                                            underlying the EPA’s proposed                                     deemed valid, incorporated the data                      production rates instead, which were
                                            standards capture the full range of                               into updated UPL calculations for the                    provided on May 25, 2023.
                                            operating conditions for these point                              point sources and HAPs. The                              Notwithstanding these errors, emission
                                            sources; however, they believe these                              promulgated limits are based on MACT                     limits for combustion units including
                                            additional data further indicate that the                         floor calculations (UPL) using the                       BF stoves would be most appropriately
                                            EPA’s limited datasets do not                                     available valid data, which represents                   expressed as lb/MMBtu, as although
                                            sufficiently account for variability and,                         our best estimate of current average                     stove and blast furnace operations are
                                            therefore, are not representative of best                         performance, accounting for variability                  interrelated, there are significant site
                                            performing units in this source category.                         (i.e., UPL calculations), of the sources                 specific differences in operation which
                                            The same commenters state that the                                for which we have valid data (for                        make blast furnace production
                                            EPA’s 15 proposed HAP limits for new                              affected sources). Additionally, based                   inappropriate to use when developing a
                                            sources rely on insufficient data and are                         on industry comments, we: (1) used                       limit for BF stoves. Lb/MMBtu would be
                                            unlikely to be technologically feasible.                          surrogate limits for some HAP; (2)                       more appropriate because the emissions
                                            They are also concerned that any new                              changed the format of some limits; and                   per amount of heat released is more
                                            sources would also not be able to meet                            (3) established work practices for HAP                   directly related to total quantity of
                                            the emission rates of the best performers                         where majority of data were below                        emissions generated. Further, gas flow
                                            given the lack of sufficient data                                 detection.                                               can be directly measured to account for
                                            underlying the EPA’s proposed new                                    Furthermore, based on the limited                     varying BF stove operation. Iron
                                            source limits for the 15 HAPs that                                data we have, we estimate that all                       production is intermittent with tapping
                                            inherently do not capture process,                                facilities will be able to meet these                    and plugging of the furnace, so using
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                                            operational, raw material, or seasonal                            limits without the need for new add-on                   emissions per ton could produce
                                            and measurement variability of the EPA-                           control devices (e.g., we have no data                   misleading results and should not be
                                            designated best performing source.                                indicating a source cannot currently                     used.
                                            Achievability of the new source                                   comply with these limits). Nevertheless,                   Response: The EPA agrees that BF
                                            proposed limits is a concern because it                           we acknowledge that there are                            stove emission limits in the units of lb/
                                            is also unlikely that it would be                                 uncertainties because of the limited                     MMBtu would be more appropriate than


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                                            unis of lb/ton. We have recalculated                    standard being finalized in this rule.                of the number of non-detect results for
                                            UPLs for BF stove emissions in the units                The numerical THC standard provides                   CS2 and HF. Further, the single test run
                                            of lb/MMBtu and are finalizing MACT                     assurance of good combustion practices,               for which HF was detected was only
                                            floor limits for HCl and THC emissions                  and a further tune-up style work                      slightly above the detection limit (0.09
                                            from BF stoves in the units of lb/                      practice requirement is not necessary.                ppmv detected value versus the
                                            MMBtu. No additional costs are                             Comment: Commentors stated that the                detection limit of 0.08 ppmv). The EPA
                                            expected to meet these limits.                          EPA should not finalize its proposed                  generally considers a work practice to
                                               Comment: Commentors stated that the                  CS2 and HF limits for sinter/recycling                be justified if a significant majority of
                                            EPA should not finalize its proposed                    plants because the available data                     emissions data available indicate that
                                            D/F limit for BF Stoves because D/F is                  demonstrates these pollutants are not                 emissions are so low that they cannot be
                                            not present, or, if present, is only in                 emitted. The EPA estimates sinter/                    reliably measured (e.g., more than 55
                                            trace amounts. The EPA estimates that                   recycling plants emit: a total 1.3 tpy of             percent of test runs are non-detect) as
                                            the 17 BF Stoves in the source category                 HF and 23 tpy of CS2 for the source                   discussed in the Johnson Memo. Due to
                                            collectively emit 0.076 grams per year of               category. The EPA bases its CS2 estimate              the extremely high percentage of non-
                                            D/F. Commentors said that basing the                    on a limited data set of six test runs                detect values, 83 and 93 percent for CS2
                                            proposed D/F limit on only two tests,                   where the EPA flagged 83 percent (5 out               and HF respectively, it is appropriate for
                                            with a total of only 6 data points (5 of                of 6) of those results as below detection             both of these compounds at the sinter
                                            which are BDL) is not permissible. If the               limit (BDL). (2023 Data Memo at app. A)               plant to be represented by a work
                                            EPA nevertheless pursues D/F limits for                 BDL means that emissions are so low                   practice standard according to CAA
                                            BF Stoves, the EPA should review and                    they are not able to be accurately read,              section 112(h). For CS2, the work
                                            revise the limits to ones that are                      measured, or quantified. Similarly, 13                practice being finalized consists of the
                                            representative of the emissions                         out of 14 (93 percent) of test runs for HF            existing requirement to control the oil
                                            limitations being achieved by the best                  from sinter/recycling plants were                     content in the sinter or the VOC
                                            performers. The EPA should consider                     flagged BDL by the EPA, indicating that               emissions at the windbox exhaust (40
                                            work practices, such as good                            HF is not emitted or emitted in trace                 CFR 63.7790(d)) to control the source of
                                            combustion practices, in lieu of                        amounts, and thus EPA should not set                  the sulfur, combined with the new
                                            numerical limits.                                       a numerical standard for HF for sinter/               numerical standard for COS being
                                               Response: Pursuant to the LEAN                       recycling plants. The commentor stated                finalized in this rulemaking. For HF,
                                            decision, CAA section 112(d)(2)/(3) and                 if the EPA nevertheless proceeds with                 where 93 percent of the values were
                                            the court order for the EPA to complete                 such numerical limits, it must revise its             below the detection limit and the only
                                            this final rule pursuant to CAA section                 proposed limits upwards to help to                    detected value is only slightly above,
                                            112(d)(6) by March 11, 2024, the EPA                    account for known data variability and                the numerical standard for HCl being
                                            must establish standards for previously                 limited datasets. Commentors stated                   finalized in this rule shall act as a work
                                            unregulated HAP based on available                      that data underlying the EPA’s proposed               practice (or surrogate) for HF, as control
                                            data in this final rule. The EPA                        CS2 and HF limits includes a significant              of HCL will also control HF.
                                            collected emissions test data through                   number of readings below the detection
                                                                                                                                                          3. What are the revised standards for the
                                            the CAA section 114 requests. For D/F                   limit. The EPA explains that ‘‘greater
                                                                                                                                                          unregulated point sources and how will
                                            from BF stoves, when we made a                          than 50 percent of the data runs were
                                                                                                                                                          compliance be demonstrated?
                                            determination of BDL according to the                   BDL’’ for HF and CS2 from sinter/
                                            procedures outlined in Determination of                 recycling plants. (2023 MACT Costs                      We are finalizing the MACT Floor
                                            ‘‘non-detect’’ from EPA Method 29                       Memo at 19–21, tbl. 24.) The proposed                 emission limits mostly as we proposed,
                                            (multi-metals) and EPA Method 23                        limits for HF and CS2 are not                         but with minor adjustments for some
                                            (dioxin/furan) test data when evaluating                representative of current performance                 limits based on the inclusion of
                                            the setting of MACT floors versus work                  due to the frequency of near or BDL.                  additional valid data in the UPL
                                            practice standards (Johnson 2014)                       The EPA has noted that ‘‘section                      calculations, the revision of the format
                                            (Johnson memo) available in the docket                  112(d)(2) of the CAA specifically allows              of BF Stove emission limits as advised
                                            (EPA–HQ–OAR–2002–0083–1082), two                        EPA to establish MACT standards based                 in the comments received, and the
                                            of the six runs are determined to be non-               on emission controls that rely on                     incorporation of work practices and
                                            detect. Though we disagree in the                       pollution prevention techniques.’’                    surrogates for CS2 and HF at sinter
                                            number of non-detect values with the                    Where a majority of BDL values exist,                 plants and D/F from the BF Stove. These
                                            commenter, we agree that, as only 33                    the EPA should instead consider                       work practices are being finalized
                                            percent of test runs were detected                      pollution control techniques, such as a               because under CAA section 112(h), the
                                            values, a work practice under CAA                       work practice, rather than individual                 Administrator has determined that it is
                                            section 112(h) is appropriate for the                   limits for these HAPs. Thus, the EPA                  not feasible to prescribe or enforce an
                                            control of D/F from BF Stoves. The EPA                  should rely on the oil-content and VOC                emissions standard for these
                                            generally considers a work practice to                  limit pollution control techniques that               unregulated point sources. Furthermore,
                                            be justified if a significant majority of               are already in place for these pollutants.            based on consideration of public
                                            emissions data available indicate that                     Response: Pursuant to the LEAN                     comments and further analyses, for
                                            emissions are so low that they cannot be                decision, CAA section 112(d)(2)/(3) and               mercury emissions from existing sinter
                                            reliably measured (e.g., more than 55                   the court’s Order for EPA to complete                 plants, we are promulgating a BTF limit
                                            percent of test runs are non-detect) as                 this final rule pursuant to CAA section               based on installation and operation of
                                            discussed in the Johnson Memo. An                       112(d)(6) by March 11, 2024, the EPA                  activated carbon injection (ACI),
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                                            appropriate work practice for D/F for                   must establish standards for previously               described in section III.E of this
                                            the stoves, due to their similarity in                  unregulated HAP based on available                    preamble. The emission limits, along
                                            operation with boilers and other heaters,               data in this final rule. The EPA                      with estimated annual emissions, for the
                                            is good combustion practices,                           reviewed the data in question and                     unregulated point sources for the final
                                            represented for this source by the THC                  agrees with the commenter’s assessment                rule are provided in Table 4.




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                                                          TABLE 4—HAP EMISSIONS AND FINAL MACT LIMITS FOR PREVIOUSLY UNREGULATED POINT SOURCES
                                                                                                         Estimated source                                       Promulgated MACT emissions limit
                                                    Process                        HAP                  category emissions                                (or other applicable standard as noted below)

                                            Sinter Plants ............     CS2 ...................    23 tpy ........................   Meet applicable COS limit and meet requirements of 40 CFR 63.7790(d).
                                            Sinter Plants ............     COS ..................     72 tpy ........................   Existing sources: 0.064 lb/ton sinter. New sources: 0.030 lb/ton sinter.
                                            Sinter Plants ............     HCl ...................    12 tpy ........................   Existing sources: 0.025 lb/ton sinter. New sources: 0.0012 lb/ton sinter.
                                            Sinter Plants ............     HF .....................   1.3 tpy .......................   Meet the applicable HCl standard.
                                            Sinter Plants ............     Hg .....................   55 pounds/yr .............        Existing sources: 1.8e–5 lb/ton sinter.2 New sources: 1.2e–5 lb/ton sinter.
                                            BF casthouse control           HCl ....................   1.4 tpy .......................   Existing sources: 0.0056 lb/ton iron. New sources: 5.9e–4 lb/ton iron.
                                              devices.
                                            BF casthouse control           THC ..................     270 tpy ......................    Existing sources: 0.48 lb/ton iron. New sources: 0.035 lb/ton iron.
                                              devices.
                                            BOPF .......................   D/F (TEQ 1) .......        3.6 grams/yr ..............       Existing and new sources: 9.2e–10 lb/ton steel.
                                            BOPF .......................   HCl ....................   200 tpy ......................    Existing sources: 0.058 lb/ton steel. New sources: 2.8e–4 lb/ton steel.
                                            BOPF .......................   THC ..................     13 tpy ........................   Existing sources: 0.04 lb/ton steel. New sources: 0.0017 lb/ton steel.
                                            BF Stove ..................    D/F (TEQ) .........        0.076 grams/year ......           Good combustion practices demonstrated by meeting the THC limit.
                                            BF Stove ..................    HCl ....................   4.5 tpy .......................   Existing sources: 0.0012 lb/MMBtu. New sources: 4.2e–4 lb/MMBtu.
                                            BF Stove ..................    THC ..................     200 tpy ......................    Existing sources: 0.12 lb/MMBtu. New sources: 0.0054 lb/MMBtu.
                                               1 Toxic equivalency.
                                               2 See section III.E for description of the final mercury limit.




                                            E. Reconsideration of Standards for D/                            they are unaware of any application of                    plants, down from nine facilities twenty
                                            F and PAH for Sinter Plants Under CAA                             ACI with a wet scrubber for particulate                   years ago, further suggests that
                                            Section 112(d)(6) Technology Review,                              control being sufficiently demonstrated                   American sinter technology is outdated.
                                            and Beyond-the-Floor Limit for Mercury                            in practice as a control technology for                   In commenters’ view, the EPA should
                                                                                                              D/F. Commenters also assert that the                      not give these outdated sinter plants a
                                            1. What standards did we propose to
                                                                                                              assumed brominated powdered                               ‘‘pass’’ on reducing their significant
                                            address the reconsideration of the D/F
                                                                                                              activated carbon (PAC) injection rate of                  emissions of hazardous air pollutants.
                                            and PAH standards for sinter plants,
                                                                                                              1.7 lb/MMacf based on 2012 test data                         Commenters further stated that the
                                            and new mercury limits from sinter
                                                                                                              from the Gerdau Sayreville, NJ electric                   EPA should reconsider rejecting ACI as
                                            plants?
                                                                                                              arc furnace baghouse is unproven in the                   too expensive, arguing that steel mills
                                              We proposed emissions limits of                                 II&S industry and that the Agency may                     can clearly afford this control measure
                                            3.5E–08 lbs/ton of sinter for D/F toxic                           be underestimating the required                           based on recent profit margins. The EPA
                                            equivalency (TEQ) and 5.9E–03 lbs/ton                             injection rates.                                          should more carefully consider an
                                            of sinter for PAHs for existing sinter                               Response: Based on our review of the                   evaluation of the human health costs
                                            plant windboxes. These limits reflect                             available information and analyses, we                    associated with the HAP emissions and
                                            the average current performance of the                            estimate the brominated powdered                          factor that into the Agency’s cost
                                            four existing sinter plants for D/F and                           activated carbon (PAC) can achieve 85                     estimate. Alternatively, the commenters
                                            PAHs pursuant to CAA section                                      percent reduction of D/F when used                        urged EPA to consider advanced or
                                            112(d)(6). For mercury, we proposed a                             with fabric filters. Regarding wet                        additional pollution controls on sinter
                                            MACT Floor limit of 3.5E–05 lbs/ton                               scrubbers, based on a scientific article                  windboxes, the most significant source
                                            sinter for existing sources, as described                         by H.Ruegg and A. Sigg (See ‘‘Dioxin                      of emissions from sinter plants. The
                                            in section III.D of this preamble.                                Removal In a Wet Scrubber and Dry                         proposed NESHAP does not appear to
                                              For new sources, we proposed                                    Particulate Removal’’, Chemosphere,                       have considered the use of wet
                                            emissions limits of 3.1E–09 lbs/ton of                            Vol. 25, No. 1–2, p. 143–148), we                         electrostatic precipitators, redundant
                                            sinter for D/F (TEQ), and 1.5E–03 lbs/                            estimate ACI used with a wet scrubber                     baghouses, or other types of controls.
                                            ton of sinter for PAHs for new sinter                             will achieve 70 percent reduction.                           Response: To address the comments
                                            plant windboxes that reflect the current                          Given that PAHs and dioxins are both                      that sinter plants need more controls to
                                            performance of the one best performing                            semi-volatile organic compounds, we                       reduce emissions of hazardous
                                            sinter plant pursuant to CAA section                              assume the ACI with a wet scrubber will                   pollutants, specifically the addition of
                                            112(d)(6). Regarding mercury, we                                  also achieve 70 percent reduction of                      ACI controls, we are finalizing
                                            proposed a MACT floor limit of 1.2E–05                            PAHs from sinter plants with a wet                        emissions limits pursuant to CAA
                                            lbs/ton sinter for new sinter plants.                             scrubber. We note that only one of the                    section 112(d)(6) for D/F and PAHs, and
                                                                                                              4 sinter plants is controlled with a wet                  CAA section 112(d)(2)/(3) BTF limits for
                                            2. What comments did we receive on                                venturi scrubber. The other three have                    mercury that reflect the installation and
                                            the reconsideration of the D/F and PAH                            baghouses.                                                operation of ACI controls. We conclude
                                            standards for sinter plants, and mercury
                                                                                                                 Comment: Commenters stated the                         that the estimated costs for these ACI
                                            emissions, and what are our responses?
                                                                                                              EPA’s MACT limits for existing sinter                     controls (described below) are
                                              Comment: Commenters stated that the                             plants should be lower, arguing that the                  reasonable given that these controls will
                                            Agency’s review of ACI during the 2020                            EPA’s establishment of separate MACT                      achieve significant reductions of these
                                            RTR found that the ACI add-on control                             floors for COS, HCl, and mercury for                      three HAPs, which are persistent,
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                                            technology for sinter/recycling plant                             new plants at less than half of the limit                 bioaccumulative and toxic (PBT) HAPs.
                                            windboxes would not be cost-effective.                            for existing sources indicates how                        For example, D/F are highly toxic
                                            They said the Agency’s BTF analysis                               outdated the 50 plus year-old existing                    carcinogens that bioaccumulate in
                                            and evaluation of ACI as a potential                              sinter plants are. Commenters argued                      various food sources such as beef and
                                            control option for sinter/recycling                               that the fact that only two integrated                    dairy products. Mercury, once it is
                                            plants are flawed. Commenters said that                           steel mills continue to operate sinter                    converted to methylmercury in aquatic


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                                            ecosystems, is also known to                            three HAP (D/F, PAHs and mercury), as                 urged the EPA to be prudent and use
                                            bioaccumulate in some food sources,                     described previously in this section, we              caution before placing a single new
                                            especially fish and marine mammals                      determined, similar to how we group                   regulation on these industries.
                                            which are consumed by people,                           non-Hg HAP metals when evaluating                     Commenters asked the EPA to show
                                            especially people who rely on                           cost effectiveness, that it is appropriate            favor in the Agency’s decision making
                                            subsistence fishing as an important food                to consider these three HAP as a group                to the domestic iron and steel industry.
                                            source. Methylmercury is a potent                       because they would be controlled by the                  Response: As explained in the
                                            developmental neurotoxin, especially                    same technology. We note that the Hg                  Regulatory Impact Analysis (RIA) and in
                                            for developing fetuses. The PAHs are a                  cost-effectiveness value is within a                  section IV.D of this preamble, the
                                            subset of the polycyclic organic matter                 factor of 2 of values that we have                    projected economic impacts of the
                                            (POM), which are a group of HAP that                    accepted, and that these three HAP are                expected compliance costs of the rule
                                            EPA considers to be PB–HAP, and                         persistent and bioaccumulative in the                 are likely to be small. This rulemaking
                                            includes some known or probable                         environment. Given that ACI is required               is estimated to cost less than 1% of the
                                            carcinogens such as benzo-a-pyrene.                     to achieve the limits for all three PB–               annual revenues of the parent
                                                                                                    HAP (D/F, PAHs and mercury), as                       companies. This rule should not be
                                            3. What are the revised standards for the                                                                     financially detrimental to the source
                                                                                                    described previously in this section, we
                                            D/F, PAH and mercury for sinter plants,                                                                       category. See sections IV.C and IV.D of
                                                                                                    decided it was appropriate to establish
                                            and how will compliance be                                                                                    this preamble, and the RIA, for more
                                                                                                    these limits for these three HAP that
                                            demonstrated?                                                                                                 details.
                                                                                                    reflect application of ACI. Because these
                                               Based on the comments received, we                   three pollutants are PB–HAP, as                          Comment: Commenters state that in
                                            are finalizing emissions limits that                    described in more detail in response                  2020, the EPA conservatively
                                            reflect the installation and operation of               above, we conclude the estimated costs                determined that II&S source category
                                            ACI controls, which are emissions limits                are reasonable, especially given that                 risk was well below the acceptable
                                            of 1.1E–08 lbs/ton of sinter for D/F                    these annual costs are far less than 1                levels established by the Congress and
                                            (TEQ), 1.8E–03 lbs/ton of sinter for                    percent of revenues for the parent                    that existing standards are protective of
                                            PAHs, and 1.8E–05 lbs/ton for mercury                   companies, which is discussed further                 public health with an ample margin of
                                            for existing sinter plant windboxes.                    in the economic impacts section of this               safety, and the proposal does not reopen
                                            Regarding new sources, we are                           preamble (see section IV.D).                          or even question the EPA’s conservative
                                            promulgating limits of 1.1E–08 lbs/ton                                                                        2020 determination. As the proposal
                                            of sinter for D/F (TEQ), 1.5E–03 lbs/ton                F. Other Major Comments and Issues                    (briefly) recites, ‘‘[i]n the 2020 final rule,
                                            of sinter for PAHs, and 1.2E–05 lbs/ton                    Comment: Commenters stated the                     the Agency found that risks due to
                                            for mercury for new sinter plant                        EPA’s 2023 Proposal for II&S facilities               emissions of air toxics from this source
                                            windboxes. The application of this ACI                  poses many challenges to the domestic                 category were acceptable and concluded
                                            will achieve significant reductions of                  iron and steel manufacturing industries.              that the NESHAP provided an ample
                                            mercury, D/F and PAH emissions,                         They stated when taken in conjunction                 margin of safety to protect public
                                            important reductions given that all three               with other onerous EPA regulations,                   health.’’ (2023 Proposal) The EPA’s
                                            HAP are highly toxic, persistent,                       including the proposed revisions to the               decision not to revisit that conclusion
                                            bioaccumulative HAP (PB–HAP), as                        NAAQS for PM, the 2023 Taconite Risk                  confirms that the EPA supports the 2020
                                            described above. We estimate these                      and Technology Review proposal and                    ample margin of safety determination
                                            limits for the three separate HAP will                  the 2023 Coke Ovens and Pushing,                      and sees no reason for amendment. In
                                            result in total combined capital costs of               Quenching, and Battery Stacks Risk and                fact, detailed corrected emission and
                                            $950K, annualized costs of $2.3M, will                  Technology Review proposal, the                       modeling data show that the remaining
                                            achieve 8 grams per year reductions of                  domestic II&S manufacturers will incur                risks are significantly smaller than even
                                            D/F TEQ emissions, 5.4 tpy reduction in                 significant cost and will struggle to meet            the low levels the EPA estimated in
                                            PAHs, and 47 pounds of mercury. The                     these additional, infeasible standards.               2020.
                                            estimated cost effectiveness (CE) for                   They stated it is critical that the EPA                  Response: The EPA is revising the
                                            each HAP individually are: CE of $287K                  understand this 2023 Proposal                         2020 final rule to satisfy the LEAN
                                            per gram D/F TEQ, $426K per ton of                      significantly jeopardizes the potential               decision, which requires the EPA to
                                            PAHs, and $49,000 per pound for                         successes of the Bipartisan                           address any remaining unregulated
                                            mercury.                                                Infrastructure Law (BIL) and the                      sources of emissions from the iron and
                                               If the EPA evaluated these emissions                 Inflation Reduction Act (IRA), and, as a              steel facilities. In meeting the
                                            limits individually (i.e., without                      result, undercut the decarbonization                  requirements of this case law, the EPA
                                            consideration of the co-control of D/F,                 priorities of the administration.                     collected more data to revisit the
                                            PAHs and mercury), the EPA might                           Commenters acknowledged the iron                   standards in the 2020 final rule under
                                            have reached a different conclusion                     and steel industry faces significant                  a technology review. Therefore, our
                                            (e.g., maybe not promulgated one or                     impacts from the 2023 Proposal along                  revised standards are not based on
                                            more of the individual final limits due                 with other EPA proposed rules                         assessment of risk, but instead based on
                                            to costs and cost effectiveness). For                   including the Taconite MACT, the Coke                 evaluation of additional data. All the
                                            example, historically, EPA has accepted                 MACT, the Good Neighbor Rule, and the                 standards and other requirements in this
                                            cost effectiveness for mercury up to                    PM2.5 NAAQS. They stated their                        final rule are being promulgated
                                            about $32,000 per pound. Regarding the                  customers, coworkers, suppliers and                   pursuant to CAA section 112(d)(2) and
                                            D/F and PAHs, we have not identified                    themselves are concerned for the future               (3) or 112(d)(6). The EPA is not
                                            cost effectiveness values that have been                of iron and steelmaking, an essential                 promulgating any new or revised
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                                            accepted in the past as part of revising                industry, in the U.S.                                 standards under CAA section 112(f)(2)
                                            standards under EPA’s technology                          Commenters stated the regulations                   or revising its prior risk assessment
                                            reviews pursuant to CAA section                         moving through the EPA at the current                 results and conclusions, but instead are
                                            112(d)(6).                                              time are going to materially impact the               finalizing these standards and other
                                               However, given that ACI is expected                  Iron Range of Minnesota and the entire                requirements based on evaluation of
                                            to be needed to achieve the limits for all              domestic steel industry. Commenters                   additional data and applicable 112(d)


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                                            requirements that direct HAP emission                   after the II&S manufacturing industry                 may require investment in controls that
                                            reductions.                                             MACT was promulgated and was based                    are currently excluded from the cost
                                               Comment: Commenters stated that the                  on an expert evaluation of the available              estimates in the rules. The EPA must
                                            EPA’s emissions estimates for UFIP                      emission information, it is considered                consider additional data and revise the
                                            sources are flawed and must be                          the most reliable source of information               proposed limits to adjust them upwards,
                                            corrected. The EPA has attempted to                     about PM emissions for the II&S                       as appropriate to account for variability,
                                            estimate current HAP emission rates for                 manufacturing industry available to the               or eliminate the proposed limit where
                                            all seven categories of UFIPs, and to                   EPA and, hence, the most reliable                     test results were below detectable levels.
                                            estimate emission reductions that it                    information to be used for UFIP sources.                 Response: The EPA has made use of
                                            projects would occur if the proposed                       Other data that were used to estimate              all valid test data, both received through
                                            opacity and work practice standards are                 UFIP emissions not available in the                   the section 114 request in 2022 and
                                            achieved. The commenter claims that                     2006 EPA document were taken from                     submitted during the comment period to
                                            EPA’s emissions estimates are based, in                 reliable sources in the literature. In                establish the emissions limits for sinter
                                            part, on the use of incorrect emission                  some cases, for the purposes of the II&S              plants, BF stoves, BF Primary control
                                            factors, which cause a significant                      manufacturing industry RTR, an                        devices and BOPF primary control
                                            overstatement of emissions from UFIPs,                  emission factor from AP–42 for one II&S               devices. These ‘‘point source’’ emissions
                                            and therefore significantly overestimates               manufacturing industry source was used                limits were derived using the UPL
                                            risk from UFIPs. These errors result in                 for another II&S manufacturing industry               methodology using all the valid data.
                                            significant cascading and compounding                   source based on good engineering                      Regarding opacity limits for planned
                                            effects that reveal that the current                    judgment. For example, if EPA staff                   openings and slag processing, we used
                                            proposal will be prohibitively expensive                determined that the two sources were                  all valid data for 2022 that we received
                                            and cannot be justified, particularly                   similar (e.g., used similar processes,                though the section 114 request in
                                            given the low-risk determination that                   equipment, input materials, control                   electronic format and that were gathered
                                            the EPA has already made.                               devices, etc.), then staff used such a                following the methods, instruction and
                                               Response: The EPA disagrees that the                 source to estimate emissions from                     conditions described in the section 114
                                            UFIP emission factors led to a                          another similar source. If not, staff                 request and because these data reflected
                                            significant overestimation of emissions                 searched for other relevant information               the most current year. The fenceline
                                            from UFIP sources. The emission factors                 to estimate emissions. Whenever                       monitoring requirements are based on
                                            for UFIP sources were developed from                    possible, the original source of data                 evaluation all the available fenceline
                                            the literature, first principles,                       referenced by the documents was                       monitoring data that EPA received from
                                            discussions with the II&S industry, or a                obtained and reviewed; these references               16 monitoring sites. EPA considered the
                                            combination of all three. The emission                  are cited in the ‘‘Example Facility                   variability across all 16 sites to
                                            factors used for most UFIP sources are                  memorandum’’ along with the 1995 EPA                  determine the appropriate action level,
                                            described in the memorandum titled                      AP–42 document. Also, where available,                which is described in detail in the
                                            Development of Emissions Estimates for                  AP–42 emission factor quality ratings                 proposed rule preamble published on
                                            Fugitive or Intermittent HAP Emission                   were provided. In some cases, none of                 July 31, 2023 (88 FR 49402). Regarding
                                            Sources for an Example Integrated Iron                  the available literature provided                     the work practice standards for Bell
                                            and Steel Manufacturing Industry                        emission factors considered appropriate               Leaks, beaching and unplanned
                                            Facility for Input to the RTR Risk                      for today’s industry. In these cases, the             openings, those standards wer
                                            Assessment (Docket ID Item No. EPA–                     EPA developed emission factors from                   developed using data collected through
                                            HQ–OAR–2002–0083–0956). The                             basic scientific principles, industry data            the section 114 requests along with
                                            emission factor used for bell leaks was                 and feedback, emission factors for                    additional data and information
                                            lower than the emission factor used in                  similar sources, and the EPA’s                        collected through public comments. For
                                            2019 after incorporating previous                       knowledge of the process. Further                     more details, see the technical memos
                                            feedback from industry that the 2019                    explanation and discussion of how                     cited in responses above.
                                            emission factor for bell leaks was an                   emissions were estimated are available                   Comment: Commenters stated that the
                                            overestimation. The emission factor                     in the Development of Emissions                       EPA should expand the proposed
                                            used for bell leaks is described in the                 Estimates for Fugitive or Intermittent                standards to include best work practices
                                            memorandum titled Unmeasured                            HAP Emission Sources for an Example                   that reduce toxic emissions from steel
                                            Fugitive and Intermittent Particulate                   Integrated Iron and Steel Manufacturing               mills at a minimum by 65% as was
                                            Emissions and Cost Impacts for                          Industry Facility for Input to the RTR                shown possible in 2019. Commenters
                                            Integrated Iron and Steel Facilities                    Risk Assessment (Example facility                     stated that the EPA should ensure air
                                            under 40 CFR part 63, subpart FFFFF                     memorandum) and/or the UFIP                           monitoring and testing includes ALL 12
                                            (Docket ID Item No. EPA–HQ–OAR–                         memorandum cited previously in this                   toxic emissions, not simply chromium,
                                            2002–0083–1447), this document is also                  preamble, which are available in the                  as currently proposed.
                                            referred to as the ‘‘UFIP memorandum’’                  docket for this action.                                  Response: The change from the 65
                                            elsewhere in this preamble.                                Comment: Commenters stated the                     percent emission reduction estimated in
                                               The PM emission factors for UFIP and                 EPA must consider additional data in                  2019 to the emission reductions
                                            capture and control efficiencies for                    setting limits. Although the EPA                      calculated for this rule is primarily due
                                            control devices were taken primarily                    collected data in 2022 from the eight                 to calculation improvements based on
                                            from a relatively recent (2006) EPA                     impacted facilities, the commenters                   newly received data rather than changes
                                            document. However, this document                        urged the EPA to compile and consider                 to the set of work practices published.
                                            used as its primary source of data the                  additional data before finalizing these               The EPA is finalizing many of the same
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                                            1995 update of the EPA’s AP–42 section                  2023 amendments. The limited data                     UFIP work practices that were
                                            for the II&S manufacturing industry                     collection did not reflect the full range             published for comment in 2019.
                                            (section 12.5), which relied upon even                  of variability due to seasonal effects and            However, through the 2022 section 114
                                            older (1970) data in some cases.                        variable operating scenarios. While                   collection the EPA received information
                                            However, because the 2006 EPA                           much of the industry meets the                        about work practices that are currently
                                            document was developed by the EPA                       proposed limits at times, the variability             being utilized by facilities. The data


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                                            showed that a subset of the facilities are                  portion of this rule to operate                              aspect of EPA’s overall approach to this
                                            already utilizing some of the UFIP work                     independently of and to be severable                         source category could be implemented
                                            practices that are being finalized, which                   from the rest of the rule.                                   even in the absence of any one or more
                                            was not taken into account in the                             First, each set of standards rests on                      of the other elements included in this
                                            baseline emissions estimate conducted                       stand-alone scientific determinations                        final rule.
                                            in 2019. In the emissions estimate                          that do not rely on judgments made in                           Accordingly, EPA finds that each set
                                            conducted for this rulemaking, baseline                     other portions of the rule. For example,                     of standards in this final rule is
                                            emissions were adjusted based on                            our judgments regarding the 112(d)(2)–                       severable from and can operate
                                            facility-specific information on work                       (3) MACT Standard for planned bleeder                        independently of each other set of
                                            practices that are already in use,                          valve openings rest on the best                              standards, and at a minimum, that the
                                            resulting in lower baseline emissions. If                   performing units’ historical data, based                     MACT emissions standards, as a group,
                                            a facility is already using a work                          on opacity values; in contrast, our                          are severable from the 112(d)(6)
                                            practice that is being finalized in this                    judgments regarding 112(d)(6) work                           technology update standards (which
                                            rulemaking, the percent reduction of                        practice standards for the basic oxygen                      include the fenceline monitoring
                                            emissions estimated for that work                           process furnace rest on different                            requirement).
                                            practice was also removed from the total                    analyses, including updates to industry
                                                                                                                                                                     H. What are the effective and
                                            estimated emission reduction for that                       standards in practices. Thus, our
                                                                                                                                                                     compliance dates?
                                            facility. The estimated baseline                            assessment that the 112(d)(2)–(3) MACT
                                            emissions and emission reductions are                       standards are feasible and appropriate is                       All affected facilities must continue to
                                            described in the memorandum titled                          fully independent of our judgments                           comply with the previous provisions of
                                            Unmeasured Fugitive and Intermittent                        about the 112(d)(6) technology-review-                       40 CFR part 63, subpart FFFFF until the
                                            Particulate Emissions and Cost Impacts                      update standards, and vice versa.                            applicable compliance date of this final
                                            for Integrated Iron and Steel Facilities                      Further, EPA also finds that the                           rule. This final action meets the
                                            under 40 CFR part 63, subpart FFFFF                         implementation of each set of CAA                            definition in 5 U.S.C. 804(2), so the
                                            (Docket ID Item No. EPA–HQ–OAR–                             112(d)(2)–(3) MACT standards and each                        effective date of the final rule will be 60
                                            2002–0083–1447).                                            set of 112(d)(6) technology updates,                         days after the promulgation date as
                                                                                                        including monitoring requirements, is                        specified in the Congressional Review
                                            G. Severability of Standards
                                                                                                        independent. For example, there is                           Act. See 5 U.S.C. 801(a)(3)(A). The
                                              This final rule includes MACT                             nothing precluding a source from                             compliance dates are in Table 5. As
                                            standards promulgated under CAA                             complying with its unplanned bleeder-                        shown in Table 5, EPA revised
                                            section 112(d)(2)–(3), as well as targeted                  valve-opening MACT limit, even if that                       compliance dates for some of the final
                                            updates to existing standards and work                      source does not have any data from its                       rule requirements. For explanation of
                                            practices promulgated under section                         fenceline monitors (which measure                            revised compliance dates, see section 6
                                            112(d)(6). We intend each separate                          chromium), and vice versa. Thus, each                        of the RTC.
                                                                                      TABLE 5—SUMMARY OF COMPLIANCE DATES FOR THE FINAL RULE
                                                             Source(s)                               Rule requirement                         Proposed compliance date                       Final compliance date

                                            All affected sinter plant windbox            New emissions limits for mercury, HCl,         6 months after the promulgation of the      3 years after the promulgation date of
                                               sources that commence construction          COS, D/F, and PAH.                             final rule.                                 the final rule.
                                               or reconstruction on or before July
                                               31, 2023.
                                            All affected sources that commence           Fenceline monitoring requirements .......      Begin 1 year after the promulgation of      Begin 1 year after the promulgation of
                                               construction or reconstruction on or                                                       the fenceline method for metals or 2        the fenceline method for metals or 2
                                               before July 31, 2023.                                                                      years after the promulgation date of        years after the promulgation date of
                                                                                                                                          the final rule, whichever is later.         the final rule, whichever is later.
                                            All affected sources that commence           Opacity limits for Planned Openings,           12 months after the promulgation date       12 months after the promulgation date
                                               construction or reconstruction on or        Work Practices for Bell Leaks, and             of the final rule.                          of the final rule.
                                               before July 31, 2023.                       work practices for BOPF Shop.
                                            All affected sources that commence           Work Practices and Limits for Un-              12 months after the promulgation date       24 months after the promulgation date
                                               construction or reconstruction on or        planned Openings, Work Practices               of the final rule.                          of the final rule.
                                               before July 31, 2023.                       for Beaching, and Opacity limit for
                                                                                           Slag Processing.
                                            All affected BF and BOPF sources that        New emissions limits for HCl, THC,             6 months after the promulgation date of     3 years after the promulgation date of
                                               commence construction or recon-             and D/F (see Table 4).                         the final rule.                             the final rule.
                                               struction on or before July 31, 2023.
                                            All affected sources that commence           All new and revised provisions .............   Effective date of the final rule (or upon   Effective date of the final rule (or upon
                                               construction or reconstruction after                                                       startup, whichever is later).               startup, whichever is later).
                                               July 31, 2023.



                                            IV. Summary of Cost, Environmental,                         processes: sinter production, iron                           facilities subject to this NESHAP, and
                                            and Economic Impacts                                        production, iron preparation (hot metal                      one idle facility.
                                            A. What are the affected sources?                           desulfurization), and steel production.                      B. What are the air quality impacts?
                                                                                                        The iron production process includes
                                              The affected sources are facilities in                    the production of iron in BFs by the                           We project emissions reductions of
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                                            the Integrated Iron and Steel                               reduction of iron-bearing materials with                     about 64 tpy of HAP metals and about
                                            Manufacturing Facilities source                             a hot gas. The steel production process                      473 tpy of PM2.5 from UFIP sources in
                                            category. This includes any facility                        includes the BOPF. Based on the data                         the Integrated Iron and Steel
                                            engaged in producing steel from iron                        we have, there are eight operating                           Manufacturing Facilities source category
                                            ore. Integrated iron and steel                              integrated iron and steel manufacturing                      due to the new and revised standards
                                            manufacturing includes the following                                                                                     for UFIP sources.


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                                            C. What are the cost impacts?                           D. What are the economic impacts?                     discussion of the health effects
                                                                                                       The EPA conducted an economic                      associated with HAP emitted from
                                               The estimated capital costs are the                                                                        sources subject to control under the rule
                                            same as the proposed estimate at $5.4M                  impact analysis for the final rule in the
                                                                                                    Regulatory Impact Analysis (RIA),                     in section 4.2 of the RIA, available in
                                            and annualized costs are $2.8M per year                                                                       the docket for this action. The EPA
                                                                                                    which is available in the docket for this
                                            for the source category for the new UFIP                                                                      remains committed to improving
                                                                                                    action. If the compliance costs, which
                                            control requirements. Also, compliance                                                                        methods for estimating HAP-reduction
                                                                                                    are key inputs to an economic impact
                                            testing for all the new standards is                                                                          benefits by continuing to explore
                                                                                                    analysis, are small relative to the
                                            estimated to cost the same as the                       receipts of the affected industries, then             additional aspects of HAP-related risk
                                            proposed estimate at about $1.7M once                   the impact analysis may consist of a                  from the integrated iron and steel
                                            every 5 years for the source category                   calculation of annual (or annualized)                 manufacturing sector, including the
                                            (which equates to about an average of                   costs as a percent of sales for affected              distribution of that risk.
                                            roughly $320,000 per year). The                                                                                  The opacity limits and UFIP work
                                                                                                    parent companies. This type of analysis
                                            estimated cost breakdown for the                                                                              practices are also estimated to reduce
                                                                                                    is often applied when a partial
                                            fenceline monitoring requirement is the                                                                       PM2.5 emissions by about 473 tpy for the
                                                                                                    equilibrium, or more complex economic                 source category. The EPA estimated
                                            same as proposed at $25,000 capital cost                impact analysis approach, is deemed
                                            and $41,100 annual operating costs per                                                                        monetized benefits related to avoided
                                                                                                    unnecessary, given the expected size of               premature mortality and morbidity
                                            monitor, $100,000 capital costs and                     the impacts. The annualized cost per
                                            $164,000 annual operating costs per                                                                           associated with reduced exposure to
                                                                                                    sales for a company represents the                    PM2.5 for 2026–2035. The present-value
                                            facility, and $800,000 capital costs and                maximum price increase in the affected                (PV) of the short-term benefits for the
                                            $1.3M annual operating costs for the                    product or service needed for the                     rule are estimated to be $1.8 billion at
                                            source category (assumes 8 operating                    company to completely recover the                     a 3 percent discount rate and $1.2
                                            facilities). Additional monitoring,                     annualized costs imposed by the                       billion at a 7 percent discount rate with
                                            recordkeeping, and reporting                            regulation. We conducted a cost-to-sales              an equivalent annualized value (EAV) of
                                            requirements associated with the final                  analysis to estimate the economic                     $200 million and $170 million,
                                            rule are expected to cost the same as the               impacts of this final action, given that              respectively. The EAV represents a flow
                                            proposed estimate at $7,500 per facility                the EAV of the compliance costs over                  of constant annual values that would
                                            per year ($60,000 for the source category               the period 2026–2035 are $5.1 million                 yield a sum equivalent to the PV. The
                                            per year, assuming eight facilities). The               using a 7 percent or $5.3 million using               PV of the long-term benefits for the rule
                                            cost estimates were primarily revised in                a 3 percent discount rate in 2022                     range are estimated to be $3.7 billion at
                                            response to modifications of the rule                   dollars, which is small relative to the               a 3 percent discount rate and $2.6
                                            requirements, with some BTF                             revenues of the steel industry.                       billion at a 7 percent discount rate with
                                            components being substituted for MACT                      There are two parent companies                     an EAV of $420 million and $340
                                            floor options, as well as in response to                directly affected by the rule: Cleveland-             million, respectively. All estimates are
                                            contractor revisions. Additional                        Cliffs, Inc. and U.S. Steel. Each reported            reported in 2022 dollars. For the full set
                                            adjustments were made to recategorize                   greater than $20 billion in revenue in                of underlying calculations see the
                                            some annual costs that were initially                   2021. The EPA estimated the annualized                Integrated Iron and Steel Benefits
                                            miscategorized as capital costs. Based                  compliance cost each firm is expected to              workbook, available in the docket for
                                            on the comments received, emission                      incur and determined the estimated                    this action.
                                            limits for sinter plants were revised to                cost-to-sales ratio for each firm is less
                                                                                                    than 0.02 percent. Therefore, the                     F. What analysis of environmental
                                            reflect the installation of ACI controls.                                                                     justice did we conduct?
                                            ACI controls on the sinter plants are                   projected economic impacts of the
                                            expected to cost $950,000 in total                      expected compliance costs of the rule                    To examine the potential for any EJ
                                            capital cost and $2.3 million in total                  are likely to be small. The EPA also                  issues that might be associated with
                                            annual cost. The total estimated capital                conducted a small business screening to               Integrated Iron and Steel Manufacturing
                                                                                                    determine the possible impacts of the                 Facilities sources, we performed a
                                            costs are $7.1 million and total
                                                                                                    rule on small businesses. Based on the                proximity demographic assessment,
                                            estimated annualized costs are $6.7
                                                                                                    Small Business Administration size                    which is an assessment of individual
                                            million for all the requirements for the
                                                                                                    standards and Cleveland-Cliffs, Inc. and              demographic groups of the populations
                                            source category. However, annual costs
                                                                                                    U.S. Steel employment information, this               living within 5 kilometers (km) and 50
                                            could decrease after facilities complete                                                                      km of the facilities. The EPA then
                                                                                                    source category has no small businesses.
                                            2 years of fenceline monitoring because                                                                       compared the data from this assessment
                                            we have included a sunset provision                     E. What are the benefits?
                                                                                                                                                          to the national average for each of the
                                            whereby if facilities remain below the                    The UFIP emissions work practices to                demographic groups. This assessment
                                            one half of the action level for 2 full                 reduce HAP emissions (with concurrent                 did not inform and was not used to
                                            years, they can request to terminate the                control of PM2.5) are anticipated to                  develop the amended standards
                                            fenceline monitoring. Termination of                    improve air quality and the health of                 established in the final action. The
                                            the fenceline monitoring in no way                      persons living in surrounding                         amended standards were established
                                            impacts the requirement for facilities to               communities. The opacity limits and                   based on the technical and scientific
                                            meet all other obligations under this                   UFIP work practices are expected to                   determinations described herein.
                                            subpart including the general duty to                   reduce about 64 tpy of HAP metal                         The EPA defines EJ as ‘‘the just
                                            minimize emissions of 40 CFR                            emissions, including emissions of                     treatment and meaningful involvement
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                                            63.7810(d). There may be some energy                    manganese, lead, arsenic, and                         of all people regardless of income, race,
                                            savings from reducing leaks of BF gas                   chromium. Due to methodology and                      color, national origin, Tribal affiliation,
                                            from bells, which is one of the work                    data limitations, we did not attempt to               or disability, in agency decision-making
                                            practices described in this preamble,                   monetize the health benefits of                       and other Federal activities that affect
                                            however those potential savings have                    reductions in HAP in this analysis.                   human health and the environment so
                                            not been quantified.                                    Instead, we are providing a qualitative               that people: (i) are fully protected from


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                                            disproportionate and adverse human                                          present opportunities to address                                      below or near their respective national
                                            health and environmental effects                                            existing disproportionate impacts on                                  averages.
                                            (including risks) and hazards, including                                    communities with EJ concerns through                                     Within 50 km of the nine sources
                                            those related to climate change, the                                        this action under development.                                        within the Integrated Iron and Steel
                                            cumulative impacts of environmental                                           The EPA’s EJ technical guidance                                     Manufacturing Facilities category, the
                                            and other burdens, and the legacy of                                        states that ‘‘[t]he analysis of potential EJ                          percent of the population that is Black
                                            racism or other structural or systemic                                      concerns for regulatory actions should                                is above the national average (20 percent
                                            barriers; and (ii) have equitable access to                                 address three questions: (A) Are there                                versus 12 percent). Within 50 km the
                                            a healthy, sustainable, and resilient                                       potential EJ concerns associated with                                 income demographics are similar to the
                                            environment in which to live, play,                                         environmental stressors affected by the                               national averages. Other demographics
                                            work, learn, grow, worship, and engage                                      regulatory action for population groups                               for the populations living within 50 km
                                            in cultural and subsistence practices.’’ 5                                                                                                        are below or near the respective national
                                                                                                                        of concern in the baseline? (B) Are there
                                            In recognizing that communities with EJ                                                                                                           averages.
                                                                                                                        potential EJ concerns associated with
                                            concerns often bear an unequal burden                                                                                                                The methodology and the results of
                                                                                                                        environmental stressors affected by the
                                            of environmental harms and risks, the                                                                                                             the demographic analysis are presented
                                                                                                                        regulatory action for population groups
                                            EPA continues to consider ways of                                                                                                                 in the document titled Analysis of
                                                                                                                        of concern for the regulatory option(s)
                                            protecting them from adverse public                                                                                                               Demographic Factors for Populations
                                                                                                                        under consideration? (C) For the
                                            health and environmental effects of air                                                                                                           Living Near Integrated Iron and Steel
                                                                                                                        regulatory option(s) under
                                            pollution.                                                                                                                                        Facilities, which is available in the
                                                                                                                        consideration, are potential EJ concerns
                                               For purposes of analyzing regulatory                                                                                                           docket for this action.
                                                                                                                        created or mitigated compared to the
                                            impacts, the EPA relies upon its June                                                                                                                As discussed in other subsections of
                                                                                                                        baseline?’’[1]
                                            2016 ‘‘Technical Guidance for Assessing                                                                                                           the impacts of this action, in this action
                                            Environmental Justice in Regulatory                                           The results of the proximity                                        the EPA is adding requirements for
                                            Analysis,’’ which provides                                                  demographic analysis (see Table 6)                                    facilities to improve UFIP emission
                                            recommendations that encourage                                              indicate that, for populations within 5                               control resulting in reductions of both
                                            analysts to conduct the highest quality                                     km of the nine integrated iron and steel                              metal HAP and PM2.5. We estimate that
                                            analysis feasible, recognizing that data                                    facilities, the percent of the population                             all facilities will achieve reductions of
                                            limitations, time, resource constraints,                                    that is Black is more than twice the                                  HAP emissions as a result of this rule,
                                            and analytical challenges will vary by                                      national average (27 percent versus 12                                including the facilities at which the
                                            media and circumstance. The Technical                                       percent). In addition, the percentage of                              percentage of the population living in
                                            Guidance states that a regulatory action                                    the population that is living below the                               close proximity who are Black and
                                            may involve potential EJ concerns if it                                     poverty level (29 percent) and living                                 below poverty level is greater than the
                                            could: (1) create new disproportionate                                      below 2 times the poverty level (52                                   national average. The rule changes will
                                            impacts on communities with EJ                                              percent) is well above the national                                   have beneficial effects on air quality and
                                            concerns; (2) exacerbate existing                                           average (13 percent and 29 percent,                                   public health for populations exposed to
                                            disproportionate impacts on                                                 respectively). Other demographics for                                 emissions from integrated iron and steel
                                            communities with EJ concerns; or (3)                                        the populations living within 5 km are                                facilities.

                                                    TABLE 6—PROXIMITY DEMOGRAPHIC ASSESSMENT RESULTS FOR INTEGRATED IRON AND STEEL MANUFACTURING
                                                                                             FACILITIES
                                                                                                                                                                                                           Population        Population within
                                                                                               Demographic group                                                                       Nationwide        within 50 km of     5 km of 9 facilities
                                                                                                                                                                                                            9 facilities

                                            Total Population ...............................................................................................................            329,824,950             18,966,693              478,761

                                                                                                                                                                                                    Race and Ethnicity by Percent

                                            White ................................................................................................................................              60                      63                    52
                                            Black ................................................................................................................................               12                     20                   27
                                            Native American ..............................................................................................................                      0.6                    0.1                   0.2
                                            Hispanic or Latino (includes white and nonwhite) ...........................................................                                         19                     10                    16
                                            Other and Multiracial .......................................................................................................                         9                      7                     5

                                                                                                                                                                                                         Income by Percent

                                            Below Poverty Level ........................................................................................................                        13                     13                     29
                                            Above Poverty Level ........................................................................................................                        87                     87                     71
                                            Below 2x Poverty Level ...................................................................................................                          29                     28                     52
                                            Above 2x Poverty Level ...................................................................................................                          71                     72                     48

                                                                                                                                                                                                        Education by Percent
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                                            Over 25 and without a High School Diploma ..................................................................                                        12                      9                     18
                                            Over 25 and with a High School Diploma .......................................................................                                      88                     91                     82




                                              5 https://www.federalregister.gov/documents/

                                            2023/04/26/2023-08955/revitalizing-our-nations-
                                            commitment-to-environmental-justice-for-all.

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                                                    TABLE 6—PROXIMITY DEMOGRAPHIC ASSESSMENT RESULTS FOR INTEGRATED IRON AND STEEL MANUFACTURING
                                                                                        FACILITIES—Continued
                                                                                                                                                                                                    Population          Population within
                                                                                            Demographic group                                                                   Nationwide        within 50 km of       5 km of 9 facilities
                                                                                                                                                                                                     9 facilities

                                                                                                                                                                                         Linguistically Isolated by Percent

                                            Linguistically Isolated .......................................................................................................                  5                      3                     6
                                              Notes:
                                              • The nationwide population count and all demographic percentages are based on the Census’ 2016–2020 American Community Survey five-
                                            year block group averages and include Puerto Rico. Demographic percentages based on different averages may differ. The total population
                                            counts are based on the 2020 Decennial Census block populations.
                                              • To avoid double counting, the ‘‘Hispanic or Latino’’ category is treated as a distinct demographic category for these analyses. A person is
                                            identified as one of five racial/ethnic categories above: White, African American, Native American, Other and Multiracial, or Hispanic/Latino. A
                                            person who identifies as Hispanic or Latino is counted as Hispanic/Latino for this analysis, regardless of what race this person may have also
                                            identified as in the Census.


                                               In addition to the analyses described                                   Estimated number of respondents: 8                              defined by the U.S. Small Business
                                            above, the EPA completed a risk-based                                   facilities.                                                        Administration.
                                            demographics analysis for the residual                                     Frequency of response: One time.                                D. Unfunded Mandates Reform Act
                                            risk and technology review (RTR)                                           Total estimated burden: The annual                              (UMRA)
                                            proposed rule (84 FR 42704, August 16,                                  recordkeeping and reporting burden for
                                            2019) and the 2020 RTR final rule (85                                   facilities to comply with all of the                                 This action does not contain an
                                            FR 42074, July 13, 2020). A description                                 requirements in the NESHAP is                                      unfunded mandate of $100 million or
                                            of the demographic analyses and the                                     estimated to be 30,400 hours (per year).                           more as described in UMRA, 2 U.S.C.
                                            results are provided in those two                                       Burden is defined at 5 CFR 1320.3(b).                              1531–1538, and does not significantly or
                                            Federal Register notices.                                                  Total estimated cost: The annual                                uniquely affect small governments. This
                                                                                                                    recordkeeping and reporting cost for all                           action imposes no enforceable duty on
                                            V. Statutory and Executive Order                                                                                                           any state, local, or Tribal governments
                                            Reviews                                                                 facilities to comply with all of the
                                                                                                                    requirements in the NESHAP is                                      or the private sector.
                                              Additional information about these                                    estimated to be $3,950,000 per year, of                            E. Executive Order 13132: Federalism
                                            statutes and Executive Orders can be                                    which $3,140,000 per year is for this
                                            found at https://www.epa.gov/laws-                                                                                                           This action does not have federalism
                                                                                                                    final rule, and $803,000 is for other                              implications. It will not have substantial
                                            regulations/laws-and-executive-orders.                                  costs related to continued compliance                              direct effects on the states, on the
                                            A. Executive Order 12866: Regulatory                                    with the NESHAP including $108,000                                 relationship between the National
                                            Planning and Review and Executive                                       for paperwork associated with operation                            Government and the states, or on the
                                            Order 13563: Improving Regulation and                                   and maintenance requirements.                                      distribution of power and
                                            Regulatory Review                                                          An agency may not conduct or                                    responsibilities among the various
                                                                                                                    sponsor, and a person is not required to                           levels of government.
                                              This action is a ‘‘significant regulatory                             respond to, a collection of information
                                            action’’ as defined under section 3(f)(1)                               unless it displays a currently valid OMB                           F. Executive Order 13175: Consultation
                                            of Executive Order 12866, as amended                                    control number. The OMB control                                    and Coordination With Indian Tribal
                                            by Executive Order 14094. Accordingly,                                  numbers for the EPA’s regulations in 40                            Governments
                                            EPA, submitted this action to the Office                                CFR are listed in 40 CFR part 9.                                     This action does not have tribal
                                            of Management and Budget (OMB) for                                         When OMB approves this ICR, the                                 implications as specified in Executive
                                            Executive Order 12866 review. Any                                       Agency will announce that approval in                              Order 13175. It will not have substantial
                                            changes made in response to                                             the Federal Register and publish a                                 direct effects on tribal governments, on
                                            recommendations received as part of                                     technical amendment to 40 CFR part 9                               the relationship between the Federal
                                            Executive Order 12866 review have                                       to display the OMB control number for                              government and Indian tribes, or on the
                                            been documented in the docket.                                          the approved information collection                                distribution of power and
                                            B. Paperwork Reduction Act (PRA)                                        activities contained in this final rule.                           responsibilities between the Federal
                                                                                                                    C. Regulatory Flexibility Act (RFA)                                government and Indian tribes. No tribal
                                              The information collection activities                                                                                                    governments own facilities subject to
                                            in this final action have been submitted                                   I certify that this action will not have                        the NESHAP. Thus, Executive Order
                                            for approval to OMB under the PRA.                                      a significant economic impact on a                                 13175 does not apply to this action.
                                            The information collection request (ICR)                                substantial number of small entities
                                            document that the EPA prepared has                                      under the RFA. This action will not                                G. National Technology Transfer and
                                            been assigned EPA ICR number 2003.10.                                   impose any requirements on small                                   Advancement Act (NTTAA) and 1 CFR
                                            You can find a copy of the ICR in the                                   entities. The Agency confirmed through                             Part 51
                                            docket for this rule, and it is briefly                                 responses to a CAA section 114                                        This action involves technical
                                            summarized here.                                                        information request that there are only                            standards. Therefore, the EPA
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                                              Respondents/affected entities:                                        eight integrated iron and steel                                    conducted searches for the Integrated
                                            Integrated iron and steel manufacturing                                 manufacturing facilities currently                                 Iron and Steel Manufacturing Facilities
                                            facilities.                                                             operating in the United States and that                            NESHAP through the Enhanced
                                              Respondent’s obligation to respond:                                   these plants are owned by two parent                               National Standards Systems Network
                                            Mandatory (40 CFR part 63, subpart                                      companies that do not meet the                                     (NSSN) Database managed by the
                                            FFFFF).                                                                 definition of small businesses, as                                 American National Standards Institute


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                                            (ANSI). We also conducted voluntary                     SW–846 Method 9071B not already                       equivalent to EPA Method 320 with
                                            consensus standards (VCS)                               incorporated by reference in this                     caveats. ASTM D6348–12 (R2020) is a
                                            organizations and accessed and                          subpart. The search identified one VCS                revised version of ASTM D6348–
                                            searched their databases. We conducted                  that was potentially applicable for this              03(2010) and includes a new section on
                                            searches for EPA Methods 1, 2, 2F, 2G,                  rule in lieu of EPA Method 29. After                  accepting the results from direct
                                            3, 3A, 3B, 4, 5, 5D, 9, 17, 23, 25A, 26A,               reviewing the available standard, the                 measurement of a certified spike gas
                                            29, and 30B of 40 CFR part 60, appendix                 EPA determined that the VCS identified                cylinder, but still lacks the caveats we
                                            A, 320 of 40 CFR part 63 appendix, and                  for measuring emissions of pollutants                 placed on the D6348–03(2010) version.
                                            SW–846 Method 9071B. During the                         subject to emissions standards in the                 We are finalizing that the test plan
                                            EPA’s VCS search, if the title or abstract              rule would not be practical due to lack               preparation and implementation in the
                                            (if provided) of the VCS described                      of equivalency. The EPA incorporates                  Annexes to ASTM D 6348–12 (R2020),
                                            technical sampling and analytical                       by reference VCS ASTM D6348–12                        Annexes Al through A8 are mandatory;
                                            procedures that are similar to the EPA’s                (Reapproved 2020), ‘‘Standard Test                    and in ASTM D6348–12 (R2020) Annex
                                            referenced method, the EPA ordered a                    Method for Determination of Gaseous                   A5 (Analyte Spiking Technique), the
                                            copy of the standard and reviewed it as
                                                                                                    Compounds by Extractive Direct                        percent (%) R must be determined for
                                            a potential equivalent method. We
                                                                                                    Interface Fourier Transform (FTIR)                    each target analyte (Equation A5.5). We
                                            reviewed all potential standards to
                                                                                                    Spectroscopy,’’ as an acceptable                      are finalizing that, in order for the test
                                            determine the practicality of the VCS for
                                            this rule. This review requires                         alternative to EPA Method 320 of                      data to be acceptable for a compound,
                                            significant method validation data that                 appendix A to 40 CFR part 63 with                     %R must be 70% > R ≤ 130%. If the %R
                                            meet the requirements of EPA Method                     caveats requiring inclusion of selected               value does not meet this criterion for a
                                            301 for accepting alternative methods or                annexes to the standard as mandatory.                 target compound, the test data is not
                                            scientific, engineering, and policy                     The ASTM D6348–12 (R2020) method is                   acceptable for that compound and the
                                            equivalence to procedures in the EPA                    an extractive FTIR spectroscopy-based                 test must be repeated for that analyte
                                            referenced methods. The EPA may                         field test method and is used to quantify             (i.e., the sampling and/or analytical
                                            reconsider determinations of                            gas phase concentrations of multiple                  procedure should be adjusted before a
                                            impracticality when additional                          target compounds in emission streams                  retest). The %R value for each
                                            information is available for particular                 from stationary sources. This field test              compound must be reported in the test
                                            VCS.                                                    method provides near real time analysis               report, and all field measurements must
                                               No applicable VCS was identified for                 of extracted gas samples. In the                      be corrected with the calculated %R
                                            EPA Methods 1, 2, 2F, 2G, 3, 3A, 3B, 4,                 September 22, 2008, NTTAA summary,                    value for that compound by using the
                                            5, 5D, 9, 17, 23, 25A, 26A, 29, 30B and                 ASTM D6348–03(2010) was determined                    following equation:


                                                                                      Reported Results = stack Concentration
                                                                                                                 %R          = 100

                                               The ASTM D6348–12 (R2020) method                     Consensus Standard Results for                        For populations living within 5 km of
                                            is available at ASTM International, 1850                National Emission Standards for                       the nine integrated iron and steel
                                            M Street NW, Suite 1030, Washington,                    Hazardous Air Pollutants: Integrated                  facilities, the percent of the population
                                            DC 20036. See www.astm.org/.                            Iron and Steel Manufacturing, which is                that is Black is more than twice the
                                               The EPA is also incorporating by                     available in the docket for this action.              national average (27 percent versus 12
                                            reference Quality Assurance Handbook                      ASTM D7520–16 is already approved                   percent). Specifically, within 5 km of
                                            for Air Pollution Measurement Systems,                  for the location in which it appears in               six of the nine facilities, the percent of
                                            Volume IV: Meteorological                               the amendatory text.                                  the population that is Black is more
                                            Measurements, Version 2.0 (Final),                                                                            than 1.5 times the national average
                                                                                                    H. Executive Order 12898: Federal                     (ranging between 1.5 times and 7 times
                                            March 2008 (EPA–454/B–08–002). The
                                                                                                    Actions To Address Environmental                      the national average). The percentage of
                                            Quality Assurance Handbook for Air
                                                                                                    Justice in Minority Populations and                   the population that is living below the
                                            Pollution Measurement Systems;
                                                                                                    Low-Income Populations and Executive                  poverty level (29 percent) and living
                                            Volume IV: Meteorological
                                                                                                    Order 14096: Revitalizing Our Nation’s                below 2 times the poverty level (52
                                            Measurements is an EPA developed
                                                                                                    Commitment to Environmental Justice                   percent) is well above the national
                                            guidance manual for the installation,
                                                                                                    for All                                               average (13 percent and 29 percent,
                                            operation, maintenance and calibration
                                            of meteorological systems including the                   The EPA believes that the human                     respectively). Specifically, within 5 km
                                            wind speed and direction using                          health or environmental conditions that               of seven of the nine facilities, the
                                            anemometers, temperature using                          exist prior to this action result in or               percent of the population that is living
                                            thermistors, and atmospheric pressure                   have the potential to result in                       below the poverty level is more than 1.5
                                            using aneroid barometers, as well as the                disproportionate and adverse human                    times the national average (ranging from
                                            calculations for wind vector data for on-               health or environmental effects on                    1.5 times and 3 times the national
                                            site meteorological measurements. This                  communities with EJ concerns. For this                average). Other demographics for the
                                            VCS may be obtained from the EPA’s                      action the EPA conducted an                           populations living within 5 km are
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                                            National Service Center for                             assessment of the various demographic                 below or near the respective national
                                            Environmental Publications                              groups living near Integrated Iron and                averages.
                                            (www.epa.gov/nscep).                                    Steel facilities (as described in section                The EPA believes that this action is
                                               Additional information for the VCS                   V.F of this preamble) that might                      likely to reduce existing
                                            search and determination can be found                   potentially be impacted by emissions                  disproportionate and adverse effects on
                                                                                                                                                                                                       ER03AP24.045</GPH>




                                            in the memorandum, Voluntary                            from Integrated Iron and Steel Facilities.            communities with EJ concerns. This


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                                            action requires facilities to improve                   reference, Mercury, Reorting and                      § 63.7782 What parts of my plant does this
                                            UFIP emission control resulting in                      recordkeeping requirements.                           subpart cover?
                                            reductions of about 64 tpy of metal HAP                                                                       *      *     *     *     *
                                                                                                    Michael S. Regan,                                        (c) This subpart covers emissions
                                            and about 473 tpy PM2.5. We estimate
                                            that all facilities will achieve reductions             Administrator.                                        from the sinter plant windbox exhaust,
                                            of HAP emissions as a result of this rule,                For the reasons stated in the                       discharge end, and sinter cooler; the
                                            including the facilities at which the                   preamble, title 40, chapter I of the Code             blast furnace casthouse; the blast
                                            percentage of the population living in                  of Federal Regulations is amended as                  furnace stove; and the BOPF shop
                                            close proximity who are African                         follows:                                              including each individual BOPF and
                                            American and below poverty level is                                                                           shop ancillary operations (hot metal
                                            greater than the national average.                      PART 63—NATIONAL EMISSION                             transfer, hot metal desulfurization, slag
                                                                                                    STANDARDS FOR HAZARDOUS AIR                           skimming, and ladle metallurgy). This
                                              The information supporting this                       POLLUTANTS FOR SOURCE                                 subpart also covers fugitive and
                                            Executive Order review is contained in                  CATEGORIES                                            intermittent particulate emissions from
                                            sections IV and V of this preamble. The
                                                                                                                                                          blast furnace unplanned bleeder valve
                                            demographic analysis is available in a                  ■ 1. The authority citation for part 63               openings, blast furnace planned bleeder
                                            document titled Analysis of                             continues to read as follows:                         valve openings, blast furnace and BOPF
                                            Demographic Factors for Populations                                                                           slag processing, handling, and storage,
                                                                                                        Authority: 42 U.S.C. 4701, et seq.
                                            Living Near Integrated Iron and Steel                                                                         blast furnace bell leaks, beaching of iron
                                            Facilities, which is available in the                   Subpart A—General Provisions                          from blast furnaces, blast furnace
                                            docket for this action.                                                                                       casthouse fugitives, and BOPF shop
                                                                                                    ■ 2. Section 63.14 is amended by
                                            I. Executive Order 13045: Protection of                                                                       fugitives.
                                                                                                    revising paragraphs (i)(88) and (110) and                (d) A sinter plant, blast furnace, blast
                                            Children From Environmental Health
                                                                                                    paragraph (o) introductory text and                   furnace stove, or BOPF shop at your
                                            Risks and Safety Risks
                                                                                                    adding paragraph (o)(3) to read as                    integrated iron and steel manufacturing
                                               Executive Order 13045 (62 FR 19885,                  follows:                                              facility is existing if you commenced
                                            April 23, 1997) directs federal agencies                § 63.14    Incorporations by reference.               construction or reconstruction of the
                                            to include an evaluation of the health                                                                        affected source before July 13, 2001.
                                            and safety effects of the planned                       *      *     *    *    *                                 (e) A sinter plant, blast furnace, blast
                                                                                                       (i) * * *                                          furnace stove, or BOPF shop at your
                                            regulation on children in federal health
                                                                                                       (88) ASTM D6348–12 (Reapproved
                                            and safety standards and explain why                                                                          integrated iron and steel manufacturing
                                                                                                    2020), Determination of Gaseous
                                            the regulation is preferable to                                                                               facility is new if you commence
                                                                                                    Compounds by Extractive Direct
                                            potentially effective and reasonably                                                                          construction or reconstruction of the
                                                                                                    Interface Fourier Transform (FTIR)
                                            feasible alternatives. This action is not                                                                     affected source on or after July 13, 2001.
                                                                                                    Spectroscopy, including Annexes A1                    An affected source is reconstructed if it
                                            subject to Executive Order 13045
                                                                                                    through A8, Approved December 1;                      meets the definition of reconstruction in
                                            because the EPA does not believe the
                                                                                                    2020, IBR approved for §§ 63.365(b);                  § 63.2.
                                            environmental health risks or safety
                                                                                                    63.7825(g) and (h).
                                            risks addressed by this action present a                                                                      ■ 4. Amend § 63.7783 by revising
                                            disproportionate risk to children.                      *      *     *    *    *                              paragraph (a) introductory text and
                                                                                                       (110) ASTM D7520–16, Standard Test                 adding paragraph (g) to read as follows:
                                            J. Executive Order 13211: Actions                       Method for Determining the Opacity of
                                            Concerning Regulations That                             a Plume in the Outdoor Ambient                        § 63.7783 When do I have to comply with
                                            Significantly Affect Energy Supply,                     Atmosphere, approved April 1, 2016;                   this subpart?
                                            Distribution, or Use                                    IBR approved for §§ 63.1625(b); table 3                  (a) If you have an existing affected
                                                                                                    to subpart LLLLL; 63.7823(c) through                  source, you must comply with each
                                               This action is not a ‘‘significant                   (f), 63.7833(g); 63.11423(c).                         emission limitation, standard, and
                                            energy action’’ because it is not likely to                                                                   operation and maintenance requirement
                                            have a significant adverse effect on the                *      *     *    *    *
                                                                                                       (o) U.S. Environmental Protection                  in this subpart that applies to you by the
                                            supply, distribution or use of energy.                                                                        dates specified in paragraphs (a)(1) and
                                                                                                    Agency, 1200 Pennsylvania Avenue
                                            We have concluded that this action is                                                                         (2) of this section. This paragraph does
                                                                                                    NW, Washington, DC 20460; phone:
                                            not likely to have any adverse energy                                                                         not apply to the emission limitations for
                                                                                                    (202) 272–0167; website: www.epa.gov/
                                            effects because it contains no regulatory                                                                     BOPF group: mercury (Hg); sinter plant
                                                                                                    aboutepa/forms/contact-epa.
                                            requirements that will have an adverse                                                                        windbox: Hg, hydrochloric acid (HCl),
                                            impact on productivity, competition, or                 *      *     *    *    *
                                                                                                       (3) EPA–454/B–08–002, Quality                      carbonyl sulfide (COS); Blast Furnace
                                            prices in the energy sector.                                                                                  casthouse: HCl, total hydrocarbon
                                                                                                    Assurance Handbook for Air Pollution
                                            K. Congressional Review Act (CRA)                       Measurement Systems; Volume IV:                       (THC); Blast Furnace stove: HCl and
                                                                                                    Meteorological Measurements, Version                  total hydrocarbon (THC); primary
                                              This action is subject to the CRA, and                                                                      emission control system for a BOPF:
                                                                                                    2.0 (Final), Issued March 2008, IBR
                                            the EPA will submit the rule report to                                                                        2,3,7,8-tetrachlorodibenzo-p-dioxin
                                                                                                    approved for § 63.7792(b).
                                            each House of the Congress and to the                                                                         (2,3,7,8–TCDD) toxic equivalent (TEQ),
                                            Comptroller General of the United                       *      *     *    *    *
                                                                                                                                                          HCl, THC; fugitive and intermittent
                                            States. This action meets the criteria set                                                                    particulate sources.
                                                                                                    Subpart FFFFF—National Emission
                                            forth in 5 U.S.C. 804(2).                                                                                     *      *     *    *     *
                                                                                                    Standards for Hazardous Air Pollutants
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                                            List of Subjects in 40 CFR Part 63                      for Integrated Iron and Steel                            (g) If you have an existing affected
                                                                                                    Manufacturing Facilities                              source or a new or reconstructed
                                              Environmental protection, Air                                                                               affected source for which construction
                                            pollution control, Hazardous                            ■ 3. Amend § 63.7782 by revising                      or reconstruction commenced on or
                                            substances, Hydrogen chloride,                          paragraphs (c), (d), and (e) to read as               before July 31, 2023, each sinter plant
                                            Hydrogen fluoride, Incorporation by                     follows:                                              windbox, BF casthouse, BF stove,


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                                            primary emission control system for a                      (1) The owner or operator must                     is used that provides time-resolved
                                            BOPF, and fugitive and intermittent                     monitor for total chromium.                           measurements, the owner or operator
                                            particulate source at your facility must                   (2) The owner or operator must use a               must use an on-site meteorological
                                            be in compliance with the applicable                    sampling period and sampling                          station in accordance with the metals
                                            emission limits in table 1 of this subpart              frequency as specified in paragraphs                  fenceline test method applicable to this
                                            through performance testing under                       (a)(2)(i) through (iii) of this section.              subpart. Collect and record hourly
                                            § 63.7825, April 3, 2025, except for the                   (i) Sampling period. A 24-hour                     average meteorological data, including
                                            following:                                              sampling period must be used. A                       temperature, barometric pressure, wind
                                               (1) All affected sinter plant windbox                sampling period is defined as the period              speed and wind direction and calculate
                                            sources that commence construction or                   during active collection of a sample and              daily unit vector wind direction and
                                            reconstruction on or before July 31,                    does not include the time required to                 daily sigma theta.
                                            2023, must be in compliance with Hg,                    analyze the sample.                                      (2) For cases other than those
                                            HCl, COS, TEQ, and PAH emissions                           (ii) Sampling frequency. The                       specified in paragraph (c)(1) of this
                                            limits in table 1 to this subpart through               frequency of sample collection must be                section, the owner or operator must
                                            performance testing by April 3, 2027.                   samples at least every 6 calendar days,               collect and record sampling period
                                               (2) All affected BF and BOPF sources                 such that the beginning of each                       average temperature and barometric
                                            that commence construction or                           sampling period begins no greater than                pressure using either an on-site
                                            reconstruction on or before July 31,                    approximately 144 hours (±12 hours)                   meteorological station in accordance
                                            2023, must be in compliance with HCl,                   from the end of the previous sample.                  with the metals fenceline test method of
                                            THC, and TEQ emissions limits in table                     (iii) Sunset provision. When the                   this part or, alternatively, using data
                                            1 to this subpart through performance                   annual rolling average Dc remains less                from a National Weather Service (NWS)
                                            testing by April 3, 2027.                               than 0.05 mg/m3 for 24 months in                      meteorological station provided the
                                               (3) All affected sources that                        succession, a test waiver may be                      NWS meteorological station is within 40
                                            commence construction or                                requested from the Administrator to                   kilometers (25 miles) of the facility.
                                            reconstruction on or before July 31,                    remove or reduce fenceline sampling                      (3) If an on-site meteorological station
                                            2023 must be in compliance with work                    requirements. If the annual rolling                   is used, the owner or operator must
                                            practices and limits for unplanned                      average Dc exceeds 0.05mg/m3, the                     follow the calibration and
                                            openings, work practices for beaching,                  determination of 24 consecutive annual                standardization procedures for
                                            and the opacity limit for slag processing               average Dc months restarts.                           meteorological measurements in EPA–
                                            in table 1 to this subpart through                         (3) The owner or operator must                     454/B–08–002 (incorporated by
                                            performance testing (or through                         determine sample locations in                         reference, see § 63.14).
                                            reporting of number of unplanned                        accordance with paragraphs (b)(3)(i)                     (c) Within 45 days of completion of
                                            openings for limits applicable to                       through (v) of this section.                          each sampling period, the owner or
                                            unplanned openings shown in table 1)                       (i) The monitoring perimeter must be               operator must determine whether the
                                            by April 3, 2026.                                       located between the property boundary                 results are above or below the action
                                               (4) All affected sources that                        and the process unit(s), such that the                level as follows.
                                            commence construction or                                monitoring perimeter encompasses all                     (1) The owner or operator must
                                            reconstruction after July 31, 2023, must                potential sources of the target analyte(s)            determine the facility impact on the
                                            be in compliance with all new and                       specified in paragraph (a)(1) of this                 concentration (Dc) for each sampling
                                            revised provisions in table 1 to this                   section.                                              period according to either paragraph
                                            subpart through performance testing by                     (ii) The owner or operator must place              (d)(1)(i) or (ii) of this section, as
                                            April 3, 2024 or upon startup,                          a minimum of 4 samplers around the                    applicable.
                                            whichever is later.                                     monitoring perimeter.                                    (i) Except when near-field source
                                                                                                       (iii) To determine sampling locations,             correction is used as provided in
                                            ■ 5. Amend § 63.7791 by revising the
                                                                                                    measure the length of the monitoring                  paragraph (d)(1)(ii) of this section, the
                                            section heading to read as follows:
                                                                                                    perimeter.                                            owner or operator must determine the
                                            § 63.7791 How do I comply with the                         (A) Locate the point downwind of the               highest and lowest sample results
                                            requirements for the control of mercury                 prevailing wind direction.                            individually from the sample pool and
                                            from BOPF Groups?                                          (B) Divide the monitoring perimeter                calculate the Dc as the difference in
                                            *      *     *       *      *                           equally into 4 evenly spaced sampling                 these concentrations. Co-located
                                            ■ 6. Add § 63.7792 to read as follows:                  points, with one located in accordance                samples must be averaged together for
                                                                                                    with paragraph (a)(3)(iii)(A) of this                 the purposes of determining the
                                            § 63.7792 What fenceline monitoring                     section.                                              concentration at a particular sampling
                                            requirements must I meet?                                  (4) The owner or operator must follow              location, and, if applicable, for
                                               The owner or operator must conduct                   the procedures in of the fenceline                    determining Dc. The owner or operator
                                            sampling along the facility property                    metals test method to determine the                   must adhere to the following procedures
                                            boundary and analyze the samples in                     detection limit of the target analyte(s)              when one or more samples for the
                                            accordance with paragraphs (a) through                  and requirements for quality assurance                sampling period are below the method
                                            (g) of this section.                                    samples.                                              detection limit for a particular
                                               (a) Beginning either 1 year after                       (b) The owner or operator must collect             compound:
                                            promulgation of the test method for                     and record meteorological data                           (A) If the lowest detected value is
                                            fenceline sampling of metals applicable                 according to the applicable                           below detection, the owner or operator
                                            to this subpart or April 3, 2026                        requirements in paragraphs (b)(1)                     must use zero as the lowest sample
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                                            whichever is later, the owner or                        through (3) of this section.                          result when calculating Dc.
                                            operator must conduct sampling along                       (1) If monitoring is conducted under                  (B) If all sample results are below the
                                            the facility property boundary and                      paragraph (b) of this section, if a near-             method detection limit, the owner or
                                            analyze the samples in accordance with                  field source correction is used as                    operator must use the highest method
                                            the method and paragraphs (a)(1)                        provided in paragraph (f)(2) of this                  detection limit for the sample set as the
                                            through (3) of this section.                            section, or if an alternative test method             highest sample result and zero as the


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                                            lowest sample result when calculating                   determining that the action level has                 value for the next sampling period, for
                                            Dc.                                                     been exceeded, the owner or operator                  which the sampling start time begins
                                               (ii) When near-field source correction               must employ the appropriate more time                 after the completion of the initial
                                            is used as provided in paragraph (g) of                 resolute sampling techniques (e.g.,                   corrective actions, is greater than 0.1 mg/
                                            this section, the owner or operator must                continuous multi metals monitors) to                  m3. The owner or operator must submit
                                            determine Dc using the calculation                      locate the cause of the exceedance. If the            the corrective action plan to the
                                            protocols outlined in the approved site-                root cause is not identified after 28 days,           Administrator within 60 days after
                                            specific monitoring plan and in                         either the more time resolute monitor                 receiving the analytical results
                                            paragraph (g) of this section.                          must be relocated or an additional more               indicating that the Dc value for the
                                               (2) The owner or operator must                       time resolute monitor must be added.                  sampling period following the
                                            calculate the annual average Dc based                   Relocation or addition of extra monitors              completion of the initial corrective
                                            on the average of the Dc values for the                 must continue after each 28-day period                action is greater than 0.1 mg/m3.
                                            61 most recent sampling periods. The                    of nonidentification until the owner or                  (2) The owner or operator must
                                            owner or operator must update this                      operator can identify the root cause of               develop a corrective action plan if
                                            annual average value after receiving the                the exceedance.                                       complete implementation of all
                                            results of each subsequent sampling                        (4) If the underlying primary and                  corrective measures identified in the
                                            period.                                                 other contributing causes of the                      root cause analysis required by
                                               (3) The action level for chromium is                 exceedance are deemed to be under the                 paragraph (d) of this section will require
                                            0.1 mg/m3. If the annual average Dc                     control of the owner or operator, the                 more than 45 days. The owner or
                                            value (rounded to 1 significant figure) is              owner or operator must take appropriate               operator must submit the corrective
                                            greater than the action level, the                      corrective action as expeditiously as                 action plan to the Administrator no later
                                            concentration is above the action level,                possible to bring annual average                      than 60 days following the completion
                                            and the owner or operator must conduct                  fenceline concentrations back below the               of the root cause analysis required in
                                            a root cause analysis and corrective                    action level(s) set forth in paragraph                paragraph (d) of this section.
                                            action in accordance with paragraph (d)                 (c)(2)(3) of this section. At a minimum,                 (f) An owner or operator may request
                                            of this section.                                        the corrective actions taken must                     approval from the Administrator for a
                                               (d) Once any action level in paragraph               address the underlying primary and                    site-specific monitoring plan to account
                                            (c)(3) of this section has been exceeded,               other contributing cause(s) determined                for offsite upwind sources according to
                                            the owner or operator must take the                     in the root cause analysis to prevent                 the requirements in paragraphs (f)(1)
                                            following actions to bring the annual                   future exceedances from the same                      through (4) of this section.
                                            average Dc back below the action                        underlying cause(s).                                     (1) The owner or operator must
                                            level(s).                                                  (5) The root cause analysis must be                prepare and submit a site-specific
                                               (1) Within 5 days of updating the                    completed and initial corrective actions              monitoring plan and receive approval of
                                            annual average value as required in                     taken no later than 45 days after                     the site-specific monitoring plan prior to
                                            (c)(2) and determining that any action                  determining there is an exceedance of                 using the near-field source alternative
                                            level in paragraph (c)(3) of this section               an action level.                                      calculation for determining Dc provided
                                            has been exceeded (i.e., in no case                        (e) An owner or operator must                      in paragraph (f)(2) of this section. The
                                            longer than 50 days after completion of                 develop a corrective action plan if the               site-specific monitoring plan must
                                            the sampling period), the owner or                      conditions in either paragraph (e)(1) or              include, at a minimum, the elements
                                            operator must initiate a root cause                     (2) of this section are met. The                      specified in paragraphs (f)(1)(i) through
                                            analysis to determine appropriate                       corrective action plan must describe the              (v) of this section. The procedures in
                                            corrective action. A root cause analysis                corrective action(s) completed to date,               section 12 of Method 325A of appendix
                                            is an assessment conducted through a                    additional measures that the owner or                 A of this part are not required, but may
                                            process of investigation to determine the               operator proposes to employ to                        be used, if applicable, when
                                            primary underlying cause and all other                  expeditiously reduce annual average                   determining near-field source
                                            contributing causes to an exceedance of                 fenceline concentrations below the                    contributions.
                                            the action level(s) set forth in paragraph              action level set forth in paragraph (c)(3)               (i) Identification of the near-field
                                            (c)(3).                                                 of this section, and a schedule for                   source or sources.
                                               (2) The initial root cause analysis may              completion of these measures. The                        (ii) Location of the additional
                                            include, but is not limited to:                         corrective action plan must identify                  monitoring stations that must be used to
                                               (i) Visual inspection to determine the               actions to address the underlying                     determine the uniform background
                                            cause of the high emissions.                            primary and other contributing cause(s)               concentration and the near-field source
                                               (ii) Operator knowledge of process                   determined in the root cause analysis to              concentration contribution. Modeling
                                            changes (e.g., a malfunction or release                 prevent future exceedances from the                   may not be used in lieu of monitoring
                                            event).                                                 same underlying cause(s). The                         to identify uniform background
                                               (3) If the initial root cause cannot be              corrective action plan does not need to               concentration and near-field sources.
                                            identified using the type of techniques                 be approved by the Administrator.                        (iii) Identification of the fenceline
                                            described in paragraph (d)(2) of this                   However, if upon review, the                          monitoring locations impacted by the
                                            section, the owner or operator must                     Administrator disagrees with the                      near-field source. If more than one near-
                                            employ more frequent sampling and                       additional measures outlined in the                   field source is present, identify the near-
                                            analysis to determine the root cause of                 plan, the owner or operator must revise               field source or sources that are expected
                                            the exceedance.                                         and resubmit the plan within 7 calendar               to contribute to the concentration at that
                                               (i) The owner or operator may first                  days of receiving comments from the                   monitoring location.
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                                            employ additional monitoring points or                  Administrator.                                           (iv) A description of (including
                                            more frequent sampling to determine                        (1) The owner or operator must                     sample calculations illustrating) the
                                            the root cause of the exceedance.                       develop a corrective action plan if, upon             planned data reduction including the
                                               (ii) If the owner or operator has not                completion of the root cause analysis                 treatment of invalid data, data below
                                            determined the root cause of the                        and initial corrective actions required in            detection limits, and data collected
                                            exceedance within 30 days of                            paragraph (d) of this section, the Dc                 during calm wind periods; and


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                                            calculations to determine the near-field                   (i) The site-specific monitoring plan                 (vi) If more frequent monitoring is
                                            source concentration contribution for                   must be submitted to the Administrator                proposed, the adequacy of the
                                            each monitoring location.                               for approval.                                         description of and rationale for the
                                              (v) A detailed description of the                        (ii) The site-specific monitoring plan             measurement technique, measurement
                                            measurement technique, measurement                      must also be submitted to the following               location(s), the standard operation
                                            location(s), the standard operation                     address: U.S. Environmental Protection                procedure, measurement frequency,
                                            procedure, measurement frequency,                       Agency, Office of Air Quality Planning                recording frequency, measurement
                                            recording frequency, measurement                        and Standards, Sector Policies and                    detection limit, and data quality
                                            detection limit, and data quality                       Programs Division, U.S. EPA Mailroom                  indicators to ensure accuracy, precision,
                                            indicators to ensure accuracy, precision,               (E143–01), Attention: Integrated Iron                 and validity of the data.
                                            and validity of the data.                               and Steel Sector Lead, 109 T.W.                          (g) The owner or operator must
                                              (2) When an approved site-specific                    Alexander Drive, Research Triangle                    comply with the applicable
                                            monitoring plan is used, the owner or                   Park, NC 27711. Electronic copies in                  recordkeeping and reporting
                                            operator must determine Dc for                          lieu of hard copies may also be                       requirements in § 63.7841 and
                                            comparison with the action level using                  submitted to fencelineplan@epa.gov.                   § 63.7842.
                                            the requirements specified in                              (iii) The Administrator will approve                  (1) As outlined in § 63.7(f), the owner
                                            paragraphs (f)(2)(i) through (iii) of this              or disapprove the plan in 90 days. The                or operator may submit a request for an
                                            section.                                                plan is considered approved if the                    alternative test method. At a minimum,
                                              (i) For each monitoring location,                     Administrator either approves the plan                the request must follow the
                                            calculate Dci using the following                       in writing or fails to disapprove the plan            requirements outlined in paragraphs
                                            equation.                                               in writing. The 90-day period begins                  (f)(1)(i) through (vi) of this section.
                                                                                                    when the Administrator receives the
                                             Equation 1 to paragraph (f)(l)(i)                      plan.                                                    (i) The alternative method may be
                                                                                                       (iv) If the Administrator finds any                used in lieu of all or a partial number
                                                                                                    deficiencies in the site-specific                     of the sampling locations required
                                             ~Ci= MFCi - NFSi                                       monitoring plan and disapproves the                   under paragraph (a) of this section.
                                            Where:                                                  plan in writing, the owner or operator                   (ii) The alternative method must be
                                            Dci = The fenceline concentration, corrected            may revise and resubmit the site-                     validated according to Method 301 in
                                                 for background, at measurement location            specific monitoring plan following the                appendix A of this part or contain
                                                 i, micrograms per cubic meter (mg/m3).             requirements in paragraphs (f)(3)(i) and              performance-based procedures and
                                            MFCi = The measured fenceline                           (ii) of this section. The 90-day period               indicators to ensure self-validation.
                                                 concentration at measurement location i,           starts over with the resubmission of the                 (iii) The method detection limit must
                                                 mg/m3.                                             revised monitoring plan.                              nominally be at least three times below
                                            NFSi = The near-field source contributing
                                                 concentration at measurement location i               (4) The approval by the Administrator              the action level. The alternate test
                                                 determined using the additional                    of a site-specific monitoring plan will be            method must describe the procedures
                                                 measurements and calculation                       based on the completeness, accuracy,                  used to provide field verification of the
                                                 procedures included in the site-specific           and reasonableness of the request for a               detection limit.
                                                 monitoring plan, mg/m3. For monitoring             site-specific monitoring plan. Factors                   (iv) If the alternative test method will
                                                 locations that are not included in the             that the Administrator will consider in               be used to replace some or all samplers
                                                 site-specific monitoring plan as impacted          reviewing the request for a site-specific             required under paragraph (a) of this
                                                 by a near-field source, use NFSi = 0 mg/           monitoring plan include, but are not
                                                 m 3.                                                                                                     section, the spatial coverage must be
                                                                                                    limited to, those described in                        equal to or better than the spatial
                                               (ii) When one or more samples for the                paragraphs (f)(4)(i) through (v) of this              coverage provided under paragraph (a).
                                            sampling period are below the method                    section.
                                                                                                                                                             (v) For alternative test methods
                                            detection limit, adhere to the following                   (i) The identification of the near-field           capable of real time measurements (less
                                            procedures:                                             source or sources and evidence of how                 than a 5-minute sampling and analysis
                                               (A) If the concentration at the                      the sources impact the fenceline                      cycle), the alternative test method may
                                            monitoring location(s) used to                          concentrations.                                       allow for elimination of data points
                                            determine the near-field source                            (ii) The monitoring location selected              corresponding to outside emission
                                            contributing concentration is below the                 to determine the uniform background                   sources for purpose of calculation of the
                                            method detection limit, the owner or                    concentration or an indication that no                high point for the two week average.
                                            operator must use zero for the                          uniform background concentration                      The alternative test method approach
                                            monitoring location concentration when                  monitor will be used.                                 must have wind speed, direction, and
                                            calculating NFSi for that monitoring                       (iii) The location(s) selected for                 stability class of the same time
                                            period.                                                 additional monitoring to determine the                resolution and within the footprint of
                                               (B) If a fenceline monitoring location               near-field source concentration                       the instrument.
                                            sample result is below the method                       contribution.
                                            detection limit, the owner or operator                     (iv) The identification of the fenceline              (vi) For purposes of averaging data
                                            must use the method detection limit as                  monitoring locations impacted by the                  points to determine the Dc for the
                                            the sample result.                                      near-field source or sources.                         individual sampling period, all results
                                               (iii) Determine Dc for the monitoring                   (v) The appropriateness of the                     measured under the method detection
                                            period as the maximum value of Dci                      planned data reduction and calculations               limit must use the method detection
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                                            from all of the fenceline monitoring                    to determine the near-field source                    limit. For purposes of averaging data
                                            locations for that monitoring period.                   concentration contribution for each                   points for the individual sampling
                                               (3) The site-specific monitoring plan                monitoring location, including the                    period low sample result, all results
                                            must be submitted and approved as                       handling of invalid data, data below the              measured under the method detection
                                            described in paragraphs (f)(3)(i) through               detection limit, and data during calm                 limit must use zero.
                                                                                                                                                                                                        ER03AP24.046</GPH>




                                            (iv) of this section.                                   periods.                                              ■ 7. Add § 63.7793 to read as follows:



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                                            § 63.7793 What work practice standards                  rate. State the specific actions that                 for making the initial compliance
                                            must I meet?                                            operators will take when slag foaming                 demonstrations for the BOPF Group
                                               (a) You must meet each work practice                 approaches the mouth of the vessel in                 mercury emission limit set forth in
                                            limit in table 1 to this subpart that                   order to prevent slopping;                            paragraphs (e)(1) through (4) in this
                                            applies to you.                                            (2) Minimize hot iron pour/charge                  section.
                                               (b) For unplanned bleeder valve                      rate (minutes) and set a maximum pour                 *     *    *     *     *
                                            openings on a new and existing blast                    rate in tons/second;
                                                                                                                                                          ■ 10. Revise § 63.7821 to read as
                                            furnace, you must meet each work                           (3) Schedule of regular inspections of
                                                                                                                                                          follows:
                                            practice standard listed in paragraphs                  BOPF shop structure for openings and
                                            (b)(1) through (3) of this section.                     leaks to the atmosphere;                              § 63.7821 When must I conduct
                                               (1) Develop and operate according to                    (4) Optimize positioning of hot metal              subsequent performance tests?
                                            a ‘‘Slip Avoidance Plan’’ to minimize                   ladles with respect to hood face and                     (a) You must conduct subsequent
                                            slips and submit it to EPA for approval;                furnace mouth;                                        performance tests to demonstrate
                                               (2) Install devices to continuously                     (5) Optimize furnace tilt angle during             compliance with all applicable emission
                                            measure/monitor material levels in the                  charging and set a maximum tilt angle                 and opacity limits in table 1 to this
                                            furnace (i.e., stockline), at a minimum of              during charging;                                      subpart at the frequencies specified in
                                            three locations, with alarms to inform                     (6) Keep all openings, except roof                 paragraphs (b) through (m) of this
                                            operators of static (i.e., not moving)                  monitors, closed, especially during                   section.
                                            stockline conditions which increase the                 transfer, to extent feasible and safe. All               (b) For each sinter cooler at an
                                            likelihood of slips; and                                openings shall be closed unless the                   existing sinter plant and each emissions
                                               (3) Install and use instruments on the               opening was in the original design of                 unit equipped with a control device
                                            furnace to monitor temperature and                      the Shop;                                             other than a baghouse, you must
                                            pressure to help determine when a slip                     (7) Use higher draft velocities to
                                                                                                                                                          conduct subsequent particulate matter
                                            is likely to occur.                                     capture more fugitives at a given
                                                                                                                                                          and opacity performance tests no less
                                               (c) For each large bell on a new and                 distance from hood, if possible; and
                                                                                                                                                          frequently than twice (at mid-term and
                                            existing blast furnace, you must meet                      (8) Monitor opacity periodically (e.g.,
                                                                                                                                                          renewal) during each term of your title
                                            each work practice standard listed in                   once per month) from all openings with
                                                                                                                                                          V operating permit.
                                            paragraphs (c)(1) and (2) of this section.              EPA Method Alt-082 (camera) or with
                                                                                                    EPA Method 9 in appendix A–4 to part                     (c) For each emissions unit equipped
                                               (1) Maintain metal seats to minimize
                                                                                                    60 of this chapter.                                   with a baghouse, you must conduct
                                            wear on seals and emissions; and
                                                                                                                                                          subsequent particulate matter and
                                               (2) Replace or repair large bell seals               ■ 8. Amend § 63.7800 by revising
                                                                                                                                                          opacity performance tests no less
                                            according to § 63.7833(j).                              paragraph (b) introductory text and
                                               (d) For each small bell on a new and                                                                       frequently than once during each term
                                                                                                    adding paragraphs (b)(8) and (9) to read              of your title V operating permit.
                                            existing blast furnace, you must meet                   as follows:
                                            each work practice standard listed in                                                                            (d) For sources without a title V
                                            paragraphs (d)(1) and (2) of this section.              § 63.7800 What are my operation and                   operating permit, you must conduct
                                               (1) Maintain metal seats to minimize                 maintenance requirements?                             subsequent particulate matter and
                                            wear on seals; and                                      *      *    *     *     *                             opacity performance tests every 2.5
                                               (2) You must repair or replace small                    (b) You must prepare and operate at                years.
                                            bell seals prior to the time period or                  all times according to a written                         (e) For each BOPF Group, if
                                            metal throughput limit that has been                    operation and maintenance plan for                    demonstrating compliance with the
                                            proven and documented to produce no                     each capture system or control device                 mercury emission limit in table 1 to this
                                            opacity from the small bell.                            subject to an operating limit in                      subpart through performance testing
                                               (e) For each iron beaching operation,                § 63.7790(b). Each plan must address                  under §§ 63.7825 and 63.7833, you must
                                            you must meet each work practice                        the elements in paragraphs (b)(1)                     conduct subsequent performance tests
                                            standard listed in paragraphs (e)(1) and                through (9) of this section.                          twice per permit cycle (i.e., mid-term
                                            (2) of this section.                                    *      *    *     *     *                             and initial/final) for sources with title V
                                               (1) Minimize the drop height of                         (8) Small Bell repair or replacement               operating permits, and every 2.5 years
                                            molten metal to the ground, the slope or                period, in weeks, or mass of material                 for sources without a title V operating
                                            grade of the area where beaching occurs,                throughput, in tons, and the specific                 permit, at the outlet of the control
                                            and the rate at which molten metal is                   begin date and end date for the chosen                devices for the BOPF Group.
                                            poured onto the ground; and                             repair or replacement period or                          (f) For each sinter plant windbox, you
                                               (2) Use carbon dioxide shielding                     throughput over which there were no                   must conduct subsequent mercury,
                                            during beaching event; and/or use full                  visible emissions observed.                           hydrogen chloride, carbonyl sulfide,
                                            or partial (hoods) enclosures around                       (9) Building drawings of the BF                    dioxin/furan, and polycyclic aromatic
                                            beached iron.                                           Casthouse and BOPF shop that show                     hydrocarbon performance tests every 5
                                               (f) For each BOPF at a new or existing               and list by number the openings,                      years.
                                            shop, you must develop and operate                      including doors and vents, that are part                 (g) For each blast furnace stove and
                                            according to a ‘‘BOPF Shop Operating                    of the original design of the building.               BOPF shop primary emission control
                                            Plan’’ to minimize fugitive emissions                                                                         device, you must conduct subsequent
                                                                                                    ■ 9. Amend § 63.7820 by revising
                                            and detect openings and leaks and                                                                             hydrogen chloride and total
                                                                                                    paragraph (e) to read as follows:
                                            submit it to EPA for approval. Your                                                                           hydrocarbon testing every 5 years. For
                                            BOPF Shop Operating Plan may                            § 63.7820 By what date must I conduct                 the BOPF shop primary emission
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                                            include, but is not limited to, any of the              performance tests or other initial                    control device, you must also conduct
                                            items listed in paragraphs (f)(1) through               compliance demonstrations?                            subsequent dioxin/furan testing every 5
                                            (8) of this section.                                    *     *     *     *     *                             years.
                                               (1) List all events that generate VE,                  (e) Notwithstanding the deadlines in                   (h) For each blast furnace casthouse
                                            including slopping and other steps                      this section, existing and new affected               and BOPF shop, you must conduct
                                            company will take to reduce incidence                   sources must comply with the deadlines                subsequent opacity tests two times per


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                                            month during a cast, or during a full                   ■ 11. Amend § 63.7823 by revising                        (i) During the DCOT certification
                                            heat cycle, as appropriate.                             paragraph (a) and adding paragraphs                   procedure outlined in Section 9.2 of
                                               (i) For planned bleeder valve                        (c)(3), (d)(6), and (f) through (h) to read           ASTM D7520–16 (incorporated by
                                            openings on each blast furnace, you                     as follows:                                           reference, see § 63.14), the owner or
                                            must conduct opacity tests according to                                                                       operator or the DCOT vendor must be
                                            § 63.7823(f) for each planned opening.                  § 63.7823 What test methods and other                 present the plumes in front of various
                                               (j) For slag processing, handling, and               procedures must I use to demonstrate
                                                                                                                                                          backgrounds of color and contrast
                                            storage operations for each blast furnace               initial compliance with the opacity limits?
                                                                                                                                                          representing conditions anticipated
                                            or BOPF, you must conduct subsequent                       (a) For each discharge end of a sinter             during field use such as blue sky, trees,
                                            opacity tests once per week for a                       plant, sinter plant cooler, blast furnace             and mixed backgrounds (clouds and/or
                                            minimum of 18 minutes for each: BF pit                  casthouse, BOPF shop, and large bell on               a sparse tree stand).
                                            filling; BOPF slag pit filling; BF pit                  a blast furnace, you must conduct each                   (ii) The owner or operator must also
                                            digging; BOPF slag pit digging; and one                 performance test that applies to your                 have standard operating procedures in
                                            slag handling (either truck loading or                  affected source based on representative               place including daily or other frequency
                                            dumping slag to slag piles).                            performance (i.e., performance based on               quality checks to ensure the equipment
                                               (k) For large bells on each blast                    normal operating conditions) of the                   is within manufacturing specifications
                                            furnace, you must conduct visible                       affected source for the period being                  as outlined in Section 8.1 of ASTM
                                            emissions testing on the interbell relief               tested, according to the conditions                   D7520–16 (incorporated by reference,
                                            valve according to EPA Method 22 in                     detailed in paragraphs (b) through (d) of             see § 63.14).
                                            appendix A–7 to part 60 of this chapter,                this section. Representative conditions                  (iii) The owner or operator must
                                            unless specified in paragraphs (k)(1)                   exclude periods of startup and                        follow the recordkeeping procedures
                                            through (3) of this section. Testing must               shutdown. You shall not conduct                       outlined in § 63.10(b)(1) for the DCOT
                                            be conducted monthly, for 15 minutes.                   performance tests during periods of                   certification, compliance report, data
                                               (1) If visible emissions are detected                malfunction. You must record the                      sheets, and all raw unaltered JPEGs used
                                            for a large bell during the monthly                     process information that is necessary to              for opacity and certification
                                            visible emissions testing, you must                     document operating conditions during                  determination.
                                            conduct EPA Method 9 (in appendix A–                    the test and include in such record an                   (iv) The owner or operator or the
                                            4 to part 60 of this chapter) opacity tests             explanation to support that such                      DCOT vendor must have a minimum of
                                            in place of EPA Method 22 testing on                    conditions represent normal operation.                four independent technology users
                                            that bell once per month, taking 3-                     Upon request, you shall make available                apply the software to determine the
                                            minute averages for 15 minutes, until                   to the Administrator such records as                  visible opacity of the 300 certification
                                            the large bell seal is repaired or                      may be necessary to determine the                     plumes. For each set of 25 plumes, the
                                            replaced.                                               conditions of performance tests.                      user may not exceed 15-percent opacity
                                               (2) If the average of 3 instantaneous                *       *    *    *      *                            of any one reading and the average error
                                            visible emission readings taken while                      (c) * * *                                          must not exceed 7.5-percent opacity.
                                            the interbell relief valve is exhausting                   (3) For the blast furnace casthouse,                  (v) Use of this approved alternative
                                            exceeds 20 percent, you must initiate                   make observations at each opening:                    does not provide or imply a certification
                                            corrective action within five business                     (i) If EPA Method 9 is used,                       or validation of any vendor’s hardware
                                            days.                                                   observations should be made separately                or software. The onus to maintain and
                                               (3) Ten business days after the initial                                                                    verify the certification and/or training of
                                                                                                    at each opening.
                                            opacity exceedance of 20 percent, you                                                                         the DCOT camera, software, and
                                                                                                       (ii) If ASTM D7520–16 (incorporated
                                            must conduct an EPA Method 9 opacity                                                                          operator in accordance with ASTM
                                                                                                    by reference, see § 63.14) is used,
                                            test, taking 3-minute averages for 15                                                                         D7520–16 (incorporated by reference,
                                                                                                    observations may be read for more than
                                            minutes. If the average of 3                                                                                  see § 63.14) and these requirements is
                                                                                                    one opening at the same time.
                                            instantaneous visible emissions                                                                               on the facility, DCOT operator, and
                                            readings from this test exceeds 20                         (d) * * *
                                                                                                       (6) Make observations at each                      DCOT vendor.
                                            percent, you must repair or replace that                                                                         (2) Conduct opacity observations in 6-
                                            bell seal within 4 months.                              opening:
                                                                                                                                                          minute block averages starting as soon
                                               (l) For small bells on each blast                       (i) If EPA Method 9 in appendix A–
                                                                                                                                                          as event begins or sunrise whichever is
                                            furnace, you must conduct visible                       4 to part 60 of this chapter is used,
                                                                                                                                                          later and ending either when the bleeder
                                            emissions testing according to EPA                      observations should be made separately
                                                                                                                                                          valve closes, sunset, or after the first 6-
                                            Method 22 in appendix A–7 to part 60                    at each opening.
                                                                                                                                                          minute block average where all readings
                                            of this chapter. Testing must be                           (ii) If ASTM D7520–16 (incorporated
                                                                                                                                                          are zero percent opacity, but in no case
                                            conducted monthly for 15 minutes. If                    by reference, see § 63.14) is used,
                                                                                                                                                          shall the opacity observation period be
                                            visible emissions are observed, you                     observations may be read for more than
                                                                                                                                                          less than 6 minutes.
                                            must compare the period between the                     one opening at the same time.                            (g) To determine compliance with the
                                            visible emissions being present and the                 *       *    *    *      *                            applicable opacity limit in table 1 to this
                                            most recent bell seal repair or                            (f) To determine compliance with the               subpart for slag processing, handling,
                                            replacement. If this time period or                     applicable opacity limit in table 1 to this           and storage operations for a blast
                                            throughput is shorter or lower than the                 subpart for planned bleeder valve                     furnace or BOPF:
                                            period or throughput stated in the O&M                  openings at a blast furnace:                             (1) Using a certified observer,
                                            plan required by 63.7800, this new                         (1) Using a certified observer,                    determine the opacity of emissions
                                            shorter period or lower limit shall be                  determine the opacity of emissions                    according to EPA Method 9 in appendix
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                                            placed in the O&M plan as the work                      according to EPA Method 9 in appendix                 A–4 to part 60 of this chapter.
                                            practice limit.                                         A–4 to part 60 of this chapter.                          (2) Conduct opacity observations in 6-
                                               (m) For each blast furnace casthouse,                Alternatively, ASTM D7520–16                          minute blocks for 30 minutes at each:
                                            you must conduct subsequent hydrogen                    (incorporated by reference, see § 63.14)              slag dumping to BF pit; BOPF slag
                                            chloride and total hydrocarbon testing                  may be used with the following                        dumping to pit; BF pit digging, BOPF
                                            every 5 years.                                          conditions:                                           pit digging; slag dumping to a pile, slag


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                                            dumping to a piece of slag handling                     applies to your affected source based on              limit (MDL) must be used to calculate
                                            equipment such as crusher.                              representative performance (i.e.,                     the mass emissions (lb) for that emission
                                              (h) To determine compliance with the                  performance based on normal operating                 unit and, in turn, for calculating the
                                            work practice trigger for large bells on                conditions) of the affected source for the            sum of the emissions (in units of
                                            a blast furnace:                                        period being tested, according to the                 pounds of mercury per ton of steel scrap
                                              (1) Using a certified observer,                       conditions detailed in paragraphs (b)                 or pounds of mercury per ton of product
                                            determine the opacity of emissions                      through (k) of this section.                          sinter) for all units subject to the
                                            according to EPA Method 9 in appendix                   Representative conditions exclude                     emission standard for determining
                                            A–4 to part 60 of this chapter.                         periods of startup and shutdown. You                  compliance. If the resulting mercury
                                              (2) Conduct opacity observations of 15                shall not conduct performance tests                   emissions are greater than the MACT
                                            instantaneous interbell relief valve                    during periods of malfunction. Initial                emission standard, the owner or
                                            emissions.                                              compliance tests must be conducted by                 operator may use procedures that
                                            ■ 12. Amend § 63.7825 by:
                                                                                                    the deadlines in § 63.7820(e).                        produce lower MDL results and repeat
                                            ■ a. Revising the section heading,                      *      *    *      *     *                            the mercury performance testing one
                                            paragraph (a) introductory text, and                       (b) * * *                                          additional time for any emission point
                                            paragraphs (b)(1)(v), (b)(2), and (c); and                 (1) * * *                                          for which the measured result was
                                            ■ b. Adding paragraphs (g) through (k).
                                                                                                       (v) EPA Method 29 or 30B in                        below the MDL. If this additional testing
                                              The revisions and additions read as                   appendix A–8 to part 60 of this chapter               is performed, the results from that
                                            follows:                                                to determine the concentration of                     testing must be used to determine
                                                                                                    mercury from the exhaust stream stack                 compliance (i.e., there are no additional
                                            § 63.7825 What test methods and other                   of each unit. If performing                           opportunities allowed to lower the
                                            procedures must I use to demonstrate                    measurements using EPA Method 29,                     MDL).
                                            initial compliance with the emission limits             you must collect a minimum sample
                                            for hazardous air pollutants?                           volume of 1.7 dscm (60 dscf).                         *      *     *     *    *
                                              (a) If demonstrating compliance with                  Alternative test methods may be                          (c) Calculate the mass emissions,
                                            the emission limits in Table 1 to this                  considered on a case-by-case basis per                based on the average of three test run
                                            subpart through performance testing,                    § 63.7(f).                                            values, for each BOPF Group unit (or
                                            you must conduct a performance test to                     (2) Three valid test runs are needed to            combination of units that are ducted to
                                            demonstrate initial compliance with the                 comprise a performance test of each unit              a common stack and are tested when all
                                            emission limit. If demonstrating                        in table 1 to this subpart as applicable.             affected sources are operating pursuant
                                            compliance with the emission limit                      If the performance testing results for any            to paragraph (a) of this section) using
                                            through performance testing, you must                   of the emission points yields a non-                  equation 1 to this paragraph (c) as
                                            conduct each performance test that                      detect value, then the method detection               follows:


                                                                                                          Equation 1 to paragraph (c)

                                                                                                            _         CsXQXt
                                                                                                          E- 454,000 X3S.31 (Eq. l)
                                            Where:                                                     (ii) EPA Method 26A in appendix A–                   (B) In ASTM D6348–12(R2020) Annex
                                            E = Mass emissions of pollutant, pounds (lb);           8 to part 60 of this chapter to determine             A5 (Analyte Spiking Technique), the
                                            Cs = Concentration of pollutant in stack gas,           the concentration of hydrogen chloride                percent (%) R must be determined for
                                                 mg/dscm;                                           from the exhaust stream stack of each                 each target analyte (Equation A5.5). In
                                            454,000 = Conversion factor (mg/lb);                    unit, with the following conditions; or
                                            Q = Volumetric flow rate of stack gas, dscf/                                                                  order for the test data to be acceptable
                                                 min;                                                  (A) Collect a minimum sample                       for a compound, %R must be 70% ≥ R
                                            35.31 = Conversion factor (dscf/dscm); and              volume of 70 dscf (2 dscm) of gas during              ≤ 130%. If the %R value does not meet
                                            t = Duration of test, minutes.                          each run.                                             this criterion for a target compound, the
                                            *      *    *      *    *                                  (B) [Reserved]                                     test data is not acceptable for that
                                               (g) To demonstrate compliance with                      (iii) EPA Method 320 in appendix A                 compound and the test must be repeated
                                            the emission limit for hydrogen chloride                to this part to determine the                         for that analyte (i.e., the sampling and/
                                            in table 1 to this subpart through                      concentration of hydrogen chloride and                or analytical procedure should be
                                            performance testing, follow the test                    hydrogen fluoride from the exhaust
                                                                                                                                                          adjusted before a retest). The %R value
                                            methods and procedures in paragraphs                    stream stack of each unit. Alternatively,
                                                                                                                                                          for each compound must be reported in
                                            (g)(1) through (3) of this section.                     ASTM D6348–12(R2020), (incorporated
                                                                                                    by reference, see § 63.14) may be used                the test report, and all field
                                               (1) Determine the concentration of
                                                                                                    with the following conditions:                        measurements must be corrected with
                                            hydrogen chloride according to the
                                            following test methods:                                    (A) The test plan preparation and                  the calculated %R value for that
                                               (i) The methods specified in                         implementation in the Annexes to                      compound by using the equation 2 o to
                                            paragraphs (b)(1)(i) through (iv) of this               ASTM D 6348–12(R2020), Annexes A1                     this paragraph (g)(1)(iii)(B) as follows:
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                                            section, and                                            through A8 are mandatory; and
                                                                                                                                                                                                      ER03AP24.047</GPH>




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                                                                            Equation 2 to paragraph (g)(l)(iii)(B)

                                                                                                                 Reported Results = ~ x 100 (Eq. 2)
                                                                                                                                                     %R


                                            Where                                                   or analytical procedure should be                        (4) For blast furnaces, each test run
                                            cs = measured concentration in stack.                   adjusted before a retest). The %R value               duration must be a minimum of 1 hour.
                                               (2) At least three valid test runs are               for each compound must be reported in                    (5) Calculate the emissions from each
                                            needed to comprise a performance test                   the test report, and all field                        new and existing affected source in
                                            of each unit in table 1 to this subpart.                measurements must be corrected with                   pounds of total hydrocarbons as
                                            If the performance testing results for any              the calculated %R value for that                      propane per ton of throughput
                                            of the emission points yields a non-                    compound by using the Equation 2 of                   processed or unit of energy (tons of iron,
                                            detect value, then the MDL must be                      this section.                                         tons of steel, or MMBtu) to determine
                                                                                                       (2) Three valid test runs at least one             initial compliance with the emission
                                            used to calculate the mass emissions (lb)
                                                                                                    hour in duration are needed to comprise               limits in table 1 to this subpart.
                                            for that unit and, in turn, for calculating
                                                                                                    a performance test of each unit in table
                                            the emissions rate (lb/ton of product                                                                            (j) To demonstrate compliance with
                                                                                                    1 to this subpart. If the performance
                                            sinter, lb/ton of iron, or lb/ton of steel).                                                                  the emission limit for D/F TEQ in table
                                                                                                    testing results for any of the emission
                                               (3) Calculate the emissions from each                                                                      1 to this subpart through performance
                                                                                                    points yields a non-detect value, then
                                            new and existing affected source in                                                                           testing, follow the test methods and
                                                                                                    the MDL must be used to calculate the
                                            pounds of hydrogen chloride per ton of                                                                        procedures in paragraphs (j)(1) through
                                                                                                    mass emissions (lb) for that unit and, in
                                            throughput processed or unit of energy                                                                        (4) of this section.
                                                                                                    turn, for calculating the emissions rate
                                            (tons of product sinter, tons of iron, tons             (lb/ton of product sinter).                              (1) Determine the concentration of
                                            of steel, or MMBtu) to determine initial                   (3) Calculate the emissions from each              each dioxin and furan listed in table 5
                                            compliance with the emission limits in                  new and existing affected source in                   to this subpart according to the
                                            table 1 to this subpart.                                pounds of carbonyl sulfide per ton of                 following test methods:
                                               (h) To demonstrate compliance with                   product sinter to determine initial                      (i) The methods specified in
                                            the emission limit for carbonyl sulfide                 compliance with the emission limits in                paragraphs (b)(1)(i) through (iv) of this
                                            in table 1 to this subpart through                      table 1 to this subpart .                             section, and
                                            performance testing, follow the test                       (i) To demonstrate compliance with                    (ii) EPA Method 23 in appendix A–7
                                            methods and procedures in paragraphs                    the emission limit for total                          to part 60 of this chapter to determine
                                            (h)(1) through (3) of this section.                     hydrocarbons in table 1 to this subpart               the concentration of each dioxin and
                                               (1) Determine the concentration of                   through performance testing, follow the               furan listed in table 5 to this subpart
                                            carbonyl sulfide according to the                       test methods and procedures in                        from the exhaust stream stack of each
                                            following test methods:                                 paragraphs (i)(1) through (5) of this                 unit. You must collect a minimum
                                               (i) The methods specified in                         section.                                              sample volume of 105 dscf (3 dscm) of
                                            paragraphs (b)(1)(i) through (iv) of this                  (1) Determine the concentration of                 gas during each test run.
                                            section, and                                            total hydrocarbons according to the
                                               (ii) EPA Method 15 in appendix A–5                                                                            (2) Three valid test runs are needed to
                                                                                                    following test methods:                               comprise a performance test of each unit
                                            to part 60 of this chapter to determine                    (i) The methods specified in
                                            the concentration of carbonyl sulfide                                                                         in table 1 to this subpart. For
                                                                                                    paragraphs (b)(1)(i) through (iv) of this
                                            from the exhaust stream stack of each                                                                         determination of TEQ, zero may be used
                                                                                                    section, and
                                            unit; or                                                   (ii) EPA Method 25A in appendix A–                 in subsequent calculations for values
                                               (iii) EPA Method 320 in appendix A                   7 to part 60 of this chapter to determine             less than the estimated detection limit
                                            to this part to determine the                           the concentration of total hydrocarbons               (EDL). For estimated maximum
                                            concentration of carbon disulfide and                   as propane from the exhaust stream                    pollutant concentration (EMPC) results,
                                            carbonyl sulfide from the exhaust                       stack of each unit.                                   when the value is greater than the EDL,
                                            stream stack of each unit. Alternatively,                  (2) Three valid test runs at least one             the EMPC value must be used in
                                            ASTM D6348–12 (R2020), (incorporated                    hour in duration are needed to comprise               determination of TEQ, when the EMPC
                                            by reference, see § 63.14) may be used                  a performance test of each unit in table              is less than the EDL, zero may be used.
                                            with the following conditions:                          1 to this subpart. If the performance                    (3) For BOPF tests, the test runs must
                                               (A) The test plan preparation and                    testing results for any of the emission               include at least one full production
                                            implementation in the Annexes to                        points yields a non-detect value, then                cycle (from scrap charge to 3 minutes
                                            ASTM D 6348–12 (R2020), Annexes A1                      the MDL must be used to calculate the                 after slag is emptied from the vessel) for
                                            through A8 are mandatory; and                           mass emissions (lb) for that unit and, in             each run, except for BOPF with closed
                                               (B) In ASTM D6348–12 (R2020)                         turn, for calculating the emissions rate              hood systems, where sampling should
                                            Annex A5 (Analyte Spiking Technique),                   (lb/ton of iron or lb/ton of steel).                  be performed only during the primary
                                            the percent (%) R must be determined                       (3) For BOPF tests, the test runs must             oxygen blow and only for 20 heat cycles
                                            for each target analyte (Equation A5.5).                include at least one full production                  or the collection of 105 dscf (3 dscm)
                                            In order for the test data to be acceptable             cycle (from scrap charge to 3 minutes                 sample volume, whichever is less.
                                            for a compound, %R must be 70% ≥ R                      after slag is emptied from the vessel) for               (4) Calculate the sum of the D/F TEQ
                                            ≤ 130%. If the %R value does not meet                   each run, except for BOPF with closed                 per ton of throughput processed (tons of
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                                            this criterion for a target compound, the               hood systems, where sampling should                   product sinter or tons of steel) to
                                            test data is not acceptable for that                    be performed only during the primary                  determine initial compliance with the
                                            compound and the test must be repeated                  oxygen blow and only for 20 heat                      emission limits in table 1 using equation
                                            for that analyte (i.e., the sampling and/               cycles.                                               3 to this paragraph (j)(4) as follows:
                                                                                                                                                                                                       ER03AP24.048</GPH>




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                                                                                       Equation 3 to paragraph (j)(4)




                                            Where:                                                  in paragraphs (k)(1) through (3) of this                  (2) Three valid test runs are needed to
                                            TEQ = sum of the 2,3,7,8-TCDD TEQs, lb/ton              section.                                                comprise a performance test of each unit
                                                 of throughput processed                               (1) Determine the concentration of                   in table 1 to this subpart. If the
                                            Mi = mass of dioxin or furan cogener i during           each polycyclic aromatic hydrocarbon                    performance testing results for any of
                                                 performance test run, lbs                          listed in table 6 to this subpart
                                            TEFi = 2,3,7,8-TCDD toxic equivalency factor                                                                    the emission points yields a non-detect
                                                 (TEF) for cogener i, as provided in Table          according to the following test methods:                value, then the EDL must be used to
                                                 5 of this subpart                                     (i) The methods specified in                         calculate the mass emissions (lb) for that
                                            n = number of cogeners included in TEQ                  paragraphs (b)(1)(i) through (iv) of this               unit and, in turn, for calculating the
                                            Tr = time of performance test run, hours                section, and                                            emissions rate (lb/ton of product sinter).
                                            P = production rate during performance test                (ii) EPA Method 23 in appendix A–7
                                                 run, tons of throughput processed per              to part 60 of this chapter to determine                   (3) Calculate the sum of polycyclic
                                                 hour.                                              the concentration of each polycyclic                    aromatic hydrocarbons per ton of
                                              (k) To demonstrate compliance with                    aromatic hydrocarbon listed in table 6 to               product sinter to determine initial
                                            the emission limit for polycyclic                       this subpart from the exhaust stream                    compliance with the emission limits in
                                            aromatic hydrocarbons in table 1 to this                stack of each unit. You must collect a                  table 1 to this subpart using equation 4
                                            subpart through performance testing,                    minimum sample volume of 105 dscf (3                    to this paragraph (k)(3) as follows:
                                            follow the test methods and procedures                  dscm) of gas during each test run.


                                                                                     Equation 4 to paragraph (k) (3)

                                                                                                                                             E = If=1Mi (Eq. 4)
                                                                                                                                                    Tr XP


                                            Where:                                                  (j)(1) and (2) of this section if a bell seal              (2) The file must be generated using
                                            E = emission rate of polycyclic aromatic                exceeds a 20 percent average of 3                       the EPA’s ERT or an alternate electronic
                                                 hydrocarbons, lb/ton of sinter                     instantaneous opacity readings of the                   file consistent with the XML schema
                                            Mi = mass of polycyclic aromatic                        interbell relief valve emissions.                       listed on the EPA’s ERT website.
                                                 hydrocarbon i, as provided in Table 6 to                                                                      (3) Clearly mark the part or all of the
                                                 this subpart, during performance test
                                                                                                       (1) Initiate corrective action within
                                                                                                    five business days.                                     information that you claim to be CBI.
                                                 run, lbs
                                            n = number of polycyclic aromatic                          (2) Ten business days after the initial              Information not marked as CBI may be
                                                 hydrocarbons included in emissions                 opacity exceedance of 20 percent, if the                authorized for public release without
                                            Tr = time of performance test run, hours                average of 3 instantaneous visible                      prior notice. Information marked as CBI
                                            P = production rate during performance test             emissions readings from this test                       will not be disclosed except in
                                                 run, tons of product sinter per hour.              exceeds 20 percent, you must repair or                  accordance with procedures set forth in
                                                                                                    replace that bell seal within 4 months.                 40 CFR part 2.
                                            ■ 13. Amend § 63.7830 by revising
                                                                                                                                                               (4) The preferred method to receive
                                            paragraph (e)(2) to read as follows:                    ■ 15. Amend § 63.7840 by removing                       CBI is for it to be transmitted
                                                                                                    paragraphs (g)(3) and (h)(3) and adding                 electronically using email attachments,
                                            § 63.7830 What are my monitoring
                                            requirements?                                           paragraph (i).                                          File Transfer Protocol, or other online
                                            *     *    *      *    *                                  The addition reads as follows:                        file sharing services. Electronic
                                              (e) * * *                                                                                                     submissions must be transmitted
                                                                                                    § 63.7840 What notifications must I submit
                                              (2) Compute and record the 30-day                                                                             directly to the OAQPS CBI Office at the
                                                                                                    and when?
                                            rolling average of the volatile organic                                                                         email address oaqpscbi@epa.gov, and as
                                                                                                    *     *      *    *     *                               described above, should include clear
                                            compound emissions (lbs/ton of sinter)
                                            for each operating day using the                          (i) Confidential business information                 CBI markings and be flagged to the
                                            procedures in § 63.7824(e).                             (CBI): For notifications and reports                    attention of the Group Leader,
                                                                                                    required to be submitted to CEDRI:                      Measurement Policy Group. If assistance
                                            ■ 14. Amend § 63.7833 by adding
                                            paragraph (j) to read as follows:                         (1) The EPA will make all the                         is needed with submitting large
                                                                                                    information submitted through CEDRI                     electronic files that exceed the file size
                                            § 63.7833 How do I demonstrate                          available to the public without further                 limit for email attachments, and if you
                                            continuous compliance with the emission                 notice to you. Do not use CEDRI to                      do not have your own file sharing
                                            limitations that apply to me?                           submit information you claim as CBI.                    service, please email oaqpscbi@epa.gov
                                            *      *     *       *      *                           Although we do not expect persons to                    to request a file transfer link.
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                                                                                                    assert a claim of CBI, if you wish to                      (5) If you cannot transmit the file
                                                                                                                                                                                                         ER03AP24.050</GPH>




                                            *      *    *     *     *                               assert a CBI claim for some of the                      electronically, you may send CBI
                                              (j) For large bells on each blast                     information submitted under paragraph                   information through the postal service
                                            furnace, you must demonstrate                           (h) of this section, you must submit a                  to the following address: OAQPS
                                            continuous compliance by following the                  complete file, including information                    Document Control Officer (C404–02),
                                                                                                                                                                                                         ER03AP24.049</GPH>




                                            requirements specified in paragraphs                    claimed to be CBI, to the EPA.                          OAQPS, U.S. Environmental Protection


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                                            Agency, Research Triangle Park, North                   may be authorized for public release                  March 31, June 30, September 30 or
                                            Carolina 27711, Attention Group                         without prior notice. Information                     December 31, whichever date is the first
                                            Leader, Measurement Policy Group. The                   marked as CBI will not be disclosed                   date that occurs after the owner or
                                            mailed CBI material should be double                    except in accordance with procedures                  operator has obtained 12 months of data
                                            wrapped and clearly marked. Any CBI                     set forth in 40 CFR part 2. All CBI                   (i.e., the first quarterly report will
                                            markings should not show through the                    claims must be asserted at the time of                contain between 12 and 15 months of
                                            outer envelope.                                         submission. Anything submitted using                  data). Each subsequent quarterly report
                                              (6) All CBI claims must be asserted at                CEDRI cannot later be claimed CBI.                    must cover one of the following
                                            the time of submission. Anything                        Furthermore, under CAA section 114(c),                reporting periods: Quarter 1 from
                                            submitted using CEDRI cannot later be                   emissions data is not entitled to                     January 1 through March 31; Quarter 2
                                            claimed CBI. Furthermore, under CAA                     confidential treatment, and the EPA is                from April 1 through June 30; Quarter
                                            section 114(c), emissions data is not                   required to make emissions data                       3 from July 1 through September 30; and
                                            entitled to confidential treatment, and                 available to the public. Thus, emissions              Quarter 4 from October 1 through
                                            the EPA is required to make emissions                   data will not be protected as CBI and                 December 31. Each quarterly report
                                            data available to the public. Thus,                     will be made publicly available. You                  must be electronically submitted no
                                            emissions data will not be protected as                 must submit the same file submitted to                later than 45 calendar days following
                                            CBI and will be made publicly available.                the CBI office with the CBI omitted to                the end of the reporting period.
                                              (7) You must submit the same file                     the EPA via the EPA’s CDX as described                   (1) Facility name and address.
                                            submitted to the CBI office with the CBI                earlier in this paragraph.                               (2) Year and reporting quarter (i.e.,
                                            omitted to the EPA via the EPA’s CDX                       (1) The preferred method to receive                Quarter 1, Quarter 2, Quarter 3, or
                                            as described in paragraphs (g) or (h) of                CBI is for it to be transmitted                       Quarter 4).
                                            this section.                                           electronically using email attachments,                  (3) For each sampler: The latitude and
                                            ■ 16. Amend § 63.7841 by adding                         File Transfer Protocol, or other online               longitude location coordinates; the
                                            paragraph (b)(14), revising paragraph                   file sharing services. Electronic                     sampler name; and identification of the
                                            (d), and adding paragraph (h) to read as                submissions must be transmitted                       type of sampler (e.g., regular monitor,
                                            follows:                                                directly to the OAQPS CBI Office at the               extra monitor, duplicate, field blank,
                                                                                                    email address oaqpscbi@epa.gov, and as                inactive). Coordinates shall be in
                                            § 63.7841   What reports must I submit and                                                                    decimal degrees with at least five
                                            when?                                                   described above, should include clear
                                                                                                    CBI markings and be flagged to the                    decimal places.
                                            *       *    *    *      *                                                                                       (4) The beginning and ending dates
                                               (b) * * *                                            attention of the Integrated Iron and Steel
                                                                                                    Sector Lead. If assistance is needed with             for each sampling period.
                                               (14) For each unplanned bleeder valve                                                                         (5) Individual sample results for each
                                            opening for each blast furnace, you must                submitting large electronic files that
                                                                                                    exceed the file size limit for email                  monitored compound, reported in units
                                            include the information in paragraphs                                                                         of mg/m3, for each monitor for each
                                            (b)(14)(i) through (iii) of this section.               attachments, and if you do not have
                                                                                                    your own file sharing service, please                 sampling period that ends during the
                                               (i) The date and time of the event.                                                                        reporting period. Results below the
                                               (ii) The duration of the event.                      email oaqpscbi@epa.gov to request a file
                                                                                                    transfer link.                                        method detection limit shall be flagged
                                               (iii) Any corrective actions taken in
                                                                                                       (2) If you cannot transmit the file                as below the detection limit and
                                            response to the event.
                                                                                                    electronically, you may send CBI                      reported at the method detection limit.
                                            *       *    *    *      *                                                                                       (6) Data flags for each outlier
                                               (d) CEDRI submission. If you are                     information through the postal service
                                                                                                                                                          determined in accordance with the
                                            required to submit reports following the                to the following address: OAQPS
                                                                                                                                                          fenceline metals method. For each
                                            procedure specified in this paragraph,                  Document Control Officer (C404–02),
                                                                                                                                                          outlier, the owner or operator must
                                            you must submit reports to the EPA via                  OAQPS, U.S. Environmental Protection
                                                                                                                                                          submit the individual sample result of
                                            CEDRI, which can be accessed through                    Agency, Research Triangle Park, North
                                                                                                                                                          the outlier, as well as the evidence used
                                            EPA’s CDX (https://cdx.epa.gov/). You                   Carolina 27711, Attention Integrated
                                                                                                                                                          to conclude that the result is an outlier.
                                            must use the appropriate electronic                     Iron and Steel Sector Lead. The mailed                   (7) The biweekly concentration
                                            report template on the CEDRI website                    CBI material should be double wrapped                 difference (Dc) for each sampling period
                                            (https://www.epa.gov/electronic-                        and clearly marked. Any CBI markings                  and the annual average Dc for each
                                            reporting-air-emissions/compliance-                     should not show through the outer                     sampling period.
                                            and-emissions-data-reporting-interface-                 envelope.                                                (8) Indication of whether the owner or
                                            cedri) for this subpart. The date report                *      *     *     *     *                            operator was required to develop a
                                            templates become available will be                         (h) Fenceline monitoring reports. For              corrective action plan under
                                            listed on the CEDRI website. The report                 fenceline monitoring systems subject to               § 63.7792(e).
                                            must be submitted by the deadline                       § 63.7792, each owner or operator must                ■ 17. Amend § 63.7842 by revising
                                            specified in this subpart, regardless of                submit Fenceline Monitoring Reports on                paragraph (d) and adding paragraphs (f)
                                            the method in which the report is                       a quarterly basis using the appropriate               and (g) to read as follows.
                                            submitted. Do not use CEDRI to submit                   electronic report template on the CEDRI
                                            information you claim as CBI. Although                  website (https://www.epa.gov/                         § 63.7842    What records must I keep?
                                            we do not expect persons to assert a                    electronic-reporting-air-emissions/cedri)             *     *    *     *     *
                                            claim of CBI, if you wish to assert a CBI               for this subpart and following the                      (d) You must keep the records
                                            claim for some of the information in the                procedure specified in paragraph (d) of               required in §§ 63.7823, 63.7833, and
                                            report, you must submit a complete file,                this section. The first quarterly report              63.7834 to show continuous compliance
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                                            including information claimed to be                     must be submitted once the owner or                   with each emission limitation and
                                            CBI, to the EPA following the                           operator has obtained 12 months of                    operation and maintenance requirement
                                            procedures in paragraphs (d)(1) and (2)                 data. The first quarterly report must                 that applies to you. This includes a
                                            of this section. Clearly mark the part or               cover the period beginning on the date                record of each large and small bell
                                            all of the information that you claim to                one year after the promulgation of the                repair and replacement, a record of the
                                            be CBI. Information not marked as CBI                   metals fenceline method and ending on                 date on which the large bell opacity has


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                                            exceeded 20 percent, and the most                          (8) Documentation of the root cause                 the blast furnace cannot be charged to
                                            current time period or throughput over                  analysis and any resulting corrective                  the basic oxygen process furnace.
                                            which no opacity was observed from the                  action taken each time an action level is              *      *     *     *     *
                                            small bell.                                             exceeded, including the dates the root                   Large blast furnace means a blast
                                            *      *     *     *    *                               cause analysis was initiated and the                   furnace with a working volume of
                                               (f) For fenceline monitoring systems                 resulting correction action(s) were                    greater than 2,500 m3.
                                            subject to § 63.7792 of this subpart, each              taken.                                                 *      *     *     *     *
                                            owner or operator must keep the records                    (9) Any corrective action plan                        Planned bleeder valve opening means
                                            specified in paragraphs (f)(1) through                  developed under § 63.7792(e).                          the opening of a blast furnace pressure
                                            (11) of this section.                                      (10) Other records as required by the               relief safety valve that is initiated by an
                                               (1) Coordinates of samplers, including               sampling method.                                       operator.
                                            co-located samplers and field blanks,                      (11) If a near-field source correction is
                                                                                                                                                           *      *     *     *     *
                                            and if applicable, the meteorological                   used as provided in § 63.7792(f), or if an
                                                                                                                                                             Slip means when raw materials
                                            station. The owner or operator shall                    alternative test method is used that
                                                                                                                                                           loaded in the top of the furnace fail to
                                            determine the coordinates using an                      provides time-resolved measurements,
                                                                                                                                                           descend smoothly in the furnace and
                                            instrument with an accuracy of at least                 records of hourly meteorological data,
                                                                                                                                                           bind together to form a ‘‘bridge’’ which
                                            3 meters. The coordinates shall be in                   including temperature, barometric
                                                                                                                                                           than ‘‘hangs’’ (i.e., accumulates) in one
                                            decimal degrees with at least five                      pressure, wind speed and wind
                                                                                                                                                           position in the furnace. When a ‘‘hang’’
                                            decimal places.                                         direction, calculated daily unit vector
                                                                                                                                                           eventually falls, or ‘‘slips,’’ it creates a
                                               (2) The start and stop times and dates               wind direction, and daily sigma theta,
                                                                                                                                                           pressure surge that may open the
                                            for each sample, as well as the sample                  and other records specified in the site-
                                                                                                                                                           bleeder valves, releasing emissions in
                                            identifying information.                                specific monitoring plan.
                                                                                                                                                           the form of a large dust cloud.
                                               (3) Sampling period average                             (g) For each unplanned bleeder valve
                                                                                                                                                             Small blast furnace means a blast
                                            temperature and barometric pressure                     opening for each blast furnace, you must
                                                                                                                                                           furnace with a working volume of less
                                            measurements.                                           keep the records specified in paragraphs
                                                                                                                                                           than 2,500 m3.
                                               (4) For each outlier determined in                   (g)(1) through (3) of this section.
                                            accordance with the procedures                             (1) The start date and start time of the            *      *     *     *     *
                                            specified in the fenceline metals                       event.                                                   Total hydrocarbons (THC) means the
                                            method, the sampler location and the                       (2) The duration of the event in                    sum of organic compounds measured as
                                            concentration of the outlier and the                    minutes.                                               carbon using EPA Method 25A
                                            evidence used to conclude that the                         (3) Any corrective actions taken in                 (appendix A–7 to part 60 of this
                                            result is an outlier.                                   response to the event.                                 chapter).
                                               (5) For samples that will be adjusted                                                                         Unplanned bleeder valve opening
                                                                                                    ■ 18. Amend § 63.7852 by adding
                                            for uniform background, the location of                                                                        means the opening of a blast furnace
                                                                                                    definitions for ‘‘Iron beaching                        pressure relief safety valve that is not a
                                            and the concentration measured                          operation’’, Large blast furnace’’,
                                            simultaneously by the background                                                                               planned bleeder valve opening.
                                                                                                    ‘‘Planned bleeder valve opening’’,
                                            sampler, and the perimeter samplers to                  ‘‘Slip’’, ‘‘Small blast furnace’’, ‘‘Total             *      *     *     *     *
                                            which it applies.                                       hydrocarbons (THC)’’, and ‘‘Unplanned                  ■ 19. Revise tables 1 through 4 to
                                               (6) Individual sample results, the                   bleeder valve opening’’ to read as                     subpart FFFFF to read as follows:
                                            calculated Dc for each sampling period                  follows:
                                            and the two samples used to determine                                                                          Table 1 to Subpart FFFFF of Part 63—
                                            it, whether background correction was                   § 63.7852    What definitions apply to this            Emission, Opacity, and Work Practice
                                            used, and the annual average Dc                         subpart?                                               Limits
                                            calculated after each sampling period.                  *     *    *     *   *                                   As required in § 63.7790(a), you must
                                               (7) Method detection limit for each                    Iron beaching operation means                        comply with each applicable emission,
                                            sample, including co-located samples                    pouring hot molten iron from a torpedo                 opacity, and work practice limit in the
                                            and blanks.                                             car onto the ground when the iron from                 following table:
                                            For . . .                                   You must comply with each of the following . . .

                                            1. Each windbox exhaust stream at an        a. You must not cause to be discharged to the atmosphere any gases that contain particulate matter in excess of 0.4 lb/
                                              existing sinter plant.                       ton of product sinter;
                                                                                        b. You must not cause to be discharged to the atmosphere any gases that contain mercury in excess of 0.000018 lb/ton
                                                                                           of product sinter;
                                                                                        c. You must not cause to be discharged to the atmosphere any gases that contain hydrogen chloride in excess of 0.025
                                                                                           lb/ton of product sinter;
                                                                                        d. You must not cause to be discharged to the atmosphere any gases that contain carbonyl sulfide in excess of 0.064 lb/
                                                                                           ton of product sinter;
                                                                                        e. You must not cause to be discharged to the atmosphere any gases that contain D/F TEQs in excess of 1.1E–08 lb/ton
                                                                                           of product sinter; and
                                                                                        f. You must not cause to be discharged to the atmosphere any gases that contain polycyclic aromatic hydrocarbons in ex-
                                                                                           cess of 0.0018 lb/ton of product sinter.
                                            2. Each windbox exhaust stream at a         a. You must not cause to be discharged to the atmosphere any gases that contain particulate matter in excess of 0.3 lb/
                                              new sinter plant.                            ton of product sinter;
                                                                                        b. You must not cause to be discharged to the atmosphere any gases that contain mercury in excess of 0.000012 lb/ton
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                                                                                           of product sinter;
                                                                                        c. You must not cause to be discharged to the atmosphere any gases that contain hydrogen chloride in excess of 0.0012
                                                                                           lb/ton of product sinter;
                                                                                        d. You must not cause to be discharged to the atmosphere any gases that contain carbonyl sulfide in excess of 0.030 lb/
                                                                                           ton of product sinter;
                                                                                        e. You must not cause to be discharged to the atmosphere any gases that contain D/F TEQs in excess of 1.1E–08 lb/ton
                                                                                           of product sinter; and



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                                            For . . .                                        You must comply with each of the following . . .

                                                                                             f. You must not cause to be discharged to the atmosphere any gases that contain polycyclic aromatic hydrocarbons in ex-
                                                                                                cess of 0.0015 lb/ton of product sinter.
                                            3. Each discharge end at an existing sin-        a. You must not cause to be discharged to the atmosphere any gases that exit from one or more control devices that con-
                                              ter plant.                                        tain, on a flow-weighted basis, particulate matter in excess of 0.02 gr/dscf; 1 2 and
                                                                                             b. You must not cause to be discharged to the atmosphere any secondary emissions that exit any opening in the building
                                                                                                or structure housing the discharge end that exhibit opacity greater than 20 percent (6-minute average).
                                            4. Each discharge end at a new sinter            a. You must not cause to be discharged to the atmosphere any gases that exit from one or more control devices that con-
                                              plant.                                            tain, on a flow weighted basis, particulate matter in excess of 0.01 gr/dscf; and
                                                                                             b. You must not cause to be discharged to the atmosphere any secondary emissions that exit any opening in the building
                                                                                                or structure housing the discharge end that exhibit opacity greater than 10 percent (6-minute average).
                                            5. Each sinter cooler at an existing sinter      You must not cause to be discharged to the atmosphere any emissions that exhibit opacity greater than 10 percent (6-
                                              plant.                                            minute average).
                                            6. Each sinter cooler at a new sinter            You must not cause to be discharged to the atmosphere any gases that contain particulate matter in excess of 0.01 gr/
                                              plant.                                            dscf.
                                            7. Each casthouse at an existing blast           a. You must not cause to be discharged to the atmosphere any gases that exit from a control device that contain particu-
                                              furnace.                                          late matter in excess of 0.01 gr/dscf; 2
                                                                                             b. You must not cause to be discharged to the atmosphere any secondary emissions that exit all openings in the
                                                                                                casthouse or structure housing the blast furnace that exhibit opacity greater than 20 percent (6-minute average);
                                                                                             c. You must not cause to be discharged to the atmosphere any gases that exit from a control device that contain hydro-
                                                                                                gen chloride in excess of 0.0056 lb/ton of iron;
                                                                                             d. You must not cause to be discharged to the atmosphere any gases that exit from a control device that contain total hy-
                                                                                                drocarbons as propane in excess of 0.48 lb/ton of iron; and
                                                                                             e. You must not cause unplanned bleeder valve openings in excess of 4 events per year for large blast furnaces or 15
                                                                                                events per year for small blast furnaces.
                                            8. Each casthouse at a new blast fur-            a. You must not cause to be discharged to the atmosphere any gases that exit from a control device that contain particu-
                                              nace.                                             late matter in excess of 0.003 gr/dscf; and
                                                                                             b. You must not cause to be discharged to the atmosphere any secondary emissions that exit all openings in the
                                                                                                casthouse or structure housing the blast furnace that exhibit opacity greater than 15 percent (6-minute average);
                                                                                             c. You must not cause to be discharged to the atmosphere any gases that exit from a control device that contain hydro-
                                                                                                gen chloride in excess of 0.00059 lb/ton of iron;
                                                                                             d. You must not cause to be discharged to the atmosphere any gases that exit from a control device that contain total hy-
                                                                                                drocarbons as propane in excess of 0.035 lb/ton of iron; and
                                                                                             e. You must not cause unplanned bleeder valve openings in excess of zero events per year.
                                            9. Each BOPF at a new or existing shop           a. You must not cause to be discharged to the atmosphere any gases that exit from a primary emission control system for
                                                                                                a BOPF with a closed hood system at a new or existing BOPF shop that contain, on a flow-weighted basis, particulate
                                                                                                matter in excess of 0.03 gr/dscf during the primary oxygen blow; 2 3
                                                                                             b. You must not cause to be discharged to the atmosphere any gases that exit from a primary emission control system for
                                                                                                a BOPF with an open hood system that contain, on a flow-weighted basis, particulate matter in excess of 0.02 gr/dscf
                                                                                                during the steel production cycle for an existing BOPF shop 2 3 or 0.01 gr/dscf during the steel production cycle for a
                                                                                                new BOPF shop; 3
                                                                                             c. You must not cause to be discharged to the atmosphere any gases that exit from a control device used solely for the
                                                                                                collection of secondary emissions from the BOPF that contain particulate matter in excess of 0.01 gr/dscf for an existing
                                                                                                BOPF shop 2 or 0.0052 gr/dscf for a new BOPF shop;
                                                                                             d. You must not cause to be discharged to the atmosphere any gases that exit from a primary emission control system for
                                                                                                a BOPF that contain hydrogen chloride in excess of 0.058 lb/ton of steel for existing sources and 2.8E–04 lb/ton steel
                                                                                                for new sources;
                                                                                             e. You must not cause to be discharged to the atmosphere any gases that exit from a primary emission control system for
                                                                                                a BOPF that contain THC as propane in excess of 0.04 lb/ton of steel for existing sources and 0.0017 lb/ton of steel for
                                                                                                new sources; and
                                                                                             f. You must not cause to be discharged to the atmosphere any gases that exit from a primary emission control system for
                                                                                                a BOPF that contain D/F TEQs in excess of 9.2E–10 lb/ton of steel.
                                            10. Each hot metal transfer, skimming,           You must not cause to be discharged to the atmosphere any gases that exit from a control device that contain particulate
                                              and desulfurization operation at a new            matter in excess of 0.01 gr/dscf for an existing BOPF shop 2 or 0.003 gr/dscf for a new BOPF shop.
                                              or existing BOPF shop.
                                            11. Each ladle metallurgy operation at a         You must not cause to be discharged to the atmosphere any gases that exit from a control device that contain particulate
                                              new or existing BOPF shop.                        matter in excess of 0.01 gr/dscf for an existing BOPF shop 2 or 0.004 gr/dscf for a new BOPF shop.
                                            12. Each existing BOPF shop .................    You must not cause to be discharged to the atmosphere any secondary emissions that exit any opening in the BOPF
                                                                                                shop or any other building housing the BOPF or BOPF shop operation that exhibit opacity greater than 20 percent (3-
                                                                                                minute average).
                                            13. Each new BOPF shop .......................   a. You must not cause to be discharged to the atmosphere any secondary emissions that exit any opening in the BOPF
                                                                                                shop or other building housing a bottom-blown BOPF or BOPF shop operations that exhibit opacity (for any set of 6-
                                                                                                minute averages) greater than 10 percent, except that one 6-minute period not to exceed 20 percent may occur once
                                                                                                per steel production cycle; or
                                                                                             b. You must not cause to be discharged to the atmosphere any secondary emissions that exit any opening in the BOPF
                                                                                                shop or other building housing a top-blown BOPF or BOPF shop operations that exhibit opacity (for any set of 3-minute
                                                                                                averages) greater than 10 percent, except that one 3-minute period greater than 10 percent but less than 20 percent
                                                                                                may occur once per steel production cycle.
                                            14. Each BOPF Group at an existing               You must not cause to be discharged to the atmosphere any gases that exit from the collection of BOPF Group control
                                              BOPF shop.                                        devices that contain mercury in excess of 0.00026 lb/ton of steel scrap input to the BOPF.
                                            15. Each BOPF Group at a new BOPF                You must not cause to be discharged to the atmosphere any gases that exit from the collection of BOPF Group control
                                              shop.                                             devices that contain mercury in excess of 0.000081 lb/ton of steel scrap input to the BOPF.
                                            16. Each planned bleeder valve opening           You must not cause to be discharged to the atmosphere any emissions that exhibit opacity greater than 8 percent (6-
                                              at a new or existing blast furnace.               minute average).
                                            17. Each slag processing, handling and           You must not cause to be discharged to the atmosphere any emissions that exhibit opacity greater than 10 percent (6-
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                                              storage operation for a new or existing           minute average).
                                              blast furnace or BOPF.
                                            18. Each existing blast furnace stove .....      a. You must not cause to be discharged to the atmosphere any gases that exit from a control device that contain HCl in
                                                                                                excess of 0.0012 lb/MMBtu; and
                                                                                             b. You must not cause to be discharged to the atmosphere any gases that exit from a control device that contain THC in
                                                                                                excess of 0.12 lb/MMBtu.
                                            19. Each new blast furnace stove ...........     a. You must not cause to be discharged to the atmosphere any gases that exit from a control device that contain HCl in
                                                                                                excess of 4.2e–4 lb/MMBtu; and



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                                            For . . .                                     You must comply with each of the following . . .

                                                                                          b. You must not cause to be discharged to the atmosphere any gases that exit from a control device that contain THC in
                                                                                            excess of 0.0054 lb/MMBtu.
                                              1 This limit applies if the cooler is vented to the same control device as the discharge end.
                                              2 This concentration limit (gr/dscf) for a control device does not apply to discharges inside a building or structure housing the discharge end at an existing sinter
                                            plant, inside a casthouse at an existing blast furnace, or inside an existing BOPF shop if the control device was installed before August 30, 2005.
                                              3 This limit applies to control devices operated in parallel for a single BOPF during the oxygen blow.




                                            Table 2 to Subpart FFFFF of Part 63—                      with the emission and opacity limits
                                            Initial Compliance With Emission and                      according to the following table:
                                            Opacity Limits
                                             As required in § 63.7826(a)(1), you
                                            must demonstrate initial compliance
                                            For . . .                                     You have demonstrated initial compliance if . . .

                                            1. Each windbox exhaust stream at an          a. The process-weighted mass rate of particulate matter from a windbox exhaust stream, measured according to the per-
                                              existing sinter plant.                         formance test procedures in § 63.7822(c), did not exceed 0.4 lb/ton of product sinter;
                                                                                          b. The process-weighted mass rate of mercury from a windbox exhaust stream, measured according to the performance
                                                                                             test procedures in § 63.7825, did not exceed 0.000018 lb/ton of product sinter;
                                                                                          c. The process-weighted mass rate of hydrogen chloride from a windbox exhaust stream, measured according to the per-
                                                                                             formance test procedures in § 63.7825, did not exceed 0.025 lb/ton of product sinter;
                                                                                          d. The process-weighted mass rate of carbonyl sulfide from a windbox exhaust stream, measured according to the per-
                                                                                             formance test procedures in § 63.7825, did not exceed 0.064 lb/ton of product sinter;
                                                                                          e. The process-weighted mass rate of D/F TEQs from a windbox exhaust stream, measured according to the performance
                                                                                             test procedures in § 63.7825, did not exceed 1.1E–08 lb/ton of product sinter; and
                                                                                          f. The process-weighted mass rate of polycyclic aromatic hydrocarbons from a windbox exhaust stream, measured ac-
                                                                                             cording to the performance test procedures in § 63.7825, did not exceed 0.0018 lb/ton of product sinter.
                                            2. Each windbox exhaust stream at a           a. The process-weighted mass rate of particulate matter from a windbox exhaust stream, measured according to the per-
                                              new sinter plant.                              formance test procedures in § 63.7822(c), did not exceed 0.3 lb/ton of product sinter;
                                                                                          b. The process-weighted mass rate of mercury from a windbox exhaust stream, measured according to the performance
                                                                                             test procedures in § 63.7825, did not exceed 0.000012 lb/ton of product sinter;
                                                                                          c. The process-weighted mass rate of hydrogen chloride from a windbox exhaust stream, measured according to the per-
                                                                                             formance test procedures in § 63.7825, did not exceed 0.0012 lb/ton of product sinter;
                                                                                          d. The process-weighted mass rate of carbonyl sulfide from a windbox exhaust stream, measured according to the per-
                                                                                             formance test procedures in § 63.7825, did not exceed 0.030 lb/ton of product sinter;
                                                                                          e. The process-weighted mass rate of D/F TEQs from a windbox exhaust stream, measured according to the performance
                                                                                             test procedures in § 63.7825, did not exceed 1.1E–08 lb/ton of product sinter; and
                                                                                          f. The process-weighted mass rate of polycyclic aromatic hydrocarbons from a windbox exhaust stream, measured ac-
                                                                                             cording to the performance test procedures in § 63.7825, did not exceed 0.0015 lb/ton of product sinter.
                                            3. Each discharge end at an existing sin-     a. The flow-weighted average concentration of particulate matter from one or more control devices applied to emissions
                                              ter plant.                                     from a discharge end, measured according to the performance test procedures in § 63.7822(d), did not exceed 0.02 gr/
                                                                                             dscf; and
                                                                                          b. The opacity of secondary emissions from each discharge end, determined according to the performance test proce-
                                                                                             dures in § 63.7823(c), did not exceed 20 percent (6-minute average).
                                            4. Each discharge end at a new sinter         a. The flow-weighted average concentration of particulate matter from one or more control devices applied to emissions
                                              plant.                                         from a discharge end, measured according to the performance test procedures in § 63.7822(d), did not exceed 0.01 gr/
                                                                                             dscf; and
                                                                                          b. The opacity of secondary emissions from each discharge end, determined according to the performance test proce-
                                                                                             dures in § 63.7823(c), did not exceed 10 percent (6-minute average).
                                            5. Each sinter cooler at an existing sinter   The opacity of emissions, determined according to the performance test procedures in § 63.7823(e), did not exceed 10
                                              plant.                                         percent (6-minute average).
                                            6. Each sinter cooler at a new sinter         The average concentration of particulate matter, measured according to the performance test procedures in § 63.7822(b),
                                              plant.                                         did not exceed 0.01 gr/dscf.
                                            7. Each casthouse at an existing blast        a. The average concentration of particulate matter from a control device applied to emissions from a casthouse, measured
                                              furnace.                                       according to the performance test procedures in § 63.7822(e), did not exceed 0.01 gr/dscf;
                                                                                          b. The opacity of secondary emissions from each casthouse, determined according to the performance test procedures in
                                                                                             § 63.7823(c), did not exceed 20 percent (6-minute average);
                                                                                          c. The process-weighted mass rate of hydrogen chloride from a windbox exhaust stream, measured according to the per-
                                                                                             formance test procedures in § 63.7825, did not exceed 0.0056 lb/ton of iron;
                                                                                          d. The process-weighted mass rate of total hydrocarbons from a windbox exhaust stream, measured according to the per-
                                                                                             formance test procedures in § 63.7825, did not exceed 0.48 lb/ton of iron; and
                                                                                          e. The number of unplanned bleeder valve openings in one year, as reported according to the specifications in
                                                                                             § 63.7841(b)(14), did not exceed 4 events for large blast furnaces or 15 events for small blast furnaces.
                                            8. Each casthouse at a new blast fur-         a. The average concentration of particulate matter from a control device applied to emissions from a casthouse, measured
                                              nace.                                          according to the performance test procedures in § 63.7822(e), did not exceed 0.003 gr/dscf; and
                                                                                          b. The opacity of secondary emissions from each casthouse, determined according to the performance test procedures in
                                                                                             § 63.7823(c), did not exceed 15 percent (6-minute average);
                                                                                          c. The process-weighted mass rate of hydrogen chloride from a windbox exhaust stream, measured according to the per-
                                                                                             formance test procedures in § 63.7825, did not exceed 0.00059 lb/ton of iron;
                                                                                          d. The process-weighted mass rate of total hydrocarbons from a windbox exhaust stream, measured according to the per-
                                                                                             formance test procedures in § 63.7825, did not exceed 0.035 lb/ton of iron; and
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                                                                                          e. The number of unplanned bleeder valve openings in one year, as reported according to the specifications in
                                                                                             § 63.7841(b)(14), did not exceed zero events.
                                            9. Each BOPF at a new or existing             a. The average concentration of particulate matter from a primary emission control system applied to emissions from a
                                              BOPF shop.                                     BOPF with a closed hood system, measured according to the performance test procedures in § 63.7822(f), did not ex-
                                                                                             ceed 0.03 gr/dscf for a new or existing BOPF shop;
                                                                                          b. The average concentration of particulate matter from a primary emission control system applied to emissions from a
                                                                                             BOPF with an open hood system, measured according to the performance test procedures in § 63.7822(g), did not ex-
                                                                                             ceed 0.02 gr/dscf for an existing BOPF shop or 0.01 gr/dscf for a new BOPF shop;



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                                            For . . .                                        You have demonstrated initial compliance if . . .

                                                                                             c. The average concentration of particulate matter from a control device applied solely to secondary emissions from a
                                                                                                BOPF, measured according to the performance test procedures in § 63.7822(g), did not exceed 0.01 gr/dscf for an ex-
                                                                                                isting BOPF shop or 0.0052 gr/dscf for a new BOPF shop;
                                                                                             d. The process-weighted mass rate of hydrogen chloride from a windbox exhaust stream, measured according to the per-
                                                                                                formance test procedures in § 63.7825, did not exceed 0.058 lb/ton of steel for an existing BOPF shop or 0.00028 lb/ton
                                                                                                of steel for a new BOPF shop;
                                                                                             e. The process-weighted mass rate of total hydrocarbons from a windbox exhaust stream, measured according to the per-
                                                                                                formance test procedures in § 63.7825, did not exceed 0.04 lb/ton of steel for an existing BOPF shop or 0.0017 lb/ton of
                                                                                                steel for a new BOPF shop; and
                                                                                             f. The process-weighted mass rate of D/F TEQs from a windbox exhaust stream, measured according to the performance
                                                                                                test procedures in § 63.7825, did not exceed 9.2e–10 lb/ton of steel.
                                            10. Each hot metal transfer skimming,            The average concentration of particulate matter from a control device applied to emissions from hot metal transfer, skim-
                                              and desulfurization at a new or exist-            ming, or desulfurization, measured according to the performance test procedures in § 63.7822(h), did not exceed 0.01
                                              ing BOPF shop.                                    gr/dscf for an existing BOPF shop or 0.003 gr/dscf for a new BOPF shop.
                                            11. Each ladle metallurgy operation at a         The average concentration of particulate matter from a control device applied to emissions from a ladle metallurgy oper-
                                              new or existing BOPF shop.                        ation, measured according to the performance test procedures in § 63.7822(h), did not exceed 0.01 gr/dscf for an exist-
                                                                                                ing BOPF shop or 0.004 gr/dscf for a new BOPF shop.
                                            12. Each existing BOPF shop .................    The opacity of secondary emissions from each BOPF shop, determined according to the performance test procedures in
                                                                                                § 63.7823(d), did not exceed 20 percent (3-minute average).
                                            13. Each new BOPF shop .......................   a. The opacity of the highest set of 6-minute averages from each BOPF shop housing a bottom-blown BOPF, determined
                                                                                                according to the performance test procedures in § 63.7823(d), did not exceed 20 percent and the second highest set of
                                                                                                6-minute averages did not exceed 10 percent; or
                                                                                             b. The opacity of the highest set of 3-minute averages from each BOPF shop housing a top-blown BOPF, determined ac-
                                                                                                cording to the performance test procedures in § 63.7823(d), did not exceed 20 percent and the second highest set of 3-
                                                                                                minute averages did not exceed 10 percent.
                                            14. Each BOPF Group at an existing               If demonstrating compliance through performance testing, the average emissions of mercury from the collection of BOPF
                                              BOPF shop.                                        Group control devices applied to the emissions from the BOPF Group, measured according to the performance test pro-
                                                                                                cedures in § 63.7825, did not exceed 0.00026 lb/ton steel scrap input to the BOPF.
                                            15. Each BOPF Group at a new BOPF                If demonstrating compliance through performance testing, the average emissions of mercury from the collection of BOPF
                                              shop.                                             Group control devices applied to the emissions from the BOPF Group, measured according to the performance test pro-
                                                                                                cedures in § 63.7825, did not exceed 0.000081 lb/ton steel scrap input to the BOPF.
                                            16. Each planned bleeder valve opening           The opacity of emissions, determined according to the performance test procedures in § 63.7823(f), did not exceed 8 per-
                                              at a new or existing blast furnace.               cent (6-minute average).
                                            17. Each slag processing, handling and           The opacity of emissions, determined according to the performance test procedures in § 63.7823(g), did not exceed 10
                                              storage operation for a new or existing           percent (6-minute average).
                                              blast furnace or BOPF.
                                            18. Each existing blast furnace stove .....      a. The process-weighted mass rate of HCl from a windbox exhaust stream, measured according to the performance test
                                                                                                procedures in § 63.7825, did not exceed 0.0012 lb/MMBtu; and
                                                                                             b. The process-weighted mass rate of THC from a windbox exhaust stream, measured according to the performance test
                                                                                                procedures in § 63.7825, did not exceed 0.12 lb/MMBtu.
                                            19. Each new blast furnace stove ...........     a. The process-weighted mass rate of HCl from a windbox exhaust stream, measured according to the performance test
                                                                                                procedures in § 63.7825, did not exceed 4.2e–4 lb/MMBtu; and
                                                                                             b. The process-weighted mass rate of THC from a windbox exhaust stream, measured according to the performance test
                                                                                                procedures in § 63.7825, did not exceed 0.0054 lb/MMBtu.



                                            Table 3 to Subpart FFFFF of Part 63—                         with the emission and opacity limits
                                            Continuous Compliance With Emission                          according to the following table:
                                            and Opacity Limits
                                              As required in § 63.7833(a), you must
                                            demonstrate continuous compliance
                                            For . . .                                        You must demonstrate continuous compliance by . . .

                                            1. Each windbox exhaust stream at an             a. Maintaining emissions of particulate matter at or below 0.4 lb/ton of product sinter;
                                              existing sinter plant.                         b. Conducting subsequent performance tests at the frequencies specified in § 63.7821;
                                                                                             c. Maintaining emissions of mercury at or below 0.000018 lb/ton of product sinter;
                                                                                             d. Maintaining emissions of hydrogen chloride at or below 0.025 lb/ton of product sinter;
                                                                                             e. Maintaining emissions of carbonyl sulfide at or below 0.064 lb/ton of product sinter;
                                                                                             f. Maintaining emissions of D/F TEQs at or below 1.1E–08 lb/ton of product sinter; and
                                                                                             g. Maintaining emissions of polycyclic aromatic hydrocarbons at or below 0.0018 lb/ton of product sinter.
                                            2. Each windbox exhaust stream at a              a. Maintaining emissions of particulate matter at or below 0.3 lb/ton of product sinter;
                                              new sinter plant.                              b. Conducting subsequent performance tests at the frequencies specified in § 63.7821;
                                                                                             c. Maintaining emissions of mercury at or below 0.000012 lb/ton of product sinter;
                                                                                             d. Maintaining emissions of hydrogen chloride at or below 0.0012 lb/ton of product sinter;
                                                                                             e. Maintaining emissions of carbonyl sulfide at or below 0.030 lb/ton of product sinter;
                                                                                             f. Maintaining emissions of D/F TEQs at or below 1.1E–08 lb/ton of product sinter; and
                                                                                             g. Maintaining emissions of polycyclic aromatic hydrocarbons at or below 0.0015 lb/ton of product sinter.
                                            3. Each discharge end at an existing sin-        a. Maintaining emissions of particulate matter from one or more control devices at or below 0.02 gr/dscf; and
                                              ter plant.                                     b. Maintaining the opacity of secondary emissions that exit any opening in the building or structure housing the discharge
                                                                                                end at or below 20 percent (6-minute average); and
                                                                                             c. Conducting subsequent performance tests at the frequencies specified in § 63.7821.
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                                            4. Each discharge end at a new sinter            a. Maintaining emissions of particulate matter from one or more control devices at or below 0.01 gr/dscf; and
                                              plant.                                         b. Maintaining the opacity of secondary emissions that exit any opening in the building or structure housing the discharge
                                                                                                end at or below 10 percent (6-minute average); and
                                                                                             c. Conducting subsequent performance tests at the frequencies specified in § 63.7821.
                                            5. Each sinter cooler at an existing sinter      a. Maintaining the opacity of emissions that exit any sinter cooler at or below 10 percent (6-minute average); and
                                              plant.                                         b. Conducting subsequent performance tests at the frequencies specified in § 63.7821.
                                            6. Each sinter cooler at a new sinter            a. Maintaining emissions of particulate matter at or below 0.1 gr/dscf; and
                                              plant.



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                                            For . . .                                                        You must demonstrate continuous compliance by . . .

                                                                                                             b. Conducting subsequent performance tests at the frequencies specified in § 63.7821.
                                            7. Each casthouse at an existing blast                           a. Maintaining emissions of particulate matter from a control device at or below 0.01 gr/dscf;
                                              furnace.                                                       b. Maintaining the opacity of secondary emissions that exit all openings in the casthouse or structure housing the
                                                                                                                casthouse at or below 20 percent (6-minute average);
                                                                                                             c. Conducting subsequent performance tests at the frequencies specified in § 63.7821;
                                                                                                             d. Maintaining emissions of hydrogen chloride at or below 0.0056 lb/ton of iron;
                                                                                                             e. Maintaining emissions of total hydrocarbons at or below 0.48 lb/ton of iron; and
                                                                                                             f. Maintaining unplanned bleeder valve openings at or below 4 events per year for large blast furnaces or 15 events per
                                                                                                                year for small blast furnaces.
                                            8. Each casthouse at a new blast fur-                            a. Maintaining emissions of particulate matter from a control device at or below 0.003 gr/dscf;
                                              nace.                                                          b. Maintaining the opacity of secondary emissions that exit all openings in the casthouse or structure housing the
                                                                                                                casthouse at or below 15 percent (6-minute average);
                                                                                                             c. Conducting subsequent performance tests at the frequencies specified in § 63.7821;
                                                                                                             d. Maintaining emissions of hydrogen chloride at or below 0.00059 lb/ton of iron;
                                                                                                             e. Maintaining emissions of total hydrocarbons at or below 0.035 lb/ton of iron; and
                                                                                                             f. Maintaining unplanned bleeder valve openings at zero events per year.
                                            9. Each BOPF at a new or existing                                a. Maintaining emissions of particulate matter from the primary control system for a BOPF with a closed hood system at
                                              BOPF shop.                                                        or below 0.03 gr/dscf;
                                                                                                             b. Maintaining emissions of particulate matter from the primary control system for a BOPF with an open hood system at or
                                                                                                                below 0.02 gr/dscf for an existing BOPF shop or 0.01 gr/dscf for a new BOPF shop;
                                                                                                             c. Maintaining emissions of particulate matter from a control device applied solely to secondary emissions from a BOPF at
                                                                                                                or below 0.01 gr/dscf for an existing BOPF shop or 0.0052 gr/dscf for a new BOPF shop;
                                                                                                             d. Conducting subsequent performance tests at the frequencies specified in § 63.7821;
                                                                                                             e. Maintaining emissions of hydrogen chloride from a primary emission control system for a BOPF at or below 0.058 lb/ton
                                                                                                                of steel for existing sources and 2.8E–04 lb/ton steel for new sources;
                                                                                                             f. Maintaining emissions of THC from a primary emission control system for a BOPF at or below 0.04 lb/ton of steel for
                                                                                                                existing sources and 0.0017 lb/ton of steel for new sources; and
                                                                                                             g. Maintaining emissions of D/F TEQs from a primary emission control system for a BOPF at or below 9.2E–10 lb/ton of
                                                                                                                steel.
                                            10. Each hot metal transfer, skimming,                           a. Maintaining emissions of particulate matter from a control device at or below 0.01 gr/dscf at an existing BOPF or 0.003
                                              and desulfurization operation at a new                            gr/dscf for a new BOPF; and
                                              or existing BOPF shop.                                         b. Conducting subsequent performance tests at the frequencies specified in § 63.7821.
                                            11. Each ladle metallurgy operation at a                         a. Maintaining emissions of particulate matter from a control device at or below 0.01 gr/dscf at an existing BOPF shop or
                                              new or existing BOPF shop.                                        0.004 gr/dscf for a new BOPF shop; and
                                                                                                             b. Conducting subsequent performance tests at the frequencies specified in § 63.7821.
                                            12. Each existing BOPF shop .................                    a. Maintaining the opacity of secondary emissions that exit any opening in the BOPF shop or other building housing the
                                                                                                                BOPF shop or shop operation at or below 20 percent (3-minute average); and
                                                                                                             b. Conducting subsequent performance tests at the frequencies specified in § 63.7821.
                                            13. Each new BOPF shop .......................                   a. Maintaining the opacity (for any set of 6-minute averages) of secondary emissions that exit any opening in the BOPF
                                                                                                                shop or other building housing a bottom-blown BOPF or shop operation at or below 10 percent, except that one 6-
                                                                                                                minute period greater than 10 percent but no more than 20 percent may occur once per steel production cycle;
                                                                                                             b. Maintaining the opacity (for any set of 3-minute averages) of secondary emissions that exit any opening in the BOPF
                                                                                                                shop or other building housing a top-blown BOPF or shop operation at or below 10 percent, except that one 3-minute
                                                                                                                period greater than 10 percent but less than 20 percent may occur once per steel production cycle; and
                                                                                                             c. Conducting subsequent performance tests at the frequencies specified in § 63.7821.
                                            14. Each BOPF Group at an existing                               a. Maintaining emissions of mercury from the collection of BOPF Group control devices at or below 0.00026 lb/ton steel
                                              BOPF shop.                                                        scrap input to the BOPF; and
                                                                                                             b. If demonstrating compliance through performance testing, conducting subsequent performance tests at the frequencies
                                                                                                                specified in § 63.7821; and
                                                                                                             c. If demonstrating compliance through § 63.7791(c), (d), or (e), maintaining records pursuant to § 63.7842(e).
                                            15. Each BOPF Group at a new BOPF                                a. Maintaining emissions of mercury from the collection of BOPF Group control devices at or below 0.000081 lb/ton steel
                                              shop.                                                             scrap input to the BOPF; and
                                                                                                             b. If demonstrating compliance through performance testing, conducting subsequent performance tests at the frequencies
                                                                                                                specified in § 63.7821; and
                                                                                                             c. If demonstrating compliance through § 63.7791(c), (d), or (e), maintaining records pursuant to § 63.7842(e).
                                            16. Each planned bleeder valve opening                           a. Maintaining the opacity of emissions that exit any bleeder valve as a result of a planned opening at or below 8 percent
                                              at a new or existing blast furnace.                               (6-minute average); and
                                                                                                             b. Conducting subsequent performance tests at the frequencies specified in § 63.7821.
                                            17. Each slag processing, handling and                           a. Maintaining the opacity of emissions that exit any slag processing, handling, or storage operation at or below 10 per-
                                              storage operation for a new or existing                           cent (6-minute average); and
                                              blast furnace or BOPF.                                         b. Conducting subsequent performance tests at the frequencies specified in § 63.7821.
                                            18. Each existing blast furnace stove .....                      a. Maintaining emissions of HCl at or below 0.0012 lb/MMBtu;
                                                                                                             b. Maintaining emissions of THC at or below 0.12 lb/MMBtu; and
                                                                                                             c. Conducting subsequent performance tests at the frequencies specified in § 63.7821.
                                            19. Each new blast furnace stove ...........                     a. Maintaining emissions of HCl at or below 4.2e–4 lb/MMBtu;
                                                                                                             b. Maintaining emissions of THC at or below 0.0054 lb/MMBtu; and
                                                                                                             c. Conducting subsequent performance tests at the frequencies specified in § 63.7821.



                                            Table 4 to Subpart FFFFF of Part 63—                                               NESHAP General Provisions (subpart A
                                            Applicability of General Provisions to                                             of this part) shown in the following
                                            Subpart FFFFF                                                                      table:
                                              As required in § 63.7850, you must
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                                            comply with the requirements of the
                                                                    Citation                                                       Subject                                     Applies to subpart FFFFF               Explanation

                                            § 63.1 ......................................................   Applicability ...........................................   Yes.
                                            § 63.2 ......................................................   Definitions .............................................   Yes.
                                            § 63.3 ......................................................   Units and Abbreviations ........................            Yes.



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                                                                    Citation                                                     Subject                                      Applies to subpart FFFFF                                            Explanation

                                            § 63.4 ......................................................   Prohibited Activities ...............................   Yes.
                                            § 63.5 ......................................................   Construction/Reconstruction .................           Yes.
                                            § 63.6(a), (b), (c), (d), (e)(1)(iii), (f)(2)–                  Compliance with Standards and Main-                     Yes.
                                               (3), (g), (h)(2)(ii)–(h)(9).                                   tenance Requirements.
                                            § 63.6(e)(1)(i) ..........................................      General Duty to Minimize Emissions ....                 No, for new or reconstructed sources                            See § 63.7810(d) for general duty re-
                                                                                                                                                                      which commenced construction or                                 quirement.
                                                                                                                                                                      reconstruction after August 16, 2019.
                                                                                                                                                                      For all other affected sources, Yes
                                                                                                                                                                      on or before January 11, 2021, and
                                                                                                                                                                      No thereafter.
                                            § 63.6(e)(1)(ii) .........................................      Requirement to Correct Malfunctions                     No, for new or reconstructed sources
                                                                                                              ASAP.                                                   which commenced construction or
                                                                                                                                                                      reconstruction after August 16, 2019.
                                                                                                                                                                      For all other affected sources, Yes,
                                                                                                                                                                      on or before January 11, 2021, and
                                                                                                                                                                      No thereafter.
                                            § 63.6(e)(3) .............................................      SSM Plan Requirements ......................            No, for new or reconstructed sources                            See § 63.7810(c).
                                                                                                                                                                      which commenced construction or
                                                                                                                                                                      reconstruction after August 16, 2019.
                                                                                                                                                                      For all other affected sources, Yes
                                                                                                                                                                      on or before January 11, 2021, and
                                                                                                                                                                      No thereafter.
                                            § 63.6(f)(1) ..............................................     Compliance except during SSM ...........                No ..........................................................   See § 63.7810(a).
                                            § 63.6(h)(1) .............................................      Compliance except during SSM ...........                No ..........................................................   See § 63.7810(a).
                                            § 63.6(h)(2)(i) ..........................................      Determining Compliance with Opacity                     No ..........................................................   Subpart FFFFF specifies methods and
                                                                                                              and VE Standards.                                                                                                       procedures for determining compli-
                                                                                                                                                                                                                                      ance with opacity emission and oper-
                                                                                                                                                                                                                                      ating limits.
                                            § 63.6(i) ..................................................    Extension of Compliance with Emission                   Yes.
                                                                                                              Standards.
                                            § 63.6(j) ..................................................    Exemption from Compliance with Emis-                    Yes.
                                                                                                              sion Standards.
                                            § 63.7(a)(1)–(2) ......................................         Applicability and Performance Test                      No ..........................................................   Subpart FFFFF and specifies perform-
                                                                                                              Dates.                                                                                                                  ance test applicability and dates.
                                            § 63.7(a)(3), (b)–(d), (e)(2)–(4), (f)–(h) ..                   Performance Testing Requirements .....                  Yes.
                                            § 63.7(e)(1) .............................................      Performance Testing .............................       No, for new or reconstructed sources                            See §§ 63.7822(a), 63.7823(a), and
                                                                                                                                                                      which commenced construction or                                 63.7825(a).
                                                                                                                                                                      reconstruction after August 16, 2019.
                                                                                                                                                                      For all other affected sources, Yes
                                                                                                                                                                      on or before January 11, 2021, and
                                                                                                                                                                      No thereafter.
                                            § 63.8(a)(1)–(3), (b), (c)(1)(ii), (c)(2)–(3),                  Monitoring Requirements ......................          Yes ........................................................    CMS requirements in § 63.8(c)(4)(i)–(ii),
                                               (c)(4)(i)–(ii), (c)(5)–(6), (c)(7)–(8),                                                                                                                                                (c)(5)–(6), (d)(1)–(2), and (e) apply
                                               (d)(1)–(2), (e), (f)(1)–(5), (g)(1)–(4).                                                                                                                                               only to COMS.
                                            § 63.8(a)(4) .............................................      Additional Monitoring Requirements for                  No ..........................................................   Subpart FFFFF does not require flares.
                                                                                                              Control Devices in § 63.11.
                                            § 63.8(c)(1)(i) ..........................................      General Duty to Minimize Emissions                      No, for new or reconstructed sources
                                                                                                              and CMS Operation.                                      which commenced construction or
                                                                                                                                                                      reconstruction after August 16, 2019.
                                                                                                                                                                      For all other affected sources, Yes
                                                                                                                                                                      on or before January 11, 2021, and
                                                                                                                                                                      No thereafter.
                                            § 63.8(c)(1)(iii) ........................................      Requirement to Develop SSM Plan for                     No, for new or reconstructed sources
                                                                                                              CMS.                                                    which commenced construction or
                                                                                                                                                                      reconstruction after August 16, 2019.
                                                                                                                                                                      For all other affected sources, Yes
                                                                                                                                                                      on or before January 11, 2021, and
                                                                                                                                                                      No thereafter.
                                            § 63.8(c)(4) .............................................      Continuous Monitoring System Re-                        No ..........................................................   Subpart FFFFF specifies requirements
                                                                                                              quirements.                                                                                                             for operation of CMS.
                                            § 63.8(d)(3) .............................................      Written procedures for CMS .................            No, for new or reconstructed sources                            See § 63.7842(b)(3).
                                                                                                                                                                      which commenced construction or
                                                                                                                                                                      reconstruction after August 16, 2019.
                                                                                                                                                                      For all other affected sources, Yes
                                                                                                                                                                      on or before January 11, 2021, and
                                                                                                                                                                      No thereafter.
                                            § 63.8(f)(6) ..............................................     RATA Alternative ..................................     No.
                                            § 63.8(g)(5) .............................................      Data Reduction .....................................    No ..........................................................   Subpart FFFFF specifies data reduc-
                                                                                                                                                                                                                                      tion requirements.
                                            § 63.9 ......................................................   Notification Requirements .....................         Yes ........................................................    Additional notifications for CMS in
                                                                                                                                                                                                                                      § 63.9(g) apply only to COMS.
                                            § 63.10(a), (b)(1), (b)(2)(x), (b)(2)(xiv),                     Recordkeeping and Reporting Require-                    Yes ........................................................    Additional records for CMS in
                                               (b)(3), (c)(1)–(6), (c)(9)–(14), (d)(1)–                       ments.                                                                                                                  § 63.10(c)(1)–(6), (9)–(14), and re-
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                                               (4), (e)(1)–(2), (e)(4), (f).                                                                                                                                                          ports in § 63.10(d)(1)–(2) apply only
                                                                                                                                                                                                                                      to COMS.
                                            § 63.10(b)(2)(i) ........................................       Recordkeeping of Occurrence and Du-                     No, for new or reconstructed sources
                                                                                                              ration of Startups and Shutdowns.                       which commenced construction or
                                                                                                                                                                      reconstruction after August 16, 2019.
                                                                                                                                                                      For all other affected sources, Yes
                                                                                                                                                                      on or before January 11, 2021, and
                                                                                                                                                                      No thereafter.



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                                                                    Citation                                                   Subject                                    Applies to subpart FFFFF                                            Explanation

                                            § 63.10(b)(2)(ii) .......................................      Recordkeeping of Failures to Meet a                  No, for new or reconstructed sources                            See § 63.7842(a)(2)–(4) for record-
                                                                                                             Standard.                                            which commenced construction or                                 keeping of (1) date, time, and dura-
                                                                                                                                                                  reconstruction after August 16, 2019.                           tion of failure to meet the standard;
                                                                                                                                                                  For all other affected sources, Yes                             (2) listing of affected source or
                                                                                                                                                                  on or before January 11, 2021, and                              equipment, and an estimate of the
                                                                                                                                                                  No thereafter.                                                  quantity of each regulated pollutant
                                                                                                                                                                                                                                  emitted over the standard; and (3)
                                                                                                                                                                                                                                  actions to minimize emissions and
                                                                                                                                                                                                                                  correct the failure.
                                            § 63.10(b)(2)(iii) ......................................      Maintenance Records ...........................      Yes.
                                            § 63.10(b)(2)(iv) ......................................       Actions Taken to Minimize Emissions                  No, for new or reconstructed sources                            See § 63.7842(a)(4) for records of ac-
                                                                                                             During SSM.                                          which commenced construction or                                 tions taken to minimize emissions.
                                                                                                                                                                  reconstruction after August 16, 2019.
                                                                                                                                                                  For all other affected sources, Yes
                                                                                                                                                                  on or before January 11, 2021, and
                                                                                                                                                                  No thereafter.
                                            § 63.10(b)(2)(v) .......................................       Actions Taken to Minimize Emissions                  No, for new or reconstructed sources                            See § 63.7842(a)(4) for records of ac-
                                                                                                             During SSM.                                          which commenced construction or                                 tions taken to minimize emissions.
                                                                                                                                                                  reconstruction after August 16, 2019.
                                                                                                                                                                  For all other affected sources, Yes
                                                                                                                                                                  on or before January 11, 2021, and
                                                                                                                                                                  No thereafter.
                                            § 63.10(b)(2)(vi) ......................................       Recordkeeping for CMS Malfunctions ..                Yes.
                                            § 63.10(b)(2)(vii)–(ix) ..............................         Other CMS Requirements .....................         Yes.
                                            § 63.10(b)(2)(xiii) ....................................       CMS Records for RATA Alternative .....               No.
                                            § 63.10(c)(7)–(8) .....................................        Records of Excess Emissions and Pa-                  No ..........................................................   Subpart FFFFF specifies record re-
                                                                                                             rameter Monitoring Exceedances for                                                                                   quirements; see § 63.7842.
                                                                                                             CMS.
                                            § 63.10(c)(15) .........................................       Use of SSM Plan ..................................   No, for new or reconstructed sources
                                                                                                                                                                  which commenced construction or
                                                                                                                                                                  reconstruction after August 16, 2019.
                                                                                                                                                                  For all other affected sources, Yes
                                                                                                                                                                  on or before January 11, 2021, and
                                                                                                                                                                  No thereafter.
                                            § 63.10(d)(5)(i) ........................................      Periodic SSM Reports ...........................     No, for new or reconstructed sources                            See § 63.7841(b)(4) for malfunction re-
                                                                                                                                                                  which commenced construction or                                 porting requirements.
                                                                                                                                                                  reconstruction after August 16, 2019.
                                                                                                                                                                  For all other affected sources, Yes
                                                                                                                                                                  on or before January 11, 2021, and
                                                                                                                                                                  No thereafter.
                                            § 63.10(d)(5)(ii) .......................................      Immediate SSM Reports .......................        No, for new or reconstructed sources
                                                                                                                                                                  which commenced construction or
                                                                                                                                                                  reconstruction after August 16, 2019.
                                                                                                                                                                  For all other affected sources, Yes
                                                                                                                                                                  on or before January 11, 2021, and
                                                                                                                                                                  No thereafter.
                                            § 63.10(e)(3) ...........................................      Excess Emission Reports .....................        No ..........................................................   Subpart FFFFF specifies reporting re-
                                                                                                                                                                                                                                  quirements; see § 63.7841.
                                            § 63.11 ....................................................   Control Device Requirements ...............          No ..........................................................   Subpart FFFFF does not require flares.
                                            § 63.12 ....................................................   State Authority and Delegations ...........          Yes.
                                            § 63.13–§ 63.16 ......................................         Addresses, Incorporations by Ref-                    Yes.
                                                                                                             erence, Availability of Information
                                                                                                             and Confidentiality, Performance
                                                                                                             Track Provisions.



                                            ■ 20. Add tables 5 and 6 to subpart                                             Table 5 to Subpart FFFFF of Part 63—                                           to you by calculating the sum of the
                                            FFFFF to read as follows:                                                       Toxic Equivalency Factors                                                      2,3,7,8-TCDD TEQs using the 2005
                                                                                                                              As stated in § 63.7825(u), you must                                          World Health Organization (WHO)
                                                                                                                            demonstrate compliance with each                                               toxicity equivalence factors (TEF)
                                                                                                                            dioxin/furan emission limit that applies                                       presented in the following table:

                                                                                                                                                                                                                           You must calculate its
                                            For each dioxin/furan congener . . .                                                                                                                                           2,3,7,8-TCDD
                                                                                                                                                                                                                           TEQ using the following TEF . . .

                                            2,3,7,8-tetrachlorodibenzo-p-dioxin .................................................................................................................                                                                     1
                                            1,2,3,7,8-pentachlorodibenzo-p-dioxin .............................................................................................................                                                                       1
                                            1,2,3,4,7,8-hexachlorodibenzo-p-dioxin ...........................................................................................................                                                                      0.1
                                            1,2,3,7,8,9-hexachlorodibenzo-p-dioxin ...........................................................................................................                                                                      0.1
                                            1,2,3,6,7,8-hexachlorodibenzo-p-dioxin ...........................................................................................................                                                                      0.1
                                            1,2,3,4,6,7,8-heptachlorodibenzo-p-dioxin .......................................................................................................                                                                     0.01
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                                            Octachlorodibenzo-p-dioxin .............................................................................................................................                                                            0.0003
                                            2,3,7,8-tetrachlorodibenzofuran .......................................................................................................................                                                                 0.1
                                            1,2,3,7,8-pentachlorodibenzofuran ..................................................................................................................                                                                   0.03
                                            2,3,4,7,8-pentachlorodibenzofuran ..................................................................................................................                                                                    0.3
                                            1,2,3,4,7,8-hexachlorodibenzofuran ................................................................................................................                                                                     0.1
                                            1,2,3,6,7,8-hexachlorodibenzofuran ................................................................................................................                                                                     0.1



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                                                                                                                                                                                                                     You must calculate its
                                            For each dioxin/furan congener . . .                                                                                                                                     2,3,7,8-TCDD
                                                                                                                                                                                                                     TEQ using the following TEF . . .

                                            1,2,3,7,8,9-hexachlorodibenzofuran ................................................................................................................                                                                 0.1
                                            2,3,4,6,7,8-hexachlorodibenzofuran ................................................................................................................                                                                 0.1
                                            1,2,3,4,6,7,8-heptachlorodibenzofuran ............................................................................................................                                                                0.01
                                            1,2,3,4,7,8,9-heptachlorodibenzofuran ............................................................................................................                                                                0.01
                                            Octachlorodibenzofuran ...................................................................................................................................                                                      0.0003



                                            Table 6 to Subpart FFFFF of Part 63—                                         polycyclic aromatic hydrocarbon
                                            List of Polycyclic Aromatic                                                  emission limit that applies to you by
                                            Hydrocarbons                                                                 calculating the sum of the emissions of
                                              As stated in § 63.7825(x), you must                                        each polycyclic aromatic hydrocarbon
                                            demonstrate compliance with each                                             in the following table:

                                                                                                                                    Pollutant name                                                                                                      CAS No.

                                            Acenaphthene ......................................................................................................................................................................................           83–32–9
                                            Acenaphthylene ...................................................................................................................................................................................           208–96–8
                                            Anthracene ...........................................................................................................................................................................................       120–12–7
                                            Benz[a]anthracene ...............................................................................................................................................................................             56–55–3
                                            Benzo[a]pyrene ....................................................................................................................................................................................           50–32–8
                                            Benzo[b]fluoranthene ...........................................................................................................................................................................             205–99–2
                                            Benzo[g,h,i]perylene ............................................................................................................................................................................            191–24–2
                                            Benzo[k]fluoranthene ...........................................................................................................................................................................             207–08–9
                                            Chrysene ..............................................................................................................................................................................................      218–01–9
                                            Dibenz[a,h]anthracene .........................................................................................................................................................................               53–70–3
                                            Fluoranthene ........................................................................................................................................................................................        206–44–0
                                            Fluorene ...............................................................................................................................................................................................      86–73–7
                                            Indeno (1,2,3-cd) pyrene .....................................................................................................................................................................               193–39–5
                                            Naphthalene .........................................................................................................................................................................................         91–20–3
                                            Phenanthrene ......................................................................................................................................................................................           85–01–8
                                            Perylene ...............................................................................................................................................................................................     198–55–0
                                            Pyrene ..................................................................................................................................................................................................    129–00–0



                                            [FR Doc. 2024–05850 Filed 4–2–24; 8:45 am]
                                            BILLING CODE 6560–50–P
lotter on DSK11XQN23PROD with RULES3




                                       VerDate Sep<11>2014          20:05 Apr 02, 2024         Jkt 262001       PO 00000        Frm 00044       Fmt 4701        Sfmt 9990       E:\FR\FM\03APR3.SGM              03APR3
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                                 Exhibit B

                       Declaration of Alexis Piscitelli
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                                Exhibit C

                      Declaration of Michael Mangahas
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               IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

  UNITED STATES STEEL                    )
  CORPORATION,                           ) No. 24-1171; consolidated with 24-1170
                                         ) (lead) and 24-1177
        Petitioner,                      )
                                         )
        v.                               )
                                         )
  UNITED STATES                          )
  ENVIRONMENTAL                          )
  PROTECTION AGENCY, and                 )
  MICHAEL S. REGAN,                      )
  Administrator, United States           )
  Environmental Protection Agency,       )
                                         )
        Respondents.                     )

                 DECLARATION OF MICHAEL MANGAHAS

       I, Michael Mangahas, am over 18 years of age and make the following
 declaration pursuant to 28 U.S.C. § 1746:
 1.    I am the Senior Technical Manager for OCS Environmental, Inc. (OCS),

       where I am responsible for coordinating all aspects of on-site technical and

       project management services to support the client’s need to meet day-to-day

       environmental regulatory requirements. I have been involved in the field of

       environmental compliance management since 1988 as a project manager and

       lead field investigator in a variety of environmental compliance and

       engineering projects.




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 2.    OCS has been conducting Method 9 observations and Visible Emission

       Notations (VENs) at United States Steel Corporation’s (U. S. Steel’s) Gary

       Works plant in Gary, Indiana since August 2003. I have personally been a

       contractor working at U. S. Steel facilities since 1991 in the areas of solid

       and hazardous waste management and air compliance for Environmental

       Control. I am involved in coordinating all aspects of the Environmental Air

       Compliance Services Program at U.S. Steel Gary Works, U.S. Steel Midwest

       Plant and U.S. Steel East Chicago Tin Operations. This includes scheduling

       all visible emissions monitoring as required by the Gary Works Title V

       permit; management of all visible emissions observers; determining

       manpower to provide defined services 365 days per year to ensure

       uninterrupted services; scheduling compliance stack testing; inspecting and

       generating of daily reports for continuous monitoring equipment; preparing

       daily, weekly, monthly, quarterly, semi-annual and annual air reports; and

       providing additional consultation assistance regarding compliance issues and

       permitting.

 3.    I am providing this declaration on behalf of U. S. Steel’s motion for stay of

       the United States Environmental Protection Agency’s (“EPA’s”) National

       Emission Standards for Hazardous Air Pollutants: Integrated Iron and Steel




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       Manufacturing Facilities Technology Review, 89 Fed. Reg. 23,294 (April 3,

       2024) (“Rule”).

 4.    As further explained in this declaration, the visible emission monitoring

       requirements in the Rule raise significant technical and logistical concerns.

       Implementation of the new opacity requirements would be burdensome and,

       in some cases, technically infeasible. In certain cases, the steps necessary to

       actually accomplish the observations may render the data collected of a

       quality inconsistent with the objectives outlined in the Preamble. Further,

       implementing the requirements may pose safety concerns for the Method 9

       observers.

 5.    To provide specific examples, OCS conducted an evaluation of the visible

       emission monitoring requirements in the Rule as applied to U. S. Steel’s

       Gary Works plant.

 6.    This declaration is based on my personal knowledge of facts and information

       pertaining to visible emission monitoring requirements, U. S. Steel’s

       operations, and the requirements in the Rule. My knowledge is based on my

       history in the industry, my personal work with U. S. Steel, and analysis OCS

       has conducted of the Rule and its application to Gary Works.




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   I.   Slag Dumping to Blast Furnace Pit – Blast Furnaces Nos. 4, 6 and 8

 7.     First, the reference to “slag dumping” in the Rule as it applies slag entering

        into the Blast Furnace Pit is a misnomer as there is no “dumping” involved

        in the process. Slag from the blast furnace enters the pit through runners and

        it is not “dumped.” To comply with the Rule and Method 9 criteria, visible

        emissions observations will need to be conducted from the hi-line track. This

        observation location is unsafe due to moving rail cars on the track as well as

        steam-reduced visibility generated when the water sprays are used to cool

        the slag. Another concern in obtaining valid readings is the background

        contrast of the slag pit walls when the water sprays are on or off. The slag

        pit walls do not provide the contrast necessary to observe light emissions

        and emissions have normally dissipated by the time they reach the top of the

        slag pit walls.

  II.   Blast Furnace Pit Digging – Blast Furnaces Nos. 4, 6 and 8

 8.     Method 9 observations will need to be conducted from the hi-line track to

        maintain compliance with Method 9 requirements. This observation location

        is unsafe due to moving rail cars on the track as well as steam-reduced

        visibility generated when the water sprays are used to cool the slag. Another

        concern in obtaining valid readings is the background contrast of the slag pit

        walls when the water sprays are on or off. The slag pit walls do not provide



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        the contrast necessary to observe light emissions and emissions have

        normally dissipated by the time they reach the top of the slag pit walls.

 III.   Slag Dumping to Slag Handling Equipment

 9.     To allow for maintenance schedules, slag dumping to slag handling

        equipment (i.e. crushing, screening, etc..) operations have been and continue

        to be conducted during non-daylight shifts at Gary Works. The requirement

        to conduct opacity observations during initial and continuous compliance

        will disrupt daily operations and maintenance activities. Changes to the slag

        dumping to slag handling equipment operations to accommodate the

        requirements of the Rule and Method 9 will significantly impact costs and

        how maintenance is conducted on the equipment.

 IV.    Large Bell - Blast Furnaces Nos. 4, 6 and 8

 10.    The Rule doesn’t specify the method to be used to conduct “instantaneous

        interbell relief valve” opacity readings. Method 22 and/or Method 9

        observations will require personnel inside the control room to observe the

        position of the Large Bell when the instantaneous interbell relief valve

        readings are conducted as well as the Method 9 reader outside. The inside

        observer must report the bell position to the Method 9 observer. The location

        of the bell cannot be observed directly by the Method 9 reader outside.

        Further, there is no direct way to correlate the large bell seal to relief valve



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       emissions due to the physical construction of the furnace. These conditions

       compromise the integrity of the data collected and would yield results that

       are not compliant with Method 9 because the source of any opacity cannot

       necessarily be identified with specificity and Method 9 requires that no more

       than one plume be read at a time.

  V.   Small Bell - Blast Furnaces Nos. 6 and 8

 11.   Method 22 and/or Method 9 observations will require personnel inside the

       control room to observe the position of the Small Bell when the 15 minutes

       of readings are conducted as well as the Method 9 reader outside. The inside

       observer must report the bell position to the Method 9 observer. The location

       of the bell cannot be observed directly by the Method 9 reader outside.

       There is no direct way to distinguish any opacity from the small bell seal

       from opacity originating from the Blast Furnace top from other sources and

       activities. This includes material from skip cars charging the blast furnace

       and/or material buildup when the small bell is open for the material to feed

       into blast furnace are other sources of emissions not directly related to the

       small bell seal. Assumptions as to the source of observed emissions would

       need to be made compromising the integrity of the data collected.




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 VI.   BOPF Openings

 12.   Conducting Method 9 observations from all openings at No.1 BOP Shop and

       No. 2 QBOP Shop that includes the BOP furnaces, hot metal transfer,

       skimming and desulfurization, and other ancillary operations will require

       personnel inside the shop as well as Method 9 readers outside. The inside

       observer is necessary to observe the full heat cycle during the observation

       period and report the activities inside the shop that may be contributing to

       emissions other than from the full heat cycle to the Method 9 reader outside.

       In general, emissions during the full heat cycle are captured by the primary

       gas cleaning system at the No. 1 BOP shop and primary gas cleaning system

       and secondary emissions baghouse at No. 2 QBOP Shop. Uncaptured

       fugitive emissions will dissipate and exit through their respective roof

       monitors. Observing each opening including those at the hot metal transfer,

       skimming and desulfurization during a full heat cycle is unnecessary

       because any emissions from these processes are not associated with a full

       heat cycle also recognizing that any uncaptured emissions from the full heat

       cycle exit through the roof monitors.

 13.   Additionally, conducting Method 9 observations from all openings at the No.

       1 BOP Shop and No. 2 QBOP Shop presents the following challenges: safe

       location to observe all of the potential openings, being perpendicular to the



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       openings, and distinguishing potential overlapping plumes at each opening.

       EPA is making an assumption that just because there is an opening that there

       is potential for emissions from that opening. The BOP buildings are very

       large and process knowledge and airflow inside the buildings can determine

       if an opening needs to be observed or not. It’s unnecessary and wasteful to

       require multiple observers at all openings.

VII.   Costs

 14.   Implementation will be burdensome since additional personnel will need to

       be hired and Method 9 certified. In addition to the requirements described

       above, reading each planned bleeder opening will require certified Method 9

       readers to be available on short notice whenever a blast furnace can go off-

       blast. Initial compliance manhours at Gary Works is estimated at eight-

       hundred (800) hours at an approximate cost of eighty-five thousand dollars

       ($85,000). Continuous compliance manhours at Gary Works is estimated at

       eighteen-thousand (18,000) hours at an approximate cost of one-million six-

       hundred thousand dollars ($1,600,000) annually.

 15.   The breakdown of costs used to develop these estimates are provided in the

       attached spreadsheet.




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